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Attorney or Party Name, Address, Telephone & FAX
Nos., State Bar No. & Email Address

Gary A. Starre sbn 72793

Starre & Cohn APC

15760 Ventura Bivd. #801

Encino, CA 91436

ph 818 501 7827

fax 818 501 0249

gastarre@gmail.com

C] Individual appearing without attorney
X) Attorney for: The Colonnade on El Paseo LP

FOR COURT USE ONLY

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA -

RIVERSIDE DIVISION

In re:

Nicolas Lawrence Design Associates, LLC,
dba Modern Hacienda,

Debtor(s).

CASE NO.: 6:24-bk-15042-WJ
CHAPTER: 7

NOTICE OF MOTION AND MOTION FOR
RELIEF FROM THE AUTOMATIC STAY
OR FOR ORDER CONFIRMING THAT THE
AUTOMATIC STAY DOES NOT APPLY
UNDER 11 U.S.C. § 362(I)

(with supporting declarations)

(UNLAWFUL DETAINER)

DATE: 09/12/2024
TIME: 10:00 am
COURTROOM: 304

Movant: The Colonnade on El Paseo LP

1. Hearing Location:
C1 255 East Temple Street, Los Angeles, CA 90012

[] 21041 Burbank Boulevard, Woodland Hills, CA 91367

{3420 Twelfth Street, Riverside, CA 92501

CL] 411 West Fourth Street, Santa Ana, CA 92701
(J 1415 State Street, Santa Barbara, CA 93101

2. Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
granting relief from the automatic stay as to Debtor and Debtor's bankruptcy estate on the grounds set forth in the

attached Motion.

3. To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
the format required by LBR 9004-1 and the Court Manual.

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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4. When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
was filed by an unrepresented individual) at the address set forth above.

5. If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
such failure as consent to granting of the motion.

6. (J This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion,
you must file and serve a written response to this motion no later than 14 days before the hearing and appear at
the hearing.

7. & This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
motion, YOCDMRUSK Wk ARCKSAKHANE SPORE RXIALOR WAM (latek RX XXX RX MOG MIX XXX EXE X KAN KOU
PMA KAPSAKK Hohsesitgx Opposition may be submitted at the hearing, and
u may attend the hearing.
a. eT An application for order setting hearing on shortened notice was not required (according to the calendaring
procedures of the assigned judge).

b. (1 Anapplication for order setting hearing on shortened notice was filed and was granted by the court and such
motion and order have been or are being served upon the Debtor and upon the trustee (if any).

c. [1 Anapplication for order setting hearing on shortened notice was filed and remains pending. After the court
rules on that application, you will be served with another notice or an order that specifies the date, time and
place of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
motion.

Date: 09/05/2024 Starre & Cohn APC
Printed name of law firm (if applicable)

Gary A. Starre
Printed name of individual Movant or attorney for Movant

fs! Gary A. Starre
Signature of individual Movant or attorney for Movant

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MOTION FOR RELIEF FROM THE AUTOMATIC STAY OR FOR ORDER
CONFIRMING THAT THE AUTOMATIC STAY DOES NOT APPLY
(Unlawful Detainer)

1. Movant is the:

a. [X] Owner of the Property
b. (1 Authorized Agent of the owner of the Property
c. [] Other (specify):

2. The Property at Issue (Property):
Type of Property: ([] Residential [] Nonresidential

Street Address: 73-399 El Paseo Drive
Unit/Suite Number. #101 and 102
City, State, Zip Code: Palm Desert, CA 92260

3. Bankruptcy Case History:

a. [X) Avoluntary {J Aninvoluntary petition under chapter &I7 1111 012 (713
was filed on (date): 08/28/2024

b. (1 An order to convert this case tochapte [)7 [111 [J12 1113
was entered on (date):

c. LC Aplan was confirmed on (date):

4. Pursuant to 11.U.S.C. § 362(b)(22) and (23) there is no stay because (check all that apply):

a. (J Movant commenced an eviction, unlawful detainer action or similar proceeding against the Debtor involving
residential property in which the Debtor resides and:

(1) [] The Debtor has not filed and served on Movant the certification required under 11 U.S.C. § 362(1)(1).

(2) [1 The Debtor or adult dependent of the Debtor has not deposited with the clerk any rent that would become
due during the 30-day period after the filing of the petition.

(3) [] The Debtor or adult dependent of the Debtor has not filed and served on Movant the further certification
required under 11 U.S.C. § 362(|)(2) that the entire monetary default that gave rise to the judgment has
been cured.

(4) [J Movant filed and served an objection to the Debtor's certification. A copy of the objection is attached as
Exhibit . Ahearing on this objection is set for (date)

5. Grounds for Relief from Stay: (check aii that apply)

a. [4 Pursuant to 11 U.S.C. § 362(d)(1), cause exists because, as of the bankruptcy petition date, the Debtor had
no right to continued occupancy of the premises, as follows:

(1) BQ Movant caused a notice to quit to be served on the Debtor.
(2) KJ An unlawful detainer proceeding was commenced on (date) 08/23/2024

(3) (J An unlawful detainer judgment was entered on (date)

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(4) ( Movant acquired title to the Property by foreclosure sale before the bankruptcy petition was filed and
recorded the deed within the period provided by state law for perfection.

(5) (J Movant acquired title to the Property by foreclosure sale after the bankruptcy petition was filed and
recorded the deed within the period provided by state law for perfection.

b. EX) Pursuant to 11 U.S.C. § 362(d)(1) the Debtor's right to possession should be terminated because (check all
that apply):

(1) Bd The lease or other right of occupancy expired by its terms on (date) 08/16/2024
upon expiration of the 3-day notice

(2) XI] The lease has matured, been rejected or deemed rejected by operation of law on (date) 08/16/2024 .
(3) &) Lease payments have not been made after the filing of the bankruptcy petition.

(4) (1 An unlawful detainer action was filed to obtain possession of the Property on grounds of endangerment of
the Property or because of illegal use of controlled substances on the Property and Movant filed and
served upon the Debtor a certification that [] such an action was filed or
CJ that within the 30 days preceding the certification, the Debtor has endangered the subject Property or
illegally allowed the use of controlled substances on the Property. A copy of Movant's certification is
attached as Exhibit . The Debtor []has [has not filed an objection to Movant's certification.
A copy of the Debtor's objection, if any, is attached as Exhibit . Ahearing on this objection is set
for (date)

(5) C) The bankruptcy case was filed in bad faith:

(A) L) Movant is the only creditor or one of few creditors listed in the Debtor's case commencement
documents.

(B) ] Other bankruptcy cases have been filed in which an interest in the Property was asserted.

(C) J The Debtor filed only a few case commencement documents. No schedules or statement of financial
affairs (or chapter 13 plan, if appropriate) has been filed.

(D) LJ There was a recent transfer of all or part ownership of, or other interest in the Property without the
consent of the Movant or court approval.

c. (&€ Pursuant to 11 U.S.C. § 362(d)(2)(A), the Debtor has no equity in the Property; and pursuant to 11 U.S.C.
§ 362(d)(2)(B), the Property is not necessary to an effective reorganization.

6. Grounds for Annulment of the Stay. Movant took postpetition actions against the Property or the Debtor:
a. [J These actions were taken before Movant knew the bankruptcy petition was filed, and Movant would have

been entitled to relief from stay to proceed with these actions.

b. [1 Movant knew the bankruptcy case had been filed, but Movant previously obtained relief from stay to proceed
with these enforcement actions in prior bankruptcy cases affecting the Property as set forth in Exhibit

c. (J Other:

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7. Evidence in Support of Motion: (important Note: Declaration(s) in support of the Motion MUST be Signed
under penalty of perjury and attached to this motion.)

a.
b.

Cc.

The UNLAWFUL DETAINER DECLARATION on page 7.
[] Supplemental declaration(s).

(1 Other (specify):

Movant requests the following relief.

1. Relief from stay pursuant to: 11 U.S.C. § 362(d)(1) [J 11 U.S.C. § 362(d)(2)

2. &

3. &
40
5 oO

>
xl

10.0

Movant (and any successors or assigns) may proceed under applicable nonbankruptcy law to enforce its
remedies to obtain possession of the Property.

Confirmation that there is no stay in effect.

The stay is annulled retroactive to the bankruptcy petition date. Any postpetition acts taken by Movant to enforce
its remedies regarding the Property shall not constitute a violation of the stay.

The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
the same terms and conditions as to the Debtor.

The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

A designated law enforcement officer may evict the Debtor and any other occupant from the Property regardless
of any future bankruptcy filing concerning the Property for a period of 180 days from the hearing of this motion:

(] without further notice.

CL} upon recording of a copy of the order or giving appropriate notice of its entry in compliance with applicable
nonbankruptcy law.

Relief from stay is granted under 11 U.S.C. § 362(d)(4), if the order granting this motion is recorded in compliance
with state laws governing notices of interest or liens in real property, the order is binding in any other case under
this title purporting to affect the Property filed not later than two years after the date of entry of such order, except
that a debtor in a subsequent case under this title may move for relief from the order based upon changed
circumstances or for good cause shown, after notice and a hearing.

The order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any

interest in the Property for a period of 180 days from the hearing of this Motion:

C1 without further notice.

J upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
nonbankruptcy law.

The order is binding in any other bankruptcy case purporting to affect the Property filed not later than 2 years after
the date of entry of such order, except that a debtor in a subsequent case may move for relief from the order
based upon changed circumstances or for good cause shown, after notice and hearing.

The order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of 180
days, so that no further automatic stay shall arise in that case as to the Property.

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12. XX] If relief from stay is not granted with respect to the Property because the Property is the subject of a lease that
may be assumable;

a. (J Establishment of a deadline for assumption or rejection of the lease.

b. [BX Adequate protection in the form of regular payments at the lease rate from petition date until assumption or
rejection of the lease.

13. [] Other relief requested.

Date: 09/05/2024
Starre & Cohn APC
Print name of law firm (if applicable)

Gary A.Starre

Print name of individual Movant or attorney for Movant (if
applicable)

‘sf Gary A. Starre
Signature of individual Movant or attorney for Movant

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UNLAWFUL DETAINER DECLARATION

|, (name of declarant) Laura Aflalo _ declare as follows:

1. | have personal knowledge of the matters set forth in this declaration and, if called upon to testify, | could and would
competently testify thereto. | am over 18 years of age. | have knowledge regarding Movant's interest in the Property
because (specify):

a. (J | am the Movant and owner of the Property.
b. [DX | manage the Property as the authorized agent for the Movant.

(_] | am employed by Movant as (title and capacity):

9

d. [) Other (specify):

2. a. EX | amone of the custodians of the books, records and files of Movant as to those books, records and files that
pertain to the rental of this Property. | have personally worked on books, records and files, and as to the
following facts, | know them to be true of my own knowledge or | have gained knowledge of them from the
business records of Movant on behalf of Movant, which were made at or about the time of the events
recorded, and which are maintained in the ordinary course of Movant’s business at or near the time of the
acts, conditions or events to which they relate. Any such document was prepared in the ordinary course of
business of Movant by a person who had personal knowledge of the event being recorded and had or has a
business duty to record accurately such event. The business records are available for inspection and copies
can be submitted to the court if required.

b. (1 Other (see attached):

3. The Property is:
C1 Residential [X] Nonresidential

Street Address: 73-399 El Paseo Drive
Unit/Suite Number. #101 and 102
City, State, Zip Code: Palm Desert, CA 92260

4. Movantis the (Z] legal owner of the Property, or the owner's legally authorized agent. A true and correct copy of
the trustee’s deed upon sale, lease, rental agreement, or other document evidencing Movant's interest in the Property
is attached as Exhibit 1 . Atrue and correct copy of the applicable document establishing Movant's authority as
agent for the owner is attached as Exhibit

5. The Debtor asserts a possessory interest in the Property based upon:

(1) ( a month-to-month tenancy
(2) ) a lease that is in default
(3) (] after a foreclosure sale that was held on (date):

(4) C1 other (specify):

6. The Debtor failed to pay:
a. [X% The monthly rent of $8,341.71 beginning on (date): 07/01/2024

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b. [&] Other obligations including:

(1) Common area maintenance charges
(2) CO Property taxes
(3) (1) Other obligations (specify):

7. Procedural status

a. & The lease matured or was rejected on (date) 08/16/2024
(1) Bd by operation of law. upon expiration of the 3-day notice

(2) (1 by order of the court.

b. [X] Movant caused a notice to quit to be served upon the Debtor on (date) 08/13/2024 _, and a true and correct
copy is attached as Exhibit 2 :

c. [J Before the bankruptcy petition was filed:

(1) D4 Movant filed a complaint for unlawful detainer against the Debtor on (date) 08/23/2024 , and a true
and correct copy is attached as Exhibit 3 .

(2) C0 Trial was held on (date)
(3) C) Trial was continued to (date)

(4) CJ An unlawful detainer judgment against the Debtor was entered on the complaint for unlawful detainer on
(date) , and a true and correct copy is attached as Exhibit

(5) CL) Awrit of possession for the Property was issued on (date) , and a true and correct copy is
attached as Exhibit .

d. After the bankruptcy petition was filed:
(1) Bd The Debtor has not filed and served on the Movant the certification required under 11 U.S.C. § 362(1)(1).

(2) DJ The Debtor or adult dependent of the Debtor has not deposited with the clerk any rent that would become
due during the 30-day period after the filing of the bankruptcy petition.

(3) BJ The Debtor or adult dependent of the Debtor has not filed and served on the Movant the further
certification required under 11 U.S.C. § 362(I)(2) that the entire monetary default that gave rise to the
judgment has been cured.

(4) [1 The Debtor filed and served on the Movant the certification required under 11 U.S.C. § 362(d)(1).

(A) (1 Movant filed and served an objection a copy of which is attached as Exhibit . A hearing on this
objection is set for (date) .

(B) 1] Movant has not filed and served an objection.

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(5) (J An unlawful detainer action was filed to obtain possession of the Property on grounds of endangerment of
the Property or because of illegal use of controlled substances on the Property and Movant has filed a
certification that _] such action was filed or (_] that the Debtor has endangered the Property within
30 days preceding the certification or allowed the illegal use of controlled substances on the Property.

A copy of Movant's certification is attached hereto as Exhibit . The Debtor [] has [1] has not
filed an objection to Movant's certification. A copy of the Debtor's objection, if filed, is attached as
Exhibit__. A hearing on this objection is set for:

(6) (] Regular lease payments have not been made after the bankruptcy petition was filed.
8. [J The Debtor does not have an interest in the Property that could be assumed or assigned under 11 U.S.C. § 365.
9. )X The Property is not necessary to an effective reorganization because it is:
a. [J Residential, and is not producing income for the Debtor.
b. > Commercial, but no reorganization is reasonably in prospect.
c. [] No longer property of the estate.
d. (J Other (specify):

10. [] The bankruptcy case was filed in bad faith:
a. [] Movantis the only creditor or one of few creditors listed in the Debtor's case commencement documents.
b. (] Other bankruptcy cases have been filed in which an interest in the Property was asserted.

c. [J] The Debtor filed only a few case commencement documents. Schedules and a statement of financial affairs
(or chapter 13 plan, if appropriate) have not been filed.

d. [1 Other (specify):

11. LJ The filing of the bankruptcy petition was part of a scheme to delay, hinder or defraud creditors that involved:

a. L] The transfer of all or part ownership of, or ather interest in, the Property without the consent of Movant or
court approval. See attached continuation page of facts establishing the scheme.

b. [] Multiple bankruptcy cases affecting the Property include:

(1) Case name:
Chapter: Case number:
Date filed: Date discharged: Date dismissed:
Relief from stay regarding the Property [] was [] was not granted.

(2) Case name:
Chapter: Case number:
Date filed: Date discharged: Date dismissed:
Relief from stay regarding the Property (] was [_] was not granted.

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{3} Case name:
Chapter: WW. Cage number:
Date fled: Date discharged: Date dismissed:

Relief from stay regarding the Properly Clwas (jwasnot granted.

(C1 See attached continuntion page tor Information about other bankruptoy cases atfocting the Proparly.

[[} See attached continuation page for additional facts establishing thet the multiple bankrupicy cases were part
of a scheme to delay, hinder, or defraud creditors,

42. (1 Erdorcament actions taken after the bankruploy petition was fied are specified in the attached supplemental
deciaration{s).
a. (C] These actions were taken before Movant knew the bankrupicy petition was filed, and Movant would have
been entitled to rellef from stay #0 proceed with thees actions.
b, [(] Movant knew the bankrupiny case had been filed, bul Movant previously obtained relief from stay to prosead
with these enforcament aationa in prior bankraptey cases affecting the Property aa set forth In Exhibit .

c. (1 For other tacts justifying anmuiment, soe attached continuation page.

I daclare under penalty of perjury under the laws of the United States that the for true and correct,

on d waa tai
Dale Printed Name Signature

et pastry

for use ert é
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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
15760 Ventura Blvd., Ste. 801, Encino, CA 91436

A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION FOR RELIEF FROM
THE AUTOMATIC STAY OR FOR ORDER CONFIRMING THAT THE AUTOMATIC STAY DOES NOT APPLY UNDER
11 U.S.C. § 362(1) (with supporting declarations) (UNLAWFUL DETAINER) will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General

Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
09/05/2024_, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Arturo Cisneros (TR) amctrustee@mclaw.org, acisneros@iq7technology.com;ecf.alert+Cisneros@titlexi.com
Peter M Lively PeterMLively2000@yahoo.com
United States Trustee (RS) —_ ustpregion16.rs.ecf@usdoj.gov

CL Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date) 09/05/2024 _. | served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

(1 Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method

for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 09/05/2024 _, | served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Served Via Personal Delivery:

Hon. Wayne Johnson, USBC, 3420 Twelfth Street, bin outside of Courtroom 304, Riverside, CA 92501:

Via Overnight Mail: Nicolas Lawrence Design Associates, LLC, 1643 North Alpine Road, Suite 104, PMB 151, Rockford,
IL 61107; Via Overnight Mail: Arturo Cisneros, 3403 Tenth Street, Suite 714, Riverside, CA 92501:

Via Overnight mail: United States Trustee, 3801 University Avenue, Suite 720,

Riverside, CA 92501-3200 CL] Service information continued on attached page
'

| declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

09/05/2024 Monica Arias ‘si Monica Arias
Date Printed Name Signature

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Exhibit“ /  ”

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AIRCRE
-—_
STANDARD INDUSTRIAL/COMMERCIAL MULTI-TENANT LEASE - NET

41. Basle Provistons ("Basle Provisions").
id Parties. This Lease ("Lease"), dated for eference purposesonty JUNE 13, 2022, is made by and between THE COLONNADE ON EL PASEO
LP. @tessor")and NICHOLAS LAWRENCE DESIGN ASSOCIATES LLC dba MODERN HACIENDA, ("kassae"), (collectively the “Partios”, or Individually

a "Party"), co .
1.2(2) Premises: That certaln real property, Including all improvements therein or to be provided by Lessor under the terms of this Leaaa, cormmonly known

as {street addrass, unit/suite, city, state): 73-399 El, PASEO DRIVE, SUITES 201 & 102, PALM DESERT, CA 92260 (“Premises”), The Premises are
located In the County cf RIVERSIDE. , and are generally described as (deseribe briefly the nature of the Pramisas and the "Project"): THAT APPROXIMATELY
2.945 RENTABLE SQUARE FEET PORTION OF THE GROUND FLOOR OF THE COMMERCIAL BUILDING LOCATED AT 73-399 EL PASEO.

R | " “= « In addition to Lassee’s rights to usa and occupy the Premises as hereinafter specifies,
Lassae shall have non-exclusive rights to any utility raceways ofthe builcing containing the Premises ("Building") and to the Common Areas (as defined in Paragraph

2.7 below}, but shall not have any rights to tha roof, or exterlor walls of the Bullding of to any other buildings in the Projact. The Premises, the Building, the Common
Areas, the land upon which they are located, atong with all other bulldings and improvements tharean, are herein collectively referred to as the "Project." (See also

Paragraph 2) .
1.2{b) Parking: ___” unreserved vehicle parking spaces. {See also Paragraph2.6) AUGUST 1, 2022
13 Term: 5 yoarsand 4. months ("Original Term") commencing JUtY$-2O22- ("Commencement Date") and ending OCTOBER 31, 2027
(“Expiration Date"), (Sea also Paragraph 3}
14 Eerly Possesstonr If tha Premises aro avallable Lessee may have non-exclusive possession of the Pramisas commencing PON MUTUAL EXECUTION
oF LEASE, PAYMENT OF AMOUNTS DUE UPON EXECUTION AND PROOF OF INSURANCE, ("Early Possession Date"). (Seeatso Paragraphs 9.2 and Uy
3.3. FEaR 1, i Is soone
15 Base Rent: $8,098.75. per month ("Base Rent"), payable on the i ey of 2023 or pon open "EMBER ae er 8
Paragraph 4)
If this box ts checked, there are provisions in this Lease for the Base Rent te be adjusted. See Paragraph S7__.
1.6 Lessae’s Share of Common Area Operating Expenses: SEVEN AND 17/100, percent ( 7.17 %}(*tessae’s Share"). In the event that the size of the
Premises and/or the Project are modified during the term of this Lease, Lessor shall recuicplate Lassee's Share to reflect such maditication, “yr LA.
1.7 Base Rent and Other Monies Paid Upon Execution: FeaRUARY 1, 2023 or upon opening for business, whichever is sooner. ME
(0) Basa Rent: $8,098.25. for the period NOVEMIBER-2022". FEBRUARY 1, 2023 or upan opening for business, whichever is soon
(b}) Common Area Operating Expenses: The current estimate for the period ‘NOVEMBER #022 Is $2,061.50 . ;
{c) Security Deposit: $11,176.72 ("Security Deposit’), (See alsa Paragraph 3)
{d) Other: for.
{a) Total Due Upon Execution of this Lease: $21,336.96 . ,
18 Agreed Use: HOME FURNISHINGS AND DESIGN SERVICES TO INCLUDE FURNITURE, HOME ACCESSORIES, LIGHTING, ART.
9,

ER PI SE, . (Sue also Paragraph 6)
1.9 Insusing Party. Lessor ts the “Insuring Party”, (See also Paragraph 8)

4,10 Real Estate Brokers, (See also Paragraph 15 and 25}
(a) Representation: Each Party acknowledges receiving a Disclosure Regarding Real Estate Agency Relationship, confirms and cansents ta the following

agency relationships in this Lease with the following rea) estate brokers (“Broker(s)“) and/or thels agents ran

Lessor’s Brokerage Firm License No. {s the broker of (check ana): the Lessor; or both the Lessee and Lessor (dual agenth.
Lessor’sAgant ss Licenseé No. _ Is{check one): the Laasor’s Agent (salesperson or braker associate); or + both the Lessea’s Agent and the
Lessor’s Agent (dual agent).

Lassae’s Brokerage Firm __ Ucense No. ____ Is the broker of (check one): QO tha Lessee; or CO both the Lassea and Lessor ual agent},
Lassee'sAgent __~ Ucense No. ___ is (check one): the Lassee’s Agent {salesperson of broker associate); or both the Lessee’s Agent and the

Lassor’s Agent {dual agent).
{o) Payment to Brokers. Upon executtan ard delivery of this Lease by bath Parties, Lessor shall pay to the Brokers the brokerage fee agreed to In a

separate written sgreement (or If thera Is no such agreement, the sum of or % of the total Basa Rertt) for the brokerage services rendered by the Brokers.
1.41 Guarantor. The obligations of tha Lessee under this Lease are to be guaranteed by

{"Guarantor’), (See also Paragraph 37)
1,12 Attachments, Attached hereto are the following, all of which constitute a part of this Lause:

1 an Addendum consisting of Paragraphs 50 through S58
C a site plan depicting the Premises;

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CJ a site pian depleting the Prajact:
a current sat of the Rules and Regulations for the Project;
acurrent set of the Rufes and Regulations adopted by the awners' assotlation;

--| 3 Work Letter;
hd other (speciiy): RENT ADJUSTMENTS, OPTION TO EXTEND, AND GUARANTY OF LEASE AQBENDUMS. .
2 «Premises,

2,1 Latting. Lessor hereby leases to Lessee, and Lessee hereby leases from Lessor, the Premises, for the term, at the rental, and upon all of the terms,
covanants and conditions set forth in this Lease, While the approximote square footage of the Premises may have been used In the marketing of the Premisas for
purposes of comparison, the Gase Rant stated herein fs NOT tied to square footage and Is nct subject to adjustment should the actual slam be derermined to be
diferent. NOTE: Lessee is advised to verify the actual stra nrlor to executing this Lease.

2.2 Candition. Lessor shalt deliver that portion of the Premises contained within the Buliding ("Unit") to Lessee broom clean and free of debris on the
Commencement Date or the Early Possession Date, whichever first aceurs {"Stact Date”), and, so long as the required service contyacts described in Poragraph 7.1(l)
below are obtained ty Lessee and in effact within thirty days following the Start Date, warrants that the existing electrical, plumbing, fire sprinkler, lighting, heating,
ventilating and air conditioning systems ("HVAC"), loading doors, sarap pumps, If any, aad all athar such elements In the Unit, ather than those constructed by Lessee,
shat be In good operating condition on said data, that the structural elaments of the rool, bearing walls and foundation of the Unit shall be free of matarlal defects,
and that the Unit does nat contain hazardous levels of uny meld of fungi defined as toxle under applicable state ar federal law. If a non-complience with such
warranty axlsts as of the Start Data, or if one of such systems or elements should malfunction or fal within the aperopriste warranty period, Lessor shall, as Lassor's
sola obligation with respect to such matter, except as otherwise provided in this Lease, promptly after raceipt of written netice from Lessee Setting forth with
speciicity the nature and extent of such non-compllance, malfunction or failure, rectify same at Lasscr's expense, The warranty periods shall be as fotlows: {i}6
months as to the HVAC systems, and (ii) 30 days us to the rematning systems and other elemants af the Unit, IFLussoe doesnot give Lessor tha regulrad notice within
the appropriate warranty perlod, correction of any such non-compllance, malfunction or falture shall be the abligation of Lassee at Lassae’s sole cost and expense
(except for the repairs to the fire sprinkler systems, roof, foundations, and/or bearing walls - sor Paragraph 7), Lessor also warrants, that untass otherwise specified in
writing, Lessor is unaware of (I) ony recorded Notices of Default affecting the Pramilse; {li} any delinquent amounts due under any loan secured by the Premises: and
{lil} any bankruptcy proceeding affecting the Premises.

2.3 Compliance. Lessor warrants that, to the best of Its knowledge the Improvements on the Premises comply with the building codes, applicable laws,
covenants or restrictions of record, regulations, and ordinances ("Appltcalilo Requireraents") that were in affect at the time that asch lmpravem ent, or portion
thereof, was constructad, Said warranty does not anply to the use to which Lessea will put the Premises, modifications which may be required oy the Americans with
Disabilities Act or any similar laws as a result of Lessee's use (see Paragraph 49), ar to any Alteradons or Utility instaltattons (as defined in Paragraph 7.3(3)) made or to
ba made by Lessee, MOTE: Lessee Is responsible for datarmining whather or not the Applicable Requirements, and espectally the zoning are appropriate for
Lassoe's Intended use, and acknowladgus thet past uses of the Premises may no longer be oflowed, if the Prantises do not comply with sald warranty, Lessor shull,
except as otherwise provided, promptly ofter receipt af written notice front Lassee setting forth with specificity the nature and extent of such hon-compliance, rectify
the same at Lessor's expense, If Lossee dows nut gve Lessor written notice of a non-compliance with this warranty within 6 months following the Start Date,
corraction of that non-compliance shall be the obligation of Lessee at Lesseq’s sole cost and expense, Ifthe Appicable Reculemants are hereatter changed so as 10
require during the term of this Lease the construction of an add!iion to or an alteration of the Unit, Premises and/or Building, the remediation of any Hazardous
Substance, or the reinforcement or other physical modification of the Unit, Premises and/or Bullding ("Capital Expenditure"), Lessor and Lessee shall allocate the cost
of such work as follows:

{a} Subject to Paragraph 2.3{c] below, if such Capital Expenditures are required asa result of the specific and unique use of the Premises by Lessee as
compared with uses by tenants ‘n genaral, Lessee shall be Fully responsible for the cost thereat, provided, however, that if such Capital Expenditure ts required during
the lst 2 years of this tease and the vost thereof exceeds G months’ Base Aent, Lessee may Instaad terminate this Lease unless Lessor notifies Lessee, in writing,
withln 10 days after receipt of Lessea’s termination notice that Lessor has elected te puy the differance batwean the aclual cost thereof and the amount equal to6
months' Base Rent. if Lessee elects termination, Lessee shell immediately cease the usa of the Premises which requires such Capttal Expenditure and deliver to Lessor
written nodce specifying a termination date at least 90 days thereafter, Such termination date shall, however, Inna event be eartier than the last day that Lessee
could logaky utilize the Premises without commancing such Capital Expenditure. .

(b)  if'such Capita! Expenditure is not tha result of the specific and unique use of the Premises by Lessee (such as, gavernmentally mandated seisivite
modifications), then Lessor shall pay for such Capital Expenditure and Lessee shail onty be obligated to pay, each month during the remainder of the term of this Lease
or any extension thereaf, on the date that on which the Base Rent is due, an amount equal to 1/144th of the portion of such costs reasonebly attributable to the
Pramises. \essae shall pay Interest on the dalance but may prepay its obligation at any time. If, however, such Capital Expenditure Is required during the last 2 years
of this Laase or If Lessor reasonably determines that Ris not economically feasible to pay its share thereof, Lessor shall have the option to terminate this Lease upon
90 days prior written notice to Lescea unless Lessee nodites Lessor, in writing, within 10 days aftar receipt of Lessor's termination natice thut Lessee will pay for such’
Capital Expenditure. if Lessor does not elect to tennfnate, and falls to tendar Its share of any such Capital Expenditure, Lessee may advance such funds and daduet
sama, with Interest, from Rent until Lessor's share of such costs have baen fully pald. if Lessee is unable to finance Lessor's share, or if the balance of the Rent due
and payatle for the rumalader of this Lease is oot sufficient to fully reimburse Lessee on an offset basis, Lessee shall have the sight to termlnute this Lease upon 30
days written notice to Lessor.

(c) Notwithstanding the above, the provisions concerning Capital Expenditures are Intended to apply only to con-voluntary, unexpected, and new
Applicable Requiramants, if the Capital Expenditures are Instaad triggered hy Lessee as a rasuit of an actual or proposed change In use, change In intensity of use, or
modification to the Premilses then, and In that event, Lassea shall alther: (I} immediately cease such changed use or Intensity of use and/or take such other steps as
may ba necessary to eliminate the requirement for such Capital Expenditure, of (Il) complete such Capital Expenditure at its own expense, Lessea shall not have any

right to terminite this Leasa,
2.4 Acknowladyemants. Lassae acknowledges that: (a) It has tan given an opportunity to Inspect and measure the Premises, (b) It has bean advised by

Lassorand/or Grokers to satisfy itself with respect to the size and condition of the Premises [including but not Kmited to the electrical, HVAC and fira sprinkler
systums, sacurky, envionmental aspects, and compllance with Applicable Requirements and the Americans with Oisabliities Act}, and their suftablity for Lessee's
Intendad use, {c} Lessee has made such investigation as It dewms necessary with reference to such matters and assumes all resconsbility therefor as the same relate
to its occupancy of the Pramises, (d) (tis not selylng on spy representation as to the size of the Premises made by Brokers or Lessor, (e) the square footage of the
Premises was nat material to Lessee's clecision to lease the Pramises and pay the Rent sisted hereln, and (f} neither Lessors, Lessor’s agents, nor Brokers have made

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any oral or wriitan representations or warranties with respect to sald matters other than as set forth inthis Lease, In addition, Lessor acknowledges thet: {1} Brokers
have mada no representations, promises or warranties conceming Lessae’s ability to honor the Lease or suitability to occupy the Premises, and {Ii} it is Lassor’s sole
responsibility to Investigate the financial capablilty and/or suitability of afl proposed tenants,

25 Lessee as Prior Ownar/Occupant. The warranties made dy Lassor In Poragraph 2 shall be of no force of effect if kumediately prior to the Start Date Lessee
was the owner or occupant of the Premises. In such event, Lessee shall be raspansibie for any necessary corrective work.

2.6 Vohice Parking, Lessee shell be enutied to use the number of Parking Spaces specified in Paragraph 4.2{b) on those postions of the Common Areas
designated from Wms to time by Lessor for parking. Lassee shall not use mora parking spaces than sald number, Soild parking spaces shall be used for parking by
vehicles no larger than full-size passenger automobiles or pick-up trucks, herein called "Pormitted Sten Vehicles.” Lessar may regulate the loading and unloading of
vahiclas by adopting Rules and Regulstions as provided In Faragraph 2.9, No vehicles other than Permitted Slze Vehicles may be parked In tha Common Arez without
the prior written pennission of Lessor. In addition: ,

{3} Lessee shall not permit cr allow any vahicles that belong to or ara controlied by Lessa or Lesseu's employees, supollers, shippers, custarners,
contractors or invitaes to be loaded, unloaded, or parked in areas ather than those designated by Lessor for such uctivities,

{b) Lessee shall not service or stare eny vehicles fn the Common Areas.

{c) if Lessee permtts or allows any of the prohibited activities described tn this Paragraph 2,6, then Lessor shail have the sight, without notice, in addition
to such other rights and ramedies that it may have, to remave of tow away the vehicle dwvalved and charge the costto Lessee, which cost shall be intmadiately
payable upon demand by Lessor,

2.7 Common Areas- Oefinition, The tarm “Common Arags" Is defined as all areas and facilities outsiee the Premisas and within the extarier boundary laa of
the Project and interior utility raceways and instaliations within cha Unit thatare provided and designated by the Lessor from time to me for the ganeral
non-exclusive use of Lessor, Lessee and othar tenants of the Project and thelr respective employees, suppliers, shippers, customers, contractors and invitees, Including
parking afeas, loading and unloading areas, trash areas, roofs, roadways, walkways, driveways and landscaped areas.

2.8 Common Areas- Lesseo's Rights, Lessor grants ty Lessue, for the benefit of Lessee and its employees, suppliars, shippers, contractors, customers and
invitees, during the term of this Lease, the non-exclusive right to use, in common with others envitted to such usa, the Common Areas a5 they axist from time to time,
subject t any rights, powers, and privileges reserved by Lessor under the terms hereof or under the terms of any niles and regulations or resteictions governing the
use of the Project, Under no circumstances shall the right herein granted te use the Commion Areas be daemad ta Inclucte the sight to store any property, tempararlly
of permanently, in the Common Areas, Any such storage shall be parmitiad only by the prior writren consent of Lessor or Lessor’s designated agent, which consent
may be revoxed at any time, (n the event that any unauthorized storage shall occur, then Lessor shall have the right, without notice, in addition to such other rights
and remedies that it may have, to remove the property and charge the cost to Lessee, which cost shall be immediately payable upon demand by Lassor.

2.9 Common Arags-~ Rules and Ragufations. Lessor ar such other person(s) as Lessor may appoint shall have the exclusiva control and management of the
Comman Areas and shall hava che right, from time to time, to establith, modify, amend and enforce reasonable rules and regulations ("Rules and Regulations") for
the management, safety, care, and cleanliness of the grounds, the parking und unloading of vahicles and the prese:vation of good order, as wellas for the convenfencr
of ather occupants or tenants of the Avilding and the Project and their Inviteas. Lossce agrons to abide by and conform to ail such Rules and flegulations, and shall
us its bast efforts to cause its employeas, suppliers, shippers, customers, contractors and invitees to so abide and conform, Lassor shall nat be responsible to Lesser
far the non-compllance with sald Rufes and Regulations by other tenants of the Project.

2.40 Connon Arens - Changes. Lessor shall have the right, In Lessur’s sole discretion, frorn time to time:

(a) To make chonges to the Common Areas, including, without limitation, changes In the location, size, shape and number of driveways, entrances,
parking spaces, parking areas, loading and unloading areas, Ingress, egress, direction of traffic, landscaped areas, walkways and uiflity raceways;

b) To closa temporarity any of the Common Areas for maintenance purposes so long as reasonable access to the Premises rernains available;

{c) Todesignate other jand outside the boundaries of the Project to be a part of the Common Areas;

{8} To add additional buildings and improvements to the Cammon Aseas;

{e} To use the Common Arous while engaged in making additianal Improvements, repairs or alterations fa the Project, or any portion thereof; and

(f) To do and perform such other acts and make such other changes in, to or with raspect to the Common Areas and Prajact as Lessor inay, Inthe

oxarcse of sound businass Judgmant, deem to be appropriate.

3. Term.
3.1 ‘Term. The Commencemant Date, Expiration Date end Original Term of this Lease are as specifled In Paragraph 7.3.

3.2 Early Possession, Any provision herein gronting Lessee tarly Possession of tha Premises Is subject to and conditioned upon the Premises being available
for such possession arior tothe Commencement Date. Any gnint of Early Possession anty conveys a non-exclusive right 10 occupy the Premises. If Lessee totally or
partially occuptes the Premises prior ta the Commencemunt Cate, the obligation to pay ase Rent shall be abatad for the peried of such Harly Possession, All other
terms of this Lease (including but not Nmited to the obligations to pay Lessea's Share af Common Area Operating Expenses, Real Proparty Taxes and Insurance
premiums and to maintain the Premises) shalt be In affect during such period, Any such Early Possession shall not affect the Expiration Date,

3.3 Delay In Possession. Lessor agrees to use Itsbest commercially reasonabie efforts to deliver passassion of the Premises to Lassee by the Commencement
Date. If, despite sald efforts, Lessor fs unable to deliver possession by such data, Lassor shail not be subject to ony Hability therafot, nor shall such failure atfect the
validity of this Laase or change the Explration Data. Lessee shall not, hownver, be obligated to pay Rent or perfarm its acher obligations until Lessor delivers
possession of the Premisas and any period of rent abatement that Lessee would atharwise have anjoyad shall nin ‘rom the date of dalivary of possession sad
continue fer a pertod equal to what Lessee would otherwise hove enjoyed under the terms hereof, but minus any days of dely caused by the acts or omissions of
Lessee. If possession is not delivered within 60 days after the Commancemeant Datu, as the same may ba extended undar the terms of any Work Letter executed by
Partlas, Lassae may, at its option, by notice In writing within 10 days after the end af such GO day parlod, cancel this Laase, ia which event the Parttes shall he
discharged from af obligations hereunder. If such written notica is not received by Lessor within sald 10 day period, Lessae's right to cancel shall tecminate, if
possession of the Premises Is not delivered within 120 days altar the Commencement Date, this Lease shall terminate unless othar agreements are reached between
Lessor and Lessae, in writing.

3.4 fessea Compliance, Lessor shall not be raquired to tender possession of the Premisas to Lessee Until Lessee complies with its obfigation to provide
evidence ol insurance (Paragroph 8.5). Pending delivery of such eviunce, Lassee shall be required to perform all of Its obigotions under this Lease fram and pfter the
Start Dale, inctuding the paymant af Rent, notwithstanding Lessar's election to withhold possession panding receipt of such evidence of Insurance, Further, if Lessee
Is required to perform any other conditions prior to or concurrent with the Start Date, the Start Date shal! occur but Laszor may elect to withhold possession until such

conditions are satisfied.

AL Ratt,
4.1, Rant Befined, All monetary obligations of Lessee to Lessor under the terms of this Lease (axcept far the Security Depost) are deemed to be rant ("Rent"),

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4.2 Cammon Araa Oparating Expenses. Lassee shall pay te Lessor during the term hereof, in addition to the Base Rem, Lassee’s Shara (as spocified In
Paragraph 1.6} of all Common Area Operaling Expenses, us hereinafter defined, during each calender year of the term of this Laase, in accordance with the following

pravisions:
(3) "Common Area Operating Expenses® are defined, for purpuses of this Lease, as all costs relating to the ownership and operation of the Project,

lastuding, but nat Itmited to, the following:
tl} The operation, repair and maintenance, In neat, clean, good order and condition , and if necessary the replacement, of the followlng:

(aa) The Common Areas and Common Area Improvements, including parking araas, loading and unloading areas, trash areas, roadways,
parkways, walkways, driveways, landscaped areas, bumpers, irrigation systems, Common Arua lighting facilities, fences and gates, elevators, roofs, exteriar walls of the
buildings, building systems and roof drainage systems.

(bd) Exterior signs and any tenant directorias.

{cr} Ary fire sprinkler systems.

{dd} All other areas and Improvements that are within the exterior houndarles of the Project but outside of the Premises and/or any other
space occupled by a tenant,

(if) The cost of watar, gas, electricity and telephone to service the Common Areas and any utilidas not separately metered,

{ti} The cost of trash disposal, pest control services, property management, security servites, owners’ association dues and fees, the cast te repaint
the exterior of any structures and the cost of any environmental inspections.

(iv) Reserves set aside for raistensnce, repair and/or replacement of Common Area Improvements and equipment.

(v) Real Property Taxes (as defined In Paragraph 10),

{vi} The cost of the premiums for the Insurance maincained by Lessor pursuant to Paragraph 8,

(vii} Any deductible portion of en Insured loss concerning the Building or the Commi Areas.

(vill) Auditers', accountants’ and attorneys' fees and costs related to the operation, malaterance, repair and replucement of the Project.

(ix). The cost of any capital Improvement to the tuilding or the Project not covered under Ure provisions of Paragraph 2.3 nravided; however, that
Lessor shall allocate the cost of any such capital Improvement over a 12 year porlod and Lessee shall not he required to pay more than Lessee's Shara of 1/144th of
the cost of such capital improvernent In any given month. Lessee shall pay Intasest on the unamortized balance but may propay Ks obligation at any time,

{x) The cost of any other services to be provided uy Lessor that ara stated elsewhere In this Lease to be a Gomrnon Area Operating Expense.

(b} Any Common Area Operating Expenses and Real Property Taxes that are specifically attrfbutable to the Unit, the Building of to any other dullding in
the Project or to the pparation, repair and maintenance thereof, shall ba allocated entirely to such Unit, Building, or other building. However, any Common Area
Operating Expenses and Real Property Taxes that are not specifically attributable to the Building or to any other building or to the operation, repair snd maintenance
thereof, shall be aquitably allocated by Lessor to all bufldingsin the Project,

{ce} The Inclusion of the Improvements, facilities and services set forth in Subperagraph 4,2{a) shall not be deemed to lmpase an obligation upan Lessor to
ither have sakd Improvements or facilities or to provide those services unless the Project already has tha same, Lessor already provides the servicas, ur Lessor has
agracd elsewhere in this Lense te provide the same or sume of them,

{8} Lassee's Share of Common Area Operating Expenses {s payable monthly on the same day as the Base Rent is due heraunses, The amount of such
peyments shal be based on Lessor's estimate of the annual Common Area Operating Expenses. Within 60 days after written request (but not more than once each
year) Lessor shall deliver to Lessee a reasonably detalled statement showing Lassaa's Share of the actual Common Area Operating Expenses for the preceding year, If
Lessee's paymnancs during such year exceed Lessea’s Shure, Lessor shall cradit the amount of such overpayment against Lessea’s hulure payments. If Lessae's
payments during such year were less than Lessed's Share, Lussde shail pay to Lessor the amount of the doficlency within 10 days after delivery by Lessor to Lassee of

the stetentent.
te) Common Area Operating Exjunses shall nat Include any expenses pald by any tenant diractly to third parties, or as to which Lessor is otherwise

reimbursed by any third party, other tenant, of Insurance proceeds.

4.3 Payment, Lessee shall cause payment of Rent to be recelvad by Lessor in (awlul money of the United States, without offset or daduetion lexcept as
specifically permitted In this Lease}, on or bafore the day on which itis due, All monetary amounts shalt be rounded to the nearest whole dolian in the event that any
invoice prepared by Lessor Is inaccurate such Inaccuracy shall not constitute a waiver and Lessee shall ba obligated to pay the antount set forth in this Lease. Rent for
any period during the term hereof which Is for ess than one full calendar manth shall de prorated hased upon the actual number of days of said month. Payment of
Rent shalt be made to Lessor at Its address stated harain or to such other persons or place as Lessor may from timato time designate tn writing. Acceptance af a
payment which Is less than the amount then due shail not be a waiver of Lassor's rights to the biance of such Rent, regardless of Lossar’s endorsement of any check
sostating. In the eventthat any check, draft, or other instrument of payment given by Lessee to Lessor is dishanored for any reason, Lessee agraes to pay to Lessor
the sum of $25 In addition to any Late Charge and Lessor, at its aption, may require all future Rent be paid by cashier's check, Payments will be applied first to accrued
late charges and aitorney’s faes, second te accrued interest, then to Base Rent anid Common Area Operating Expenses, and any rematning amount to any other

outstanding charges or costs,

5. Sacusity Dapostt. Lessee shalt deposit with Lessor upon execution hereof the Security Depasit as security for Lesseo's faithful performance of its obligatians
undar this Lease. if Lessee fails to pay Rant, or otherwise Defaults under this Lease, Lessor inay use, apply or setain al! or any portion of sald Security Deposit for the
payment of any amount already due Lesser, for Rents which will be due In the future, and/ ar to relmburse or compensate Lassor fer any Hability, expense, loss or
damage which Lessor may suffer or incur dy reasan thergaf. {f Lessor uses or applies all or any portion of the Security Depost, Lessee shall within 10 days atter
writtan requast therefor daposk monies with Lassar sufficient to restore sald Sacurity Deposit to the full amount raquired by this tease. Hf the Base Rent Increases
during the term of this Lease, Lassee shall, upon weitten requast from Lessor, deposit additional monins with Lessor so that the tetal amount of the Security Deposit
shall at all times bear the same proportion to the increased Base Rent as the initial Security Deposit bore to the Initial Guse Rent, Should the Agreed Use be amended
to accommodate a material change in the business of Lessee or to accommodate a sublessee or assignee, Leasar shall hava the right to increase the Security Seposit
to the extent necessary, in Lessar's reasonable judgment, to account for any Increased wear and tear that the Premises may suffer as a result thereat, fa change In
comrot of Lassee orcurs during this Lease and following such change the financial conditicn of Lessee 1s, in Leasor’s reasonable judgment, significantly reduced, Lessee
shall deposit such additional monles with Lassor a¢ hull be suffictent to cause the Security Depasit to be at a commercially ryasonable leval based on such change ln
financial condition. Lessor shall nocbe required to keep the Security Depasit separate from {ts general accounts, Within 90 days after the expiration of termination of
this Lease, Lessor shall coturn that portion of the Security Deposit not used or applied by Lessor, Lessor shall upan written request provide Lessee with an accounting
showing how that portion of the Security Deposit that was not returnad was applied. No part of the Security Deposit shall be consklered to be held in trust, to bear
Interest or to be prapayment for any monies to be paid by Lessee under this Lease, THE SECURITY DEPOSIT SHALL NOT BE USED BY LESSEE IN ICU OF PAYMENT OF

THE LAST MONTH'S RENT,
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& Use.
6.2 se. Lessee shall use and occupy the Premises only for the Agened Use, of any other legal use which is reasonably comparable thereto, and for no other

purpose, Lessee shall not use or permit the ise of the Premises In a manner thatis uniawful, creates domaga, waste or a nuisance, of that disturbs occupants of or
causes damage ta neighboring premises or peaperties. Other than guide, signal and seeing aye dogs, Lessee shal! not keep or allow in tho Premises nny pets, animals,
birds, fish, of reptlas. Lessor shall not unreasonably witihold or delaylts consent to any written request for a modification of the Agreed Usa, so long as tha same will
not Impair the structural Integrity of the Buitding or the mechanical or electrical systerns therein, and/or is nat significantly more burdensome to the Project. If Lessor
elactsto withhold consent, Lessor shail within 7 days altar such request give written notification of some, whitch notice shall include an axplanation of Lassor's
objections ta the change inthe Agreed Use,

6.2 Hazardous Substances.

{a} Reportable Uses Require Consant. The term “Hazardous Substance” as used in tis Lease shall mean any product, subslance, or waste whose
Presence, use, manufacture, disposnl, transportation, ot relnase, either by itself or in comblnation with other matarials expected to be on the Premises, 's either: {i}
potentially injurious to the public heath, safety or welfare, the environment or the Premises, {Il} regulated or monitored by any governmental authority, or (iii} a basis
for potential ablity of Lessor to any governmental aganey or third party under any applicable statute or cemmon law theory. Hazardous Substances shall include, but
not be limited to, hydrocurbans, petroleum, gasoline, and/or crude oll or any products, by-products or fractions thereof, Lesswe shall not engage In any actiity in or
on the Premises which constitutes a Reportable Use of Hazardous Substances without the express prlor written consent ef Lassor and timely compliance (at Lessae's
axaense) with all Applicable Requirements, "Reportable Use™ shail mean (1) the installation or use of any above or below ground storage tank, (i} the generation,
ndssessian, storage, use, transportation, ar dispasal of 3 Hazardous Substance that requires a persnit from, or with raspect to whidha report, notica, registration or
business olan Is required to be filed with, ary governmental authority, and/or (Iti) the presence at the Premises of 9 Hazardous Substance with respect to which any
Applicable Riquirements caquires that a notice be given to persons entering or occupying the Premises or neighboring properties, Notwithstanding the foregoing,
Lessee may use any ordinary and customary materials reasonably required to be used in the normal course of the Agreed Use, ordinary office supniles (copler toner,
liquid paper, gua, etc.) and comman household cleaning materials, so long as such use isin compltance with all Applicable Requirements, is nota Reportable Use, and
does not expose the Premises ar neighboring property to any meaningful risk of contamination or damage or expose Lessor toany Hablity therefor. in addition,
Lessor may condition Its consent to any Raportable Ure upon recelving such additional assurances as Lessor reasonably deems nacessary to protect Itself, the public,
the Premises and/or the environment against damage, contamination, Injury and/or lability, Inchiding, but nok liraited to, the instailation (ond removal on of bufora
Lease expiration of termination) of protectiva modifications (such as concrete envasements) and/or Increasing tha Security Deposit.

{b} Duty to Inform Resor. if lessen knows, ar has reasonable cause (c belleve, that 9 Hazardous Substance has come to be lccoted In, on, under cr
about tha Premises, other than as previously consented to by Lassor, Lessee shail Immedintely give written notice of such fact to Lessor, and Provide Lessor with 3
copy of any report, notice, claim o¢ other decumentation which it has concerning the presence of such Hazardous Substance.

(c}_ Lessee Remadfation. Lessee shall not cause of permit any Hazardous Substance to be spllicd o¢ released hi, on, undar, or about the Premises
{Including through tha plumbing or santtury sewer system) and shall promptly, at Lassee's expense, comply with all Agaticable Requirements and take all investigatory
and/or remedial action reasonably recommended, whether or not formally ordered or required, for the elewnup of any contamination of, and for the maintenance,
security and/or monttoring of the Premises of neighboring properties, that was caused or matesally contributed to by Lassee, ar pertaining to ar lavolving any
Hazardous Substance brought onto the Premises during the term of this Lease, by or for Lassee, or any third party.

{d) Lessee indemnification, Lessee shall Indemnify, defend and hold Lassor, its agents, employees, lenders and ground lessor, if any, harrnless from and
against any and all loss of rents and/or darnagns, fabifties, judymunts, claims, openses, penaltias, and attorneys’ and consultartts: fees arising out cf or involving any
Hazardous Substance brought onte the Premises by of for Lessea, or any third party (provided, however, that Lessee shall have no flabillty under this Lease with
raspect to underground migration of any Mazardous Substance under the Premisos from areas outside of the Project not caused of contributed to by Lessee), Lassve's
obligations shath Inckide, but nat be limited to, the effects of any contamination or injury to person, property or the environment created ur suffered by Lessee, and
the cost of investigation, removal, remediation, restoration and/or abatement, and shall survive the expiration or termination of this Leasa, No termination,
cancellation of release agreament entered Into by Lessar and Lessne shall release Lassee from Its obligations under this Lease with respect t Hazardous Substances,
urdess specifically so agread by Lassar In writing at the time of such agraement.

{eo} Lassor Indaynnifleation. Except a5 otherwise provided in paragraph 8.7, Lessor and its successors and assigns shall indemnity, defend, reimburse and
hold Lessae, ts employees and lenders, hamiless from and against any and all environmental damagas, including the cast of remediation, which are suffered a5 a
direct result of Hazardous Substances on the Promises prior to Lassee taking possession or which ara cousad by tha gross negligence or willful misconduct of Lessor, its
agents or employees. Lessor’s obligations, as and whan required by the Applicable Requirements, shall include, but not be limited to, the cost of investigation,
removal, remediation, restoration and/or abatarnant, and shail survive the expiration uy termination of this Lease.

ff) invesdgations and Remediailons. Lessor shall cetaln the responsibility and pay for any investigations of rameciation measures required by
governmental entitles having jurisdiction with respect (o the existance of Hazardous Substances on the Premises prior to the Lessee taking possession, unless such
remediation measure is required as a result af Lessse’s use (Including “Alterations”, as defined In paragraph 7.4(9) below) of the Premises, in which event Lassee shall
be responsible for such payment. Lassee shall cooperate fully in any such activities at the request of Lessor, Including allowing Lessor and Lessor’s agents to have
reasonable access to the Premises at reaganable times In order to carry out Lessor’s Investigative and remedial responsibilities.

(g) Lessor Termination Option. if a Hazardous Substance Condition {see Paragraph 9.1a}) occurs during the term of this Laase, unless Lessee is legally
responsible therefor (in which case Lessee shall make the Investigation and cemediatfon thereof required by the Applicable Requirements and this Lease shall continue
In full force and effect, but subject to Lessos's rights under Paragraph 6.2(d) and Paragraph 13), Lessor may, at Lessor's option, atther (i) Snvestigate and remediate such
Hazardous Substance Condition, if required, as soon as reasonably possible at Lessor’s expense, In which avent this Lease shall continua In full force and effect, or (a) if
the estimated cost to remediate such condition exceeds 12 times the then monthly Base Rent of $100,000, whichaver is greater, give written notice to Lessee, within
430 days after receipt by Lessor of knowledge of the occurrence of such Hazardous Sunstance Condition, of Lessor's desire to terminate this Lease as of the date 60
days following the date of such notice. In the event Lessor elects to give a termination notice, Lessee may, within 10 days therenftor, give written notice to Lessor of
Lessee's commitinent to pay the amount by which the cost of the remediation of such Hazardous Substance Condition exceeds Bn amount agual to 12 tmes the then
monthly Base Rent or $100,000, whichever is greater. Lessee shall provide Lesser with said funds ar satisfactory assurance thereof within 30 days following such
commitinent, In such event, this Lease shall continue {n full force and effect, and Lessor shall proceed to make such remediation as soon as reasonably possibia stter
the required funds are available. If Lessee does not give such notice and provide the required funds or assurance thereat within the time providad, thls Lease shall
terminate as of the date specified In Lessor's notica of termination.

6.3 tLessee's Compliance with Applicable Requlraments. Exceptas otherwise provided in this tease, Lessee shail, at Lassea's sale expense, fully, diligently and
ing Umely manner, materially comply with all Applicable Requirements, the reyutrements of any applicable fire insurance underwriter or rating bureau, and the
recommendations of Lessor’s engineers and/or consultants whith ralate in any mannar to the Premises, without regard to whether sald Applicable Requirements are
now In effect or become effective after the Start Date. Lessee shall, within 40 days after recalpt of Lessor's writtan request, provide tessos wlth coplas of ail permits

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and other documents, and other information evtoencing Lessea's campilance with any Applicable Requirements specified by Lessor, and shall immediataly upon
receipt, notify Lessor in writing (with copies cf any documents Involved) of any threatened or actual clalm, natice, cation, warning, comptalnt or report partalning to
oF fnvolving the failure of Lessee or the Premises to comply with any Applicable Requirements. Likewlse, Lessee shall Immadiately giva written notica to Lessor ais (l}
any water damage to the Premises and any suspacted seepage, pooling, dampness or other condition conducive to the production of mold: or (}any mustiness or
other odors that might indicate the presence of mold in the Pramisas,

6.4 laspartion; Compilanca. Lessor and Lessor's "Lendar" (as defined In Paragraph 30) and consultants authorized by Lessar shall have the right to enter into
Premises at any time, In the case of an emergency, and otherwise at reasonable timas after reasonable natica, for the purpose cf Inspecting and/or testing the
conditian of the @remisas and/or for verifying compliance by Lessee with this Lease, The cost of any such inspections shall be paid by Lessor, untioss a violation of
Applicable Requirements, of a Hazardous Substance Condition (sea Paragraph 9,1)is found to exist or be Imminent, or the inspection Is requested or ordered oy a
governmentaf authorlty. In such case, Lessee shal! upon request relmburse Lessor for the cost of such inspection, so long as such Inspection {s reasonably related to
the violation or contamination, in addisfon, Lessee shall provide copies of all relavant material safety data sheets (MSDS) to Lessor within 10 days of the recelpt of
vaitten request therefor, Lossee acknowledges that any failure onits partto aliow such inspections or testing will expose Lessor to risks and potentially cause Lessor
to incur costs not contemplated by this Lease, the extent of which wid be extremely difficult to ascertain. Accordingly, should the Lessee fall to allow such Inspactions
and/or testing ina timely fashlon the Base Rent shall be automatically Increased, withoyt any requirement for notice to Lessee, by an amount equal to 10% of the
then existing Base Rant or $100, whichever is greater for the remainder to the Lease. The Partias agree that such increase In Base Rent represents fair and reasonabje
compensation for the additional risk/costs that Lessor will incur by reason of Lessee's failure to allow such Inspection and/or testing. Such Increase In Base Rent shall
in no event constitute a waiver of Lessea’s Default or Breach with respact to such fallure not prevent the exarcise of any of the other sights and remedies granted

hereunder, .

7%  Malntenance; Repairs: Utility installations: Trade Fictures and Alterations,

7.1 Lessae's Obligations,

. _ (a) Ia General, Subject to the provisions of Paragraph 2.2 (Conditton], 2.3 (Compliance), €.3 (Lessae's Compliance with Applicable Requirements), 7.2
{Lessor’s Obligations}, 9 (Damage or Destruction), and 14 (Condemnation), Lessee shall, at Lessee's sole expense, kaeo the Premises, Utility Installations {intended for
Lessoe's exchisive use, ro matter where located), and Alterations ia good order, céndition and repalr (whether or not the portion of the Premises requiring repalrs, or
the means of repairing the same, are reasonably or readily accessible to Lessae, and whether or not the need for such repairs occurs as # result of Lessea's use, any
prior use, the elements or the age of such portion of the Premises}, Including, but not Imited to, all equipment or {acillves, such as plumbing, HVAC equipment,
electrical, lighting facilities, boflers, pressure vessels, fixtures, Interior walls, interlor surfaces of exterior walls, celllngs, floors, windows, doors, plate glass, and
skylights but excluding any items which are the responsibility of Lessor pursuant to Paragraph 7.2, Lessee, in keeping the Premfsas In gaod order, condition ard repair,
shall exercise and paticrm good maintenance practices, spaciticully includirg the procurement and maintenance of the service contracts required by Paragraph 7.1(b}
below, Lassee's abiigations shall include restorations, replacements or renewals when necessary te keep the Premises and all Improvements thereon or a part thereof
In good order, condition and state af repalr,

{b}  Saevice Contracts. Lassee shall, at Lessea's sole expense, procure and maintaln contracts, with coples to Lessor, in customary form and substance for,
and with contracters szectallzing and experienced In the maintenance of the following equipment and Improvements, if any, If and when instatled on the Premises: (I)
HVAC equipment, {i} boller and pressure vessels, and (ill} clarifiers. However, Lessor reserves the eight, upon notice to Lessee, to procure and maintain anyor all of
such service contracts, and Lessae shail relmburse Lessor, upon demand, for the cast thereof,

{c) Fallurate Perform. If Lessee fails to perform: Lessae’s obligations under this Paragraph 7.1, Lassor may enter upon the Premises after 10 days’ prior
written notice to Lessee (except In the case of an emergency, In which case no notice shall be required], perform such obligations on Lessee's behalf, and put the
Premises in good order, condition and regalr, and Lessee shall promptly pay to Lassor 2 sum equal to 145% of the cost thereof.

{d) Replacement, Subject to Lessee's indemntficaticn of Lessor as set forth In Paragraph 3,7 below, and without releving Lessea of Tiabllity resulting from
Lessee's failure to exercise and perform good maintenance practices, if an items described In Paragraph 7.1[b) cannot ba repaired ather than at a cost which Is In excess
af $0% of the cust of replacing such item, then such item shall be replaced by Lassor, and the cost thereof shail be prorated betwean the Parties and Lassee shall only
be obliquted to pay, each month during the remainder of the term of this Lease ar any extension thereof, on the date on which Base Rent ts due, an amount equal te
the product of multiplying the cost ef such rapiacement by a fraction, the numerator of which is ona, and the denominator of witich Is 144 fle, 1/244th of the cost per
month), Lessee shall pay Interest an the unamortized balance but aray prepay Its obligation at any Hme.

7.2 Lassor's Obligations, Subject to the provisions of Paragraphs 2,2 (Candition}, 2.3 (Compitance}, 4.2 (Common Area Operating Expenses), 6 (use), 7.4
(Lessue's Obligations), 9 (Damage or Destruction) and 14 (Condemnation), Lassor, subject to velmbursement pursuant to Paregraph 4.2, shall keep In good ordar,
condition and repulr the foundations, extertor walls, structural cundition of titerior bearing walls, exterlar roof, fire sprinkler system, Common Area fire alarm and/or
smoke detection systems, fire hydrants, parking lots, watkways, parkways, driveways, landscaping, fences, signs and utflity systems serving the Commen Areas and alt
parts thereof, as well ag providing the services far which there Is a Common Area Operating Expense pursuant to Paragraph 4.2, Lesgor shall not be obligated to paint
the exterlar or interor surfaces of exterlor wails nor shall Lessor be obligated to maintain, repair or repiace windaws, doors or plate glass of the Premises.

73° Utility Installations; Trade Fixtures; Alterations. :

(a) Definitions. The term “Utillty Installations” refers to all floor and window coverings, air and/or vacuura lines, power panels, electrical clstrlbution,
security and fire protection systems, coramunitation cabling, lighting fixtures, HVAC equipment, plumbing, and fanclng in or on the Premises. The term "Trade
Fixtures" shall meen Lessee's machinery ard equipment that cen be semoved without doing materta] damage to the Pramises, The term “Alterations” shall mean ady
modification of the improvemants, other than Utility Installations or Trade Fixtures, whether by addition or deletion. “Lessee Owned Alterations and/or Udlity
Installations” are defined as Alteratians and/ar Utility Installations made by Lessee that are not yet owned by Lessor pursuant to Paragraph 7.4/a).

(b) Consunt. Lessee shail not make any Alteravons or Utillty lastallattons to the Premises without Lessar’s prior written Consent. Lessee may, howeves,
make non-structural Alterations or Utility installations ta the interior of the Premises (excluding the roof) without such consent but upon notice to Lasser, as long as
they are not visible from the outside, do not Involve puncturing, relocating of “emoving the roof or any axisting walks, will not affect the electrical, plumbing, HVAC,
and/or life safety systems, do not trigger the requirement for additional modifications and/or Improvements to the Premises resulting from Applicable Requirements,
such 35 compliance with Tile 24, and/or fife safety systems, and the cumulative cost thereof during this Laase as exiended does not exceed a sure equal to 3 month's
Base Rent in the aggregate ora sum equal to. one month's Base Rent in any cne year, Notwithstanding the foregoing, Lassee shall not make ar permit any roof
penetrations and/or install anything on the roof without the prior written approval of Lessor, Lessor may, as 9 precondition to granting such approval, require Lessee
to utilize @ contractor chosen and/or: approved by Lessor, Any Alterations or Utfilcy installations that Lessee shall dasira to make and which require the consent of the
Lessor shall be presented to Lesser in written form with detalled plans. Consent shal as deemed conditioned upon Lessen's: (i) acquiring all applicable governmental
permits, (Ji) furnishing Lessor with copies of both the permits and the plansand specifications prior te commencement of the work, and (lll) comptiance with al?
conditions of sald permits and other Applicable Requirements In a prompt and expeditious manner, Any Alterations or Utility Installations shall ba parformed in a
workrnankke manner with good and sufficlent materials. Lessee shall promptly upon completion furnish Lessor with as-built plans and specifications, For work which

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costs an amount in excess of cna month's Base Rent, Lassor may condition Its consent upan Lessee providing a Hen and completion dond In an amount equal to 150%
of the estinvated cost of such Alteration or Utility Installation and/or upon Lessne’s posting an additonal Security Deposit with Lessor,

{c} Gens; Bonds. Lessee shall pay, when due, all ¢lalms for labor or materials furnished ar alleged to have bean furnished to or far Lassee at or for use Dn
tha Premises, which clalms are of may be secured by any mechanic's or matedalmen's Hen against the Premises or sry interest therein. Lasser shall give Lessor not .
less than 10 days notice prior to tha commencement of any workin, an of about the Premises, and Lessor shall have the ght to post notices of ron-respondbillty, t
Lassee shall contast the validity of any such Han, clalm or demund, than Lessee shall, at Its sole expanse dafend and protect itself, tessor and the Praises against the
same and shall pay and satisfy any such adverse Judgment that may be randerad thereon beluro the enforcement thereof, If Lessor shall require, Lessee shall furnish
a surety bond fy an amount equal te 150% of the amount of such contested lien, cain or dariand, Indemnifying Lessor against llability for the same. If Lessor elects
to participate in any such actlon, Lessae shail pay Lessor’s attorneys’ fees and costs.

7.4 Ownership; Removal; Surrander; and Restoration.

' {a} Ownurship. Subject co Lessor‘s right so require removal or elect ownership as hereinafter provided, ail Alterations and Utility installations made by
Lessee shall bethe property of Lessee, but considerad a purt of the Premises. Lassur may, at any tina, elect In writing to be the awnar of all or any spacifiod part of
the Lessee Qwnad Alteration: and Utility installations. Untess otherwise instructad per paragraph 7.4(b} hereof, all Lessea Owned Alterations and Uslity installations
shail, at tha expiration or tercnination of this Lease, become the property of Lassor and be surrendered by Lessee with the Premises,

(bh) Removal. Gy delivery to Lessee of written notice frony Lessor not earlter than 90 and not later then 30 days prior to the end of the term of this Lease,
Lessor may require that any or all Lessee Owned Alterations or Uitlity Installations be removad by the expiration er termination of this Lease. Leseer may require the
ramoval at any time of all or any part of any Lessee Gwnad Alterations or Utillty installations made without the required consent.

fc) Surrender; Restoration. Lessee shall surrender the Premises by the Explratian Date ae any earller termination date, with all of the improvements,
ports and surfaces thereof broom clean and free of debris, and in good operating order, condition and stsle of repair, ordinary wear and tear excepted, “Orclinary
wear and teur’ shall not Include any dornage or deterioration that wauld have been prevented by good maintenance practice, Notwithstanding the foregoing and the
provisions of Paragraph 7.1(a), If tha Lessae occuples the Prantses for 12 mnths or less, then Lessee shall surrender the Premises in the same candition as delivered
to Lessee on the Start Date with NO allowance for ordinary wear and tear. {Lessee shail repatr any damage occasioned by the installation, maintenance of camoyal of
Trade Fixtures, Lessee owned Alterations and/or Utility instailations, furnistsings, and equipment as well as the removal cfany storage tank lnstallag by or for Lessee,
Lessee shall also rornove from the Premises any and all Hazardous Substances brought onto the Premises by ef (or Lessee, of any thitd party {axcept Hazardous
Substances which were deposited via underground migration from areas outside of the Project) to the level specified In Applicable Requirements. Trade Fixtures shail
remain the property of Lessee ang shall be removed by Lassee. Any personal property of Lessee not removed on or befora the Expiration Date or any eariler
tercnination date shail be deemed to have been abandoned by Lessee snd taay be dispased of or retained by Lessor ag Lessor may desire. The failure by Lessee te
Umely vacate the Premises pursyant to this Paragraph 7.4(c) without the express written consent of Lessor shall constitute a boldever undas the provistons of

Paragraph 26 below,

8. Insurance; Indemnity.
81 Paymant of Pramlums. The cost of the premiums for the Insurance policies required ta be carriad by Lessor, pursuant to Parographs 8.2(b), 8.3(a) and

8.3(b), shall be a Common Area Operating Expense. Premiums for policy periods commencing prior to, or extending beyond, Ure term of this Lease shail be prorated
tacolncida with the corresponding Start Date or Expiration Date,

&2  Uabillty insurance.
(a) Carried by tessne. Lessee shall obtain end keep In force a Commarclal General Liability policy of insurance protecting Lessee and Lessor as an

additonal insured against claims for bodily infury, personal injury and property damage based upon or arising out of the ownership, use, occupancy or maintenance of
the Premises and all areas appurtenant thereto. Such insurance shall be on an cccurrence basis providing singla limit coverage In an amount not less than $1,000,000
per occurrence with an annual aggregate of not less than $2,000,000. Lessee shall add Lessor as an additional Insured by means of un endorsement at leastas brood
as the Insurance Service Organization's “Additiona) Insured-Managers or Lessors of Premises” Endorsemwant, The policy shall not contain any Intra-insured exclusions
us Catween Inyured persons or organizations, Wut shall include coverage for fiabllity assumed under this Lease as an "Insurad contract” for the performance of Lessee's
Indamnlty obilgscions under tis Laasa. The Itmits of said lasurance shall not, however, Ilmit the Mabllity of Lassee nor relieve Lessee of any obligation hereunder,
Lessee shall provide an endarsement on ks tiabllity postcy{les) which provides thatits Insurance Shali be primary te and not contributory with any similar Insurance
carried by Lessor, whose insurance shall be considered axcess Insurance only,

(>) Carried by Lessor, Lessor shall maintain liability Insurinca as described in Paragraph 8,22), In addition te, and not in ieu of, the insurance required to
be miaintained by Lessaa. Lessee shall not be rumed as an additignal Insured therein,

8&3 Property Insuronca - Bulidling, taprovaniants and Rental Value,

(a) Balding and laprovemants. Lessor shall obtaln and keep In force a policy or policies of insuranca in the name of Lessor, with lass payable to Lessor,
any ground-lesser, and to any Lender lasuring loss os damage to the Premises, The amount of such Insurance shall be equal to the full insurable replacement cost of
tne Premises, as the same shall exist frorn time to dime, or the amount required by any Lander, but in no event more than the commercially reasonable and available
insurable value thereof, Lessee Owned Alterations aad Utility Installatlens, Trade Fixtures, and Lassea's personal property shalf be insured by Lessee not by Lessor. If
the coverage is available and coremerciully appropriate, such pollry or policies shall insure agalnst all risks of direct physical loss or darnage texcept the perils of flood
and/or earthguake untess required by 3 Lender), Including coverage for dabrls removal gad the enforcement of any Applicable Requirements requiring the upgrading,
demoiition, reconstruction or replacement of gny portion of the Premises as the result of a covered loss, Said policy or polleles shafl also contain an agreed valuation
provision In ileu of any colnsurance clause, walver of subrogation, and Inflation gard protection causing on increase in the anaual property Insurance coverage
amount by a factor of not less than the adjusted U.5. Oepartment of Labor Consumer Price Index for All Urban Consumers for the city nesrast to where the Prainises
arelocared. ff such insurance coverage has a decuctible dause, the deductible amount sholl not excaad $5,000 per occurrance,

{bo} Rental Value. Lassor shail also abtaln ond keep In force a policy of policies ia the name of Lessor with loss payable to Lessor and any Lender, suring
che loss of the full Rent for one year with an extended period of Indemnity for an additional 180 days ("Rental Valve Insurance”). Said Insurance shall contain an
agreed valuation provision In liau of any colnsurance clause, and tha amount of coverage shall be adjusted annually to reflect the projected Rent otherwise payable by
Lessee, for the next 12 month partod,

{c) Adjecent Praises. Lessee shall pay for any Increese In the premiums for the property insurance of the Bullding and for the Cammon Areas or othar
bulldings in the Project if said increase {fs caused by Lessee’s acts, ornisslans, use or occupancy of the Premises,

(d}_ Lassea’s improvements, Since Lassor js the Insuring Party, Lessor shall not be required to insure Lessee Owned Alteratlons and Utility lastallations
udless the Rem in question has become the prooerty of Lassor undar the terms af this Lease.

8.4 Lesseo’s Property; Business Interruption insurance; Workar’s Compansation insurance.

{3) Property Damage. Lessee shail obtain anc maintain insurance coverage on all of Lessee's personal property, Trade Fixtures, and Lessee Owned

Altegations and Uulity installations. Such Insurance shall be full ceplacament cast we a deductible af nat to exceed $1,0X) par occurrence. The proceeds

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from any such Insurance shall be used by Lessee rar the replacomont of personal property, Tratle Fixtures and Lessee Owned Alterations and Utility tnstallatfons.

(6) Bustnoss interruption, Lessee sholl obtain and maintain loss of income and extra expense Insuraace In amounts as will relmburse Lessee for rect or
Indiract loss of earnings attributable to all perils commonly Insured against by prudent ‘esses tn the business of Lessaa or attributable to pravention of access to the
Premises as a result of such perils,

[c) Worker's Compensation insurance. Lessee shall obtaln and maintain Worker's Compensation Insurance in such amount as may be required by
Angileable Requirements, Such pollcy shall include a ‘Watver of Subrogation’ endorsement. Lessee shall provide Lessor with a copy of such endorsement along with
the certificate of insurance or copy of the policy required by paragraph 8,5, .

{3} No Representation of Adequate Coverage, Lessor makes no representation that the {Imits or forms of coverage of insurance specified hereln are
adequate to caver Lessee’s property, businass operations or obligations under this Lease.

43 insurance Policies. Insurance required hereln shall be by companies malntalning during the policy term a "General Policyholders Rating® of at feast A-, Vi,
as set forth in the most current Issue of “Best's Insurance Guide", or such other rating as may be required by a Lender, Lessee shall not do or permit to be done
anything which invaitdates the required insurance policies, Lessee shalt, prior to the Start Date, deliver to Lessor certified copies of policles of such Insurance or
certificatus with caples of the required endorsements ev'dencing the exdstence und amounts of the required insurance. No such poffey shall be cancelable or subject
to madification except after 30 days orlor written notice to Lessor, Lessee shall, at least 10 days prior to the oxplration of such policies, furnish Lessor with evidence of
renewals or "Insurance binders“ evidencing renewal therao!, of Lessor may Increase his Hlabllity insurance coverage and charge the cost thereof to Lassee, which
amcunt shali be payable by Lessee to Lassor upon demand. Such policies shall be for a tere of at least one year, or the length of the remaining term of this lease,
whichever Is less, Jfelther Party shall fall to procure and maintain the Insurance required to be carried by It, the other Party may, but shall not be tequired tt, procure
and maintain the same,

, 86 Waiver of Subrogation. Without affecting any other eights or ramedies, Lessee and Lessor each heraby ralease and relieve the other, and walva thelr entire
right to recover damages against the other, for loss of or damage to its property arising out of or Incldent to the perlis required to be Insured agalnst herein, The
affect of such raleases and waivers Is not limited by the amount of insurance carried or required, or by any deductibles appitcaole hareto, The Parties agree to have
their respective property damage Insurance carries walve sny right to subrogation that such companies may Nave against Lessor or Lessea, as the case may be, so
long as the insurance is not Invalidated thareby,

87 indemnity. Except for Lessor’s gross nagligence o willful misconduct, Lessee shall indemnify, protect, defend and hold harmtess the Pramises, Lassor and
its agents, Lassar’s master of ground lessar, partners and Lenders, from and agalast any and all claims, less of rants and/or damages, liens, judgments, penalties,
attorneys’ and consultants' fees, expenses and/or Habllities arising out of, Involving, of in connection with, a Breach of the Lease by Lessee and/or the use and/or
occupancy of the Premises and/or Project by Lessee and/or by Lessee's employees, contractors or Invitees . If any action or proceeding Is brought agalnst Lessor by
reason of anyof the foregoing matters, Lessee shail upon notice defend the same at Lessea's expense by counsel reasonably satisfactory to Lessor and Lassor shalf
cooperate with Lessee in such defense. Lessor need not have first paid any such claim In orderte be defended or Indemnified,

8.8 Exemption of Lessor and its Agents from Liability. Notwithstanding the negligence or breach of this Lease by Lessor or its agents, nelther Lessor nor its
agents shail be Hable under any circumstances for: (i) injury or damage to the person or goods, wares, merchandise or other property of Lessee, Lessee's employees,
contractors, Invitees, customers, or any other person in of about the Premises, whather such damage or Injury Is caused by cr results from fire, steam, electricity, gas,
water or ral, Indoar alr quallty, the presence of mald cr fron the breakage, leakage, obstruction or other defects of pipes, fire sprinklers, wires, appliances, plumbing,
HVAC or lighting fixturas, or from any other cause, whether the said injury or damage results from conditions arising upon the Premisas or upen other portions of the
Gullding, of (rom ather sources of places, (I) any damages artsing from any act or neglect of any other tenant of Lessor cr from the failure of Lessor or Its agents to
enforce the provisions of any other lease tn the Project, or (lj Injury to Lessee’s business or for any foss of Income or profit therefrom, Instead, it IsIntended that
Lessee's sole recourse in the event of such damages or injury be to file a clainy on the Insurance poticyfles) that Lessee Is required to maintain pursuant to the
provisions of paragraph 8.

8.5 Fallure to Provide insurance. Lessee acknowledges that any failure on: its part to obtain or maintain the insurance required herein will expose Lassor to
Cisks and potantially cause Lessor to incur costs not contemplated by this Laase, the extent of which wilt be extremely difficult to ascertain, Accordingly, for any month
cr portion thereof that Lessee does not malntaln the requirad Insurance and/or does not previde Lessor with the required binders or certificates evidencing the
existence of the required Insurance, the Base dent shall be automatically incraasud, without any requirement for notice te Lessee, by an amount equal to 10% of the
thon existing Base Rent or $100, whichever 's greater. The parties agree that such Increase in Base Rent represents falr and reasanable compensation for the
additional risk/costs that Lessor will [ncur by reason cf Lessee’s fallure to maintain the required Insurance. Such increase in Base Rent shall 4) no event constitute a
walver of Lessee's Default or Breach with respect to the fallure to maintain such Insurance, prevent the exercise of any of the other rights and remedies granted
hereunder, nor relleve Lessee of Its obligation to malntain the insurance specified In thls Lease.

9, Damage of Destruction,

9.1 Definitions.
(2} “Premises Partial Damage" shall mean damage or destruction to the Improvements on the Promises, other than Lessee Owned Alterations and Utility

{nstailations, which can reasonably be repaired in 3 manths ov less fom the date of the damage or destruction, and the cost tnereof does not excead a sum equalto 6
month's Base Rent, Lessor shail notify Lessee in writing within 30 days from the date of the damage or destruction as ta whether or not the damage Is Partial or Yotal,

{>} . "Premises Total Dastructian" shall mean damage or destruction to the Improvements on the Premises, cther than Lessee Cwned Alterations and
Ufility Installations and Trade Fixtures, which cannot reasonably be repaired in 3 months or less from the date of the damage or destruction and/or the cost therecf
aaceeds a suum aqual to 6 month's Base Rant. Lesser shall notify Lessee In writing within 30 days from the date of the damage or destruction as to whether of not the
damage ts Partial or Total,

Ic) “Insured Loss* shall mean damage or destructicn ta improvamants on the Prenilses, other than Lassee Owned Alterations and Utillty Installations and
Trade Fixtures, which was caused by an evant required to be covered by tha Insurance described in Paragraph 8.3{a), Irrespective of ony deductible amounts or
coverage limits Involved,

{d] “Replacament Cost” shail mean the cost to repair or rabuitd the Improvaments owned by Lessor at the time of the occurrence to thelr condition
existing Immadiately prior thereto, including demolition, debris removal and upgrading required by tha operation of Applicable Requirements, and without deduction

for dapraciation.
fe} “Hazardous Substance Candition” shal! mean the occurrence of discovery af a condition Involving the presance of, af a contamination by, a

Hazardous Substance, In, on, or under the Prarrises which requires restoration,
9.2 Partial Damage - Wisured Loss. Ifa Premises Partial Damage that Is an Insured Loss occurs, then Lessor shall, at Lassac‘s expanse, repair such damage (bul

not Lessee’s Trade Fixtures or Lessee Owned Alterations and Utility Installations) as soan as reasonably possible and this Leasa shall continue in full force and effect;

provided, however, thut Lessee shail, at Lessor’s election, make tha repair of any damage or destruction the total cost to repair of which is $10,000 or less, and, Ins such

event, Lassor shall make any applicable Insurance proceeds available to Lessee ana reasonable basis for that purpose. Notwithstanding the foregolng, if the required
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insurance was not In force or the Insurance praceeds are not sufficleat to effect such repair, the Insuring Party shall promptly contribute the shortage in proceeds as
and when required to complete sald repairs, In the event, however, such shortage was due to tha fact that, by reason of the unique nature of the improvements, full
replacement cost Insurance coverage was not commercially reasonable and available, tassor shall have no obligation to pay for the shortage in Insurance proceeds or
totully restore the unique aspects of the Premises unless Lessee provides Lessor with the funds to cover same, cradequate assurance thereof, within 10 days
following receipt of written notice of such shortage and request therefor. If Lessor receives sald funds or adequate assurance thereof within sald 10 day period, the
party responsible for maklog the repairs shall complate them as saon us reasonably possible end this Lease shail rematn in full force and effect. If such funds or
assurance are not received, Lessor may nevertheless elect by written notice to Lessae within 10 days thereafter to: (I) make such restoration and repatr as is
commerdally reasonable with Lessor paylng any shortage In proceeds, In which case this Lease shal remain in tull force and effect, or (I!) have this taase terminate 30
days the-eafter, Lessee shall not be entitled ta relmbursemeant of any funds contributed by Lessee to repalr any such damage or dastruction. Premises Partial Damage
Gue to floed or earthquake shall be subject to Paragraph 9,3, notwithstanding that there may be some insurance coverage, but the net proceeds of any such insurance
shail be made avallabie for tha repairs If made by aither Party.

$,3 Partial Damage - Uninsured Loss. Ifa Premises Parilal Oomiage that ls not an Insured Loss occurs, unless caused by 4 negligent or willful act of Lessee tla
which event Lessee shall make the copalrs at Lassee’s expense), Lessor may either: (I) repalr such damage as soon as reasonably possible at Lessor's expanse (subject
tarelmbursemant pursuant to Paragraph 4.2), in which event this Lease shall continue in full force and effact, or {i) terminate this Lease by giving writtan notice to
tassee within 30 days after racalpt by Lassor of knowledge of the occurrence af such damage. Such termination shull be effective 60 days fallowlng the date of such
nedea, In the evant Lassor elects to terminate this Lease, Lasse shall have the right within 10 days ofter secalot of the termination notice to give written notice to
Lessor of Lessee's commitment to pay for the repalt of such damage without relmbursement from Lessor, Lessee shall provide Lassor with satd funds or satisfactory
assurance thereof within 30 days after making such commitment. In such event this Lease shall continue in ful force and effect, and Lessor shall proceed to make
such repalrs as soon as reasanably posslole alter the required tunds are available. If Lessee does not make the required commitment, this Lease shall terminate as of
the dope spactfied In the termination notice.

9.4 Total Destruction. Notwithstanding any other provision hereof, if a Premises Tota! Destruction occurs, this Lease shalt terminata 60 days following such
Destruction, if the damage or destruction was caused by the gross negligence or willful misconduct of Lessee, Lessor shall have the right to recovar Lassor's damages
from Lessee, except as pravided In Paragraph 8.6.

9.5 Damage Near End of Torm. !f at any time during the last 6 months of this Lease there ls damage for which the cost to repair excaeds one month's Base
Rant, whether oy nat an insurad'Loss, Lessor may terminate this Lease affective 60 days following the date of occurrence of such damage by elving a written
lermination notice to Lasse within 30 days after the date of occurrence of such damage. Notwithstanding the foregoing, If Lessee at that time hasan exercisable
optionto extand this Lease or to purchase the Premises, then Lussee may prasorve this Lease by, (a) exercising such option and (b) providing Lessor with any shortage
ininsurance procaeds (or adequate assurance thereat) needed to make the repairs on or before the earlier of {1} the date which fs 10 days after Lessee's receipt of
Lessor’s writtan nutice purporting to torminate this Lease, or (i the day prlor to the date upon which such option expires. If Lessee duly exercises such option during
such pertod and provides Lessor with funds (or adequate assurance thereof) ta cover any shortgge in insurance proceeds, Lassor shall, at Lessor's commarcially
reasonable expense, repalr such damage as soon as reasonaoly possthle and this Lease shal! continue In full force and effect, If Lessee falls to exercise such option and
provide such funds ar assurance during such period, then this Lease shall cenninate on the date specified In the termination notica and Lassee’s eption shall be
extinguished,

9.5 Abatement of Rent; lessee's Remedies.

(a) Abatemant. tn the event of Premises Partial Damage or Premises Total Destruction of a Hazardous Substance Concitian forwhich Lessee Is not
responsible under this Lease, the Rent payable by Lessee for the perlod required for the repatr, temediation of restoration of such damage shall be abated in
proportion to the degree to which Lassee's use of the Premises Is Impaired, but not to excaed the proceeds received from the Rental Value Insurance. All other
obligations of Lessee hereunder shall be performed by Lassee, and Lessor shall have no Hablilty for any such darnage, destruction, remadiation, repair or restoraties
exept as provided herein, .

(b} Remedies. Hf Lessor Is obligated to repair or restare the Premises and does not cammence, in a subscantial and meaningful way, such repair or
restoration within SO cays after such obligation shall accrue, Lessee may, at any time prior to the commancement of such repalr oc restoration, give written notice to
Lessor and to any Lenders of which Lessee has actual notice, of Lassee’s election to terminate this Lease on a date not less than 60 days following the giving of such
notice. If Lessec givas such notice and such repair or restoration ts not commenced within 30 days thereafter, this Lease shall terrninate as of the date specified In sald
notice, if the repaly or restoration ls commenced within such 39 days, this Lease shall continue in full forca and effect. “Commence” shall mean either the
uncondibonal authorizatien of the preparation of the requized plans, or the beginning of the actual work on the Pramisas, whichever first occurs.

9.7 Terralnation; Advance Payments. Upon termination of thls Lease pursuant to Paragraph 6.2(g) of Paragraph 9, an equitabie adjustment shall be made
concerning advance Gase Rene and any other advance payments made by Lessee to Lessor. Lesspr shall, in addition, raturn to Lessee so much of Lessee's Security
Depasit as has not bean, a7 1s not then required ta be, used by Lessor.

10. Real Property Toes.
10.4 Definition, As used herain, the term “Heal Property Taxes" shall inch:de any form of assessment; real astata, genatal, spectul, ordinary o¢ extraordinary, or

rental levy of tax (other than Inherltance, personal income or estate taxes); iniproverient bond; and/ar Geanse fae Inyposed upon or tavled against any legal or
aquitadia Interest of Lessor fn the Project, Lassor’s right to other Income therefrom, and/or Lessor's business of leasing, by any aucharity having the direct or indirect
powerto tax ond where the funds are generated with refergnce to the Project address, The term "Real Property Taxes" shall also includa any tax, fee, levy, assessment
or charge, or uny increase therela: (!) inyposed by reason of avents occurring during the term of this Lease, including but not limited to, a change in the ownership of
the Project, (ii}a change in the improvements thereon, and/or (ili) levied of assessed on machinery or equipment provided by Lessor to Lessee pursuant to this Lease.
In calculating Real Property Taxes fur sry calendar year, the Real Property Taxes fcr any real estate tax yeat shall be I:icluded In the calculation of Real Property Taxes
for such calendar year basec upon the auniber of days which such calendar year and tax year have in common.

10,2 Payment of Taxas, Excoptas otherwise provided in Paragraph 10.4, Lessor shall pay the Real Property Taxes applicable to tha Project, and sald payments
shall b¢ included In the calculation of Common Area Operating Expanses in accordance with the provisions of Paragraph 4,2.

10.3 Additional improvements, Common Area Operating Expenses shall not include Real Property Yaxes specified In the tax assessor's records and work sheets
aS being caused by additional Improvements placed upon tho Project by other lessees or by Lessar for the exclusive enjayment cf such other lessees, Notwithstanding
Paragraph 10,2 hereof, Lussee shull, however, pay to Lassor at the time Comman Area Operating Expenses are payable under Paragraph 4,2, the entirety of any
Increase In Real Property Taxes if assessed solely by reason of ARerations, Trade Fixtures of Utility Installations placed upon the Premises by Lessee or at Lessce's
request of by reason of any alterations or Improvements to the Praises mace by Lessor subsequent to the execution of this Lease by the Parties,

10.4 Joint Assessment, If the Bullding {s nct separately assessed, Real Properly Taxes allocated tothe dulleing shall ye an equitable proportion of the Rea}
Property Taxes for all of the land and Improvements Included within the tax parcel assessed, such proportion ta be determined by Lussor from the respective
valuations assigned In the assessor's work sheets or such other Information 34 may be reasapably available, Lessors reasonable determination thereof, in good falth,

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stall ba conclusive.
10.5 Personal Property Taxes. Lessee shall pay prior to delinquency ell taxes assessed against and levied Upon Lessee Owned Alterations snd Udllity

installations, Trade Fiktures, furnishings, equipraent and at personal property of Lessee contained in the Premises, When possibla, Lessee shall cause its Lessee
Owned Altarations and Utility installations, Trade Fixtures, furnishings, equipment and all uther parsonal property to be assessed and biliad separately from the real
property of Lussor, ifsny of Lessee’s sald property shail ba assessed with Lessor’s real property, Lassea shall pay Lessor the taxas attributable to Lessee’s pfoperty
within 10 days aftar racelpt of > writtan statement setting forth the taxes applicable to Lessee’s property,

di. Utilities and Servicas, Lessee shall pay for all water, gas, heat, iight, power, talaphone, trash disposal and other utilities and services supplied to the Premises,
together with any faxes thereon, Notwithstanding the provisions of Paragraph 4.2, it at any time in Lessor's sole judgment, Lessor datermines that Lessee Is using a
disproportionate amwunt of water, electricity or other cammmon'y metered utilities, or that Lessee ts generating such 2 large volume of ash ato require an increase
Inthe size of thy trash receptacle and/or an increase in the number of times per manth that it fs emptied, then Lessor may Increase Lessee's Qase Rent by an amount
equal to such increased costs. There shall be no abatermant of Rent and Lassor shail not be liable in any respect whotsoaver for the inadequacy, stoppage, interruption
o! discontinuance of any utility or service due to rot, strike, labor dispute, breakdown, accident, repair or other cause beyond Lessar’s reasonable contro) ar in

cooparation with govemmental request of directions,

Withia fifteen days of Lessor’s written request, Lessee agreas to deliver to Lessor such information, documents and/ar authorizalion as Lessor needs in order for
Lassor to comply with new or existing Applicable Requirements relating to commercial huiiding energy visage, ratlags, and/or the reporting thareoi,

22. Assignment and Sublotting,
12.1 Lassor’s Consent Required.

(a) Lassee shail not yoluntarity or by operation of law asstgn, transfor, mortgage or encumber (collectively, "assign or assignmont’) orsublet all of any
part of Lessee's Intarast In this Lease or in the Pramises without Lessor's prior written consent.

{b} Unlass Lessee is a corporation and its stock |s publicly traded on a national stock exchange, a change in the contrat of Lassee shalt constitute an
assignment requiring consent. The transfer, on a Qumulative basis, of 25% or more of the voting control of Lessee shall constitute a change in contro! for this purpose.

{c) Theinvolvement of Lassee ar its assets in any transaction, or sevios of transactions (by way of merger, sale, ecquisition, financing, transfer, levereged
buy-out or otherwisa), whether or not a formal assignment or hyppthacation of this Lense or Lessee’s nssots occurs, which results or will result in a reduction of the
Net Worth of Lassee by an amount greater than 25% of such Net Worth as it was represented at the ime of the execution of this Lease or atthe time of the most
recent assignment to which Lessor has consented, or us It exists hnmeriately prior to said transaction of transactions coasttuting such reduction, whichever was or fs
greater, shall ba considered on assignment of this Laase to which Lassor may withhold its consent. “Net Worth of Lessea” shall mean the net worth of Lessee
{axcluding any guarantors) established under generally accepted accownting principles,

id) An assignment or subletting without consent shall, at Lessor's eption, bev Default curable aftar notice per Paragrapiy 13,3(d), of a noncurable Breack
without the cecesslty of any notice and grace periad, 1f Lessor alucts ta treat such unapproved ussignment or subletting as 9 noncurable Breach, Lessar may either: (i)
terminate this Leuse, of (il} upon 30 days written notice, incropsa the monthly Base Rent to 110% of tha Base Rent then in effect. Further, inthe event of such Breach
and rental adjustment, (2) the purchase price of any aplion to purchase the Premises held by Lessee shall be subject to similar adjustment to 110% of the price
previously In effect, and (li) all Axed and non-fixed rantal adjustments scheculed during the remainder of the Lease term siail be Increased to 210% of the scheduled
adjusted rent. . .

(ec) Lassae's remedy for any braach of Paragraph 12.1 hy Lessor shail ba limited to compensatory damages and/or injunctive rellef.

{f) Lessor may reasonably withhold consent to a proposed ussignment or subletting if Lessae is In Default at the time consent is requested,

{g} Notwithstanding the foregoing, allowing a ce minimis portion of the Praniisas, ie. 20 square feet of less, to be used bya third party vendor In
connection with the installation ofa vending machina or payphone shall not constirute a subletting,

22.2 Terms and Conditions Applicable to Assignment snd Subletting. .

{a} Regardless of Lassor's consent, no assignment or subletting shall ; {I} be effective withaul the express written assumption by suet assignee or
sublessee of the obligations of Lassee under this Lease, {il) release Lessee of any obligations hereunder, or (ill) alter the primary ability of .assee fer the payment of
Rent of for the performance of aay other obliyations to be parformad by Lassee.

{h) Lessor may accept Rant or performance of Lissee's obligations from any person other than Lessee pending approval er disapproval afan assiznment.
Neither a delay tn the approval cr disapproval of such assignment nor the occeptance of Rent oF performance shall constitute a walver or estopped of Lessor's fightto
ayorcise its remedias for Lesseu's Default or Breach. .

(c)  Lessor's consent to sny assignment or subletting shall not constitute a consent to any subsequent assignment ar subletting.

(a) athe event of any Default or Oreach by Lessee, Lessor may proceed directly against Lessae, any Guarantors or anyone else responsible for the
perlarmance of Lossee's oldigations under this Lease, Including any assignee or sublessee, without first exhausting Lessor's remedies agaist any other person or
antity responsible therafor ta Lessor, or any security held by Lessor,

{e) Exch request for consent to an asslgnment of subletting shall ba in writing, accompanied by information relevant to Lessor's determination as tw the
financial and operational responsibility and appropriateness af (ne proposed assignee or sublessee, inciudinig but not limited to the Inteadad use and/or required
modification of the Pramisas, if any, together with 2 fae of $500 as consideration for Lassor's considering and progessing sald request. Lessee agrees bo provide Lessor
with such other or additional information and¥or documentation as may bn reasonably requested, (See also Paragraph 36) .

(fl Any assignee of, ac sublessea under, thig Lease shail, by reason of accepting such assignment, entering into such sublease, or Batering Into possession
of the Premises or any portion thereof, be deemed to have assumed and agiead to confarmn and comply with each and every term, covenant, condition and obligation
herein to be observed or performed by Lessee during the term of said assignment of subleass, ather than such obligations a5 are Contrary to or inconsistent with
provisions of an assignment or sublease to which Lessor has speeliically consented to in writing.

{g) Lessor's consent to any assignment of subtetting shall not transfer to the assignee or sublassee any Opticn granted to the original Lessee by this Lease
unless such transfer is specifically consented to by Lessor In welting. {See Paragraph 39.2! :

12.3 Additional Terms and Conditions Applicable to Subletting. The following terms and conditions shall apply te any sudlatting ty Leasse of all or any partof
the Premises and shall be deemed includad in all subleases under this Lease whether o¢ not exprossly incorporated therein:

(a) Lessee hereby assigns and transfers to Lessor all of Lassee’s inturnst in all Rent payable on any sublease, end Lessor may collect such Rent and apply
same toward Lessea's obligations under tis Lease; provided, howaver, that until » Breach shall occur in the performance of Lessee's obligations, Lessee may coltect
sald Rant. ia the event that the amount collected by Lessor exceads Lassae’s then outstanding obligations any such excess shall be refunded to Lessee. Lessor shal!
nat, by reason af the foregoing of aby assignment of such sublease, nor by reason af the collaction of Rent, be deemed Hable to the sublassee for any fallure of Lessee
to perform and comply with any of Lessee’s obligations to such sublessae, Losseu hereby irrevocably authorizes and directs any such sublessee, upon recaipt ofa
wiitten notice from Lessors stating thata Sreach exists in the performance cf Lessee’s obligations under this Lease, to pay to Lessor all ent due and to become dua

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under the sublease, Sublessee shall rely upon ony such notice from Lessor and shall pay afl Rants to Lessor without any obligation or right to inquire as to whether
such Breach exists, notwithstanding aay claim from Lessee to the contrary, .

(b) in the evant of a Oreach by Lessee, Lessor may, at Its cplton, require sublessee to attorn to Lessor, In which evant Lessor shail undertake the
obligations of the sublassor under such sublease from the time of the exercise of sald option to the expiration of such sublease; provided, however, Lessor shall notbe
floble for any prepaid rents or security dapasit pa'd by such sublessee to such subtesser of far any prio Defaults ar Draaches of such sudlesser.

{ce} Any matter requiring the consent of the sublessor under a sublease shall also require the consent of Lesser,

{d} No sublessee shail further assign or sublat all or any part of the Premises without Lessar's prior written consent,

{e} Lessor shall deliver a copy of any notice of Default or Breach by Lessee to the sublessee, who shill have the right to cure the Oefauit of Lessee within
the grace parlod, If any, specified in such notice, The sublessee shall have a right of reimbursement and offset from and against Lessee for any such Defaults cured by

the sublessee.

18. Default; Breach; Hamedlas.
13.1 Default; Breach, A “Default” is defined as a failure by the Logsee to comply with or pertorm sny of the terms, cavanants, conditfons or Rules and

Regulations under this Lease. A “Breach” Is defined as the occurrance of one or more of the following Defaults, and the failure of Lessee to cura such Defauk within
any applicable grace period:

{a} The abandonment of the Premises; or the vacating of the Premises without providing a commercially reasonable leval of security, or where the
coverage of the property Insurance described In Paragraph 8.3 Is Joopardized aga result thereof, or without providing reasonable assurances to minimize potential
vandalism, :

(b) The failure of Lassea to make any payment of Rent or any Security Deposit required to be mada by Lessee hereunder, whether to Lessor or to a third
party, wheit due, to provide reasonable evidence of insurance or sucety bond, or to fulfillany obligation under this Lease which endangers or threatens {Ife or
property, whare such fallure continues for a period of 3 business days fotiowing written notice to Lessee. THE ACCEPTANCE BY LESSOR OF A PARTIAL PAYMENT Of
RENT OR SECURITY DEPOSIT SHALL NOT CONSTITUTE A WAIVER OF ANY OF LESSOR'S RIGHTS, INCLUDING LESSOR'S RIGHT TO RECOVER POSSESSION OF THE

PREMISES,

(c}_ The failure of Lessee to allow Lessor and/or Its agents access to the Premises of the commlsston of waste, act or acts constituting public or private
nuisance, and/ar an [ilagal activity on the Premises by Lessee, where such actions continue for a period of 3 business days following written notice to Lessee. in the
event that Lessee commits waste, a nuisance or an iitegal activity a second time then, the Lessor may elact to treat such conduct as anon-curable Breach rather than a

Default.

{d) Tae fatlure by Lasse to provide {1} reasonable written evidence of compliance with Applicable Requirements, (Ii) the service contracta, {i} the
rescission cf an unauthorized assignment or subletting, (lv) ar Estoppei Certificate or financial statements, (vy) a requested subordlnation, (vl) evidence concerning any
guaranty and/or Guarantor, (vil) any document requested under Paragraph 41, (vlil} material safety data sheets {MSDS}, or (x) any other docurnentation or
Information which Lessor may reasonably require of Lessee under the tarms of this Lease, whert any such fallure continues fora pariod of 10 days following written
notice to Lessea.

{2} A Default by Lessee as to the terms, covanants, canditions or prov'stons of this Lease, or of the rules adopteri under Paragraph 2.9 rereof, other than
thase described fn subparagraphs 13.4(a), (b), (c) or (d), above, where such Default continues for a period of 30 days after written notice: provided, however, that F
the nature of Lessee's Defauit!s such that more than 30 days are reasonably required for its cure, than It shall not be dermad te be a Breach if Lesses commences
such cure within sald 30 day pariod and thereafter diligently prosecutes such cure to completion.

() The occurrence of any of tha following avents: fi} tha making of any general arrangement of assignment for the benefit of creditors; {Il} becoming a
“debtar® as defined In 11 U.S.C. § 101 or any successor statute thereto (uniess, in the case of a pellifon filed against Lassee, the same fs dismissed within 60 days); (tif)
the appointment of a trustee or receiver to take possession of substantially ait of Lessee’s assets located at the Premises or of Lessea's Interest In this Lease, where
possassion is nat restored to Lassaa within 30 days; of (Iv) the atachment, execution or ather judicial selzure of substantially all of Lessee’s assats focated at the
Premises or of Lessee's interest in thls Lease, where such selzure is not discharged within 30 days; provided, however, in te event that any proviston of this
subparagraph {5 contrary to any applicable law, such provislon shall be of na forca or effect, and not affect the validity of the remaining provisions.

ig) The discovery that ary Ananclal statement of Lessee or of any Guarantor given to Lessor was materially false.

th) ifthe performance of Lessee's obligations under this Lease Is guaranteed: (I) the death of a Guarantor, (il) the termination of a Guarantors Hablitty
with respect to this Lease other than In accordance with the terms of such guaranty, (ill) a Guarantar’s becoming insalvent or the subject of a bankruptcy Hilng, {iv} a
Guarantor’s refusal 10 honor the guaranty, or (v} 8 Guarantor's breach ef Its guaranty obligation an an anticipatory basis, and Lassee's failure, within 60 days following
writen notice of any such event, to provide written alternative assurance or security, which, when coupled with the then existing resources of Lessee, equals or
exceeds the combined financlai resources of Lessae and the Guarantors that existed at the time of execution of this Lease.

13.2 Remedies. if Lessee falls to perform any of Its affirmative duties or obligations, within 20 ways after written notice (or in case of an amergenty, without
naticg), Lessor may, at Its option, perform such duty or obligation on Lessae's bekalf, including but ot limited to che abtalning of reasonably required bonds,
insurance policies, or governmantal licenses, permits or approvals. Lessee shall gay to Lessor an amount equal to 115% of the casts and expanses incurred by Lessor
in such performance upon recaipt of an Involee therefor. in the event of a Mreach, Lessor may, with or without further notice or demand, and withour limiting Lessor
in the exarclse of any right or remedy which Lessor may have by reason of such Breach:

{a} Terminate Lessee's right to possessidn of tha Premises by any lawful means, bi whicl case this Lease shall terniinate and Lessee shot Immediately
surrender possession to Lessor. in such event Lessor shali be entitied to recover from Lessee! (i}tha unpald Rant which had been earned at the time of termination;
(i) the worth at the dme of award ef the amount by which the unpaid rent which would have been earned after termination unt the dme of award exceeds the
amount of such rental loss that the Lessee proves could nave been reasonably avoided; {Ili} the worth at the time of sword of the amount ay which the unpaid rent for
the balance of the term after the time of award exceads the amount of such renta! loss that the Lessee proves could be reasonably avulded; and {iv} any other amount
necessary to compensate Lassor for all the detriment proximately caused by the Lassee’s fallure to perform Its obligations under this Lease or which in the ardinary
course of things would be likely to result therefrom, including but nat IImited to the cost of recovering possession of the Pramlees, expenses of reletting, Including
necessary renovation and alteration of the Premises, reasonable attorneys’ fees, and that portion of any leasing commission paid by Lessor in connection with this
Lease applicabla te the unexpired term of this Lease, The worth at the time of award of the amount referred to (n peovision (lil} of the Immediately preceding
sentence shall be computed by discounting such amount st the discount rate cf the Federal Reserve Dank of the District within which the Premises are located at the
time of award plus one percent. Effarts by Lessor to mitigate damages caused by Lessee's Sraach of this Lease shall not walve Lessor's right to recover any damages to
which Lessor Is otherwise entitled. ¥ termination of this Lease Is obtained through the provistonal ramady of unlawful datalner, Lessor shalt have the tight to recover
In such proceeding any unpaid Rant and damagss as are recoverable therein, or Lessor may reserve the right to recover all or any part thereof in a separate suit. fa
notice and grace perfod required under Paragraph 13.1 was not previously given, anotice to pay rent or quit, or ta perform or quit gly¢nto Lessee under the unlawful
Fae statute shall also constitute the notice requirad by Paragraph 4.1, In such tase, thp applicable grace period raquired hy Paragraph 13.1 and the unlawful

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detainer statute shalt run concurrently, and the talure of Lessee to cure the Default within the greater of the twe such grace perlods shall constitute both an unlawful
detainer aud a Grech of this Lease entitling Lassor tothe remedies provider! for in this Lease and/or by sald ssatite,

{b) Continue the Lease and Lessee's right to possession ond recover the Rent as It becomes due, In which event Lessee may sublat or assign, subject only
lo reasonable limitations, Acts of malntenanca, afforts to retet, and/or the appolntmant af a recaiver to protect the Lessor's interests, shall aot constitute a
termination of the Lessee's right to passession,

{c} Pussua any other remedy now of hereafter available under the laws or judicial decisions af the state wheraln the Premises are located, The explation
er termination of this Lease and/or the termination of Lesaee’s right to possasstun shall not rellave Lessee from Hability under any Indemnity provisions of this Lease
43 to matters occurring or accruing during the term heraof or hy revson of Lessae's occupancy of the Premises,

13.3 inducamant Recapture, Any agreement for free or abated rant or ather charges, the cost of tenant improvements for tassea pald for or performed by
Lessor, or for the giving or paying by Lessor ta or for Lessee of any cash of ather bonus, indueament or consiieration for Lessea’s entering into this Lease, all of which
concasslons are hereinafter referred to as "trducament Provislons," shalt be deemed conditioned upon Lessee's full and fatthtu performance of aff af the terms,
covenants und conditions of this ease, Upon Breech of this Lease by Lessag, any such Inducement Provisicn shall automatically be daamed deleted from this Lease
and of no further force oy effect, and any rent, other charge, bonus, inducement or consideration tharetofore abated, given or pald by Lessor undar such an
Inducemant Provision shali be immediately due and payable by Lassce to Lessor, notwithstanding any subsequent cure of sald Breach by Lessee, The acceptance by
Lessor cf rent or the cure of the Breach which initiated the operation of thls paragraph shall not be deemed a walver by Lessor of the provisions of this paragraph
unless specifically ¢o stated In writing by Lessor at the tine of such acceptance.

13.4 Late Charges. Lasseo hereby acknowladges that late payment by Lessee of Rent will cause Lessor to {ncur costs nat contemplated by this Lease, the exact
amount of which will be extremely difficult to ascartaln, Such costs Include, but are not limited to, processing and accounting charges, andiate charges which may be
imposed upon Lessor hy any Lander. Accordingly, If any Rent shalt not ba racelved by Lessor within $ days after such amount shall be due, then, without any
requirement for notice to Lessce, Lessee shall immediately pay to Lessor a one-time late charga aqual to 10% of each such overdue amount of $400, whichever is
greater, The parties bereby agree that such late charge reprasants a falr and reasonable asdimate of the costs Lessor will incur by reason of such lake payment,
Aecaptance of such late charge by Lessor shali hy no event constitute a walver of Lessea’s Dafault of Breach with respect to such overdue amount, nor prevent the
exercise of any of the other rights and remedies granted hereunder, In the event that alate charge is payable heraunder, whether or net collected, for 3 consecutive
Installmants of Base Rent, then notwithstanding any provision of this Lease to the contrary, Basa Rent shall, at Lessor’s option, become due and payable quarterly In
advance,

13.5 Interest. Any monetary payment due Lessor hereunder, other than fate chargas, not received by Lessor, when due shal! bear interest fram the ‘Bast day
after it was due. The interest (“ltarest") charged shall be computed at the sate of 10% per annum but shall not excaed the maximum rate allowed by jaw. interest is
payable In addition Lo the potential late charge provided for in Paragraph 13.4,

13.6 reach ty Lessar.
(a) Notice of Breach. Lassor shall not be deemed in braach of this Lease unless Lessor falls within a reasonable time to perform an obligation required to

be performed by Lessor. For purposes of this Paragraph, a reasonable ime shall inno event be less than 30 days alter receipt by Lassor, and any Lender whose name
and address shall have bean furnished to Lessee in writing far such purpase, of written notice specifying vshersin such obligation of Lessor has not been performed:
provided, however, that f the nature of Lessor‘s obligation Is such (hat more than 30 days are reascnably required for Its perfurmance, then Lessor shail not be in
breach if performance Is commenced within surh 30 day period und thereafter diligently pursued te completion.

(b)  Parformance by Lessee on Behalf of Lessor, in the event that nelther Lassor nor Lander cures said breach within 30 days after receipt of sald notico,
orif having commenced sald cure they donot diligently pursue it t completion, then Lessee may elect ta cure said braach as Lassea’s expanse and offset from Rent
Une actual and reasonable cost to perforra such cure, provided however that such offset shall aot exceed an amount equal to the greater af one month's Base Rent or
the Security Deposit, reserving Lessee'’s right te relinbursement fram Lessor for any such expanse in excess of suchotfsev. Lessee shall document the cost of sald cure

and supply said documentation to Lassor.

14, Condemnation. if the Premises er any portion thareof are taken under the power of eminent domaln or sold under the threat of the exercise of sald power
(collectively *Condaranation’), this Laase shall terminate as to the part taken as of the date the condemning authority takes thle or possession, whichever first cecurs.
if more than 10% of the floor area of the Unit, or more than 25% of the parking spaces is taken by Condenmatin, Lessee may, at Lessee’s option, to be exercised In
veiting within 10 days after Lessor shall have given Lasser written sotice of such taking (or In the absenca of such netive, within 10 days after the condemning
authority shal! have taken possession) terminate this Lease as of the date the condamning authority takes such possession. Ii Lessee does act terminate this Lease tn
accordance with the foregoing, thls Lease shall ramain tn full force and effect as to the portion of the Premises remaining, axcept that the Sase Rent shall be reduced
in preportian to the reduction in utility of the Preraises caused by such Condermation. Condemnation awards and/or payments shall be the property of Lassor,
whether such award shall be made as compensation for diminution tn value of the leasehold, the value of the part taken, or for severance damages; provided,
however, that Lussee shall be entitled to any compensation paid by the condemnor for Lassee's relocation expenses, fass of business goodwill and/or Trade Fixtures,
without regard to whather or not this Leasels terminatad purszant to the provisions of this Paragraph. All Alterations and Utility Instalations made to the Premises
by Lessee, for purpases of Condemnation only, shall be considured the property of the Lessee and Lessee shall be entitled ta any and all compensation which Js
payatie therefor, In the evant that this Lease 1s not terminated by reason of the Condemnation, Lessor shall repair any damage to the Promises causad by such

Condemnation.

15, Srokarage feos,
15.2 Additional Commission, In addlifan to the payments owed pursvant to Paragraph 1.10 above, Lessor agrees that: (a] if Lessee exercises any Option, (b}lf

Lessee or anyone affiiiated with Lasrae acquires from Lessor any rights to the Premises or other premises owned by Lessor and focated within the Project, (c} if Lessee
remains in possession of the Premises, with the consent of Lesser, after the expiration of this Lease, or (d} if Buse Rentis Increasad, whether by agreement or
operation of an escalation clause herein, then, Lessar shall pay Brokers a fae in accordance with the fee schedule of the Brokers in effect at the time the Lease was
executed. The provisions of this paragcaph ore intended 10 supersede the provistons of sny earlier agreament to the contrary,

15.2 Assumption of Obligations. Any buyer or transferee of Lessor’s Interest in this Laase shall be deemed to have assumed Lessor's obligation hereunder,
Brokers shal ba third party baneficiaries of the provisions of Paragraphs 1.19, 15, 22 and 34. If Lessor falls to pay to Brokers any amounts due as and for brokerage
fees partaining to this Lease when due, then such amounts shall accrue Interest. In addition, tf Lessor falls to pay aay amounts to Lessee's Broker when due, Lassea's
Broker may send yiritten notice to Lessor and Lessee of such fallura ang if Lessor fails to pay such amounts within 20 days ater sald notice, Lessee shall pay said
manias to [ts Broker and offset such amounts against Nem. tn addition, Lessee's Broker shall be duermed to bea third party beneficiary of aay comalssion agreement
entered Into by and/or between Lessor and Lessor's Braker for the limited purpose of collecting any brokerage fee owed,

15.3 Representations and indumnities of Broker Relationsisips. Lessee and Lessor each represent and warrant to the ather that it hos had no deatings with any
tan broker, agent or fincer {other than the Brokers and Agents, if any) In connection with this Lease, and that no one ether than sald named Brokers and

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Agents is entitled to any commission or finder's tex'in connection Herawlth, Lessee and Lessor do each hereby ay. to Indemmify, protect, defend and hold the other
harmless from and against lability for compensation or charges which may be claimed sy any such unramad broker, finder or other similar party by reasor: of any
dealings or actions of the indemnifying Party, Including any costs, expenses, attorneys' fees reasonably incurred with respect thereto.

16. Estappel Certifkeates,
fa) Each Party (es “Responding Party”) shall within 10 days alter written notice from the other Party (the "Requesting Party") axacute, acknowledge and

dellver to the Requesting Party a statement In writing in form similar to the then most current "Estuppel Certificate” form published BY AIR CRE, plus such additional
information, confirmation and/or statements as may be reasonably requested by the Requasting Party.

{) If the Rasponding Party shalt fall to execute or dallver the Estoppel Certificate within such 10 day perind, the Requesting Party may execute an
Estoppel Certificate stating that: (I) the Lease Is In full force and affect without modiftcation except as may be represented by the Requesting Party, (li) there are no
uncurad dofauits in the Requesting Party's porformarce, and {Hl if Lessor ts the Requesting Party, not more than ane menth's rent has been pak in advance.
Prospective purchasers and encumbrancers may tely upon the Requesting Party's Estoppel Certificate, and the Responding Party shail be estopped from denying the
truth of the facts contalned in sald Certificate. In addition, Lessea acknowledges that any fellure on its pert to provide such an Estoppel Certificate will expose Lessor
to risks and potentially cause Lessor to incur costs not contemplated by this Lease, the extent of which will be extremely difficult to ascertain. Accordingly, should the
Lessee fail to axacute and/or deliver a requested Estoppel Certificate in 2 Umely fashion the monthly Qase Rent shall be automatically increased, without any
requirement for notice to Lessea, by an ammount equal to 10% of the then existing Base Rent or $100, whichavar Is greater for remainder of the Lease. Yhe Parties
agua that such increase 'n Base Rent represents fale and reasonable compensation for the additional risk/costs that Lessor will incur dy reason of Lessee's failure to
provide the Estoppel Certificate, Such Increase in Base Rect shail In no event canstitute 2 walver of Lessee’s Default or Breach with (aspect to the faliure to provide

the Estoppal Certificate nor prevent the exercise ef any of the other rights-and-remedies-granted-herewden—

(c) ! Lessar desires to finance, refinance, or se!) the Premises, or any part thereal, Lessee and all Guarentors shall within 10 days after writien notice
Trom Lassor deliver to any potential lender or purchaser designated by Lessor such financial statements as may be reasonably required by such lender or purchaser,
including but not limited to Lassae's financial statements for the past 3 years, All such financial statements shal] be received by Lessor and such lender or purchaser In

confidence and shall be used only for the purposes herein set forth.

47. Definitian of Lessor. The term “Lessor” as used herein shall mean tha owner or owners at the time in question of the fee title to the Premises, or, if thisis a
sublease, of the Lagsee's Interest In the priorlease, in the event of a transfer of Lassor’s title o7 interest in the Premises or this Lease, Lessor shail deliver to the
transferee or assignee (in cash or by credit) any unused Security Deposit held by Lesson Upon such transfer or assignment and delivery of the Security Daposit, as
aturesaid, the prior Lessgr shall be relleved of all liability with respect to the obllyetions and{or covenants under this Leasa thereafter to be performed by tha Lossar,
Subject to the foregoing, the obligations and/or covenants In this Lease to be performes by the Lessor shall be binding only upon the Lessor as hereinabove defined,

18, Severability, The invalidity of any provision of this Lease, as determined by # court of competent jurisdiction, shak In no way affect the validity of any other
provision hereof.
19, Days. Unless otherwise specifically indicated to the contrary, the word “days” as used in this Lease shall mean and refer to calendar days.

20. Limitation on Uabllity. The obligations of Lessor under this Lease shall not constitute parsonal obligations of Lessor, or its peritners, members, directurs, officers
of shareholders, and Lessee shall look to the Premises, and to no athor assets of Lessor, for the satisfaction of any tability of Lessor with respect to this Lease, and
shall not seek recourse against Lessor's partners, members, directors, officers or shareholders, of aity of thei personal assets for such satisfaction,

24, Time of Essence. Time Is of the essence with respect to the performance of all obligations to be performed or observed by the Parties under this Laase,

2A No Prior of Other Agreemonts; Broker Disclaimer, This Lease contains all agreements between the Partles with respect ta any matter mentioned herein, and no
other prior or contemporaneous agreement or understanding shall be effactive. Lessar and Lecsae each represents and warrants to the Brokers that ithas made, and
istelying sotely upon, Its own investigation as to the nature, quality, character and financial responsibility of the other Party to this Lease and as to the use, nature,
qualityand character of the Pramisas, Brokers hava no responsibility with respect thereto or with respect to any default or breach hereof by elther Party,

23. Noticss,
23.1 Notice faquirements. All notices required or permitted by this Lease or applicable jaw shall ba In welting and may be delivered in person (by hand or by

courier) or may be sent by regular, certified or registered mall or U.S. Postal Service Express Mail, with postage prepaid, or by facsimile transmission, of by emall, and
shall be deemed sufficlently glvenif served ina manner spacified in this Paragraph 24. The addresses noted adjacent to a Party's signature an this Lease shail be that
Party's address for delivery or mailing of nouces. Either Party may by written notice to the other specify a different address for notice, except that upon Lessee’s
taking possession of the Premises, tha Premises shall constitute tessae's address for notice. A copy of all notices te Lessor shalt be concurrently transmitted to such
party of parties at such addresses as Lessor may from time to time hereafter daslgnata In writing.

23.2 Date of Notices. Any notice sent by registered or cercifiad mail, return recalpt requested, shail be deemed given on the date of delivery shown on the
racelpt card, or if no delivery date Is shawn, the postmark thereon, if sent by regular mall the notice shall be deemed given 72 hours after the same 1s addressed as
required herein and mailed with postage prepaid. Notices delivered by United States Express Moll or cvernight courer that guarantees next day delivery shal! be
deamed givan 24 hours after delivery of the same to the Postal Service or courier, Notices delivared by hand, or transmittad by facsimile transmission or by email
shail be daemed cailvered upon actual receipt. If notice Is received on a Saturday, Sunday or legal holiday, ft shalf be deemed received on the next business day.

23.3 Options, Notwithstanding the foregcing, in order to exercise any Options (see paragraph 39}, the Notice mus: be sont by Certified Mail (retum receipt
requasted), Express Mali (signature required), courier {signature required} or same other methodelegy that provides a receipt establishing the date the notice was

recetved by tha Lessor,

24, Walvers.
ta} No waiver by Lessor of the Default or Breach of vny terny, covenant or condition hervof by Lasse, shall be deemed a waiver of amy other term,

covenant or condition hereof, or of any subsequent Default or Breach by Lessee of the same or of any other term, covenant or condition hereof, Lassor's consent to,
or approval of, any act shall not be deemed to render unnecessary the obtaining of Lassor’s consent to, or approval of, any subsequent ar similar act by Lessee, af be
construed as the basis of an astoppel to er force the provision of provisions of ttfs Lease requiring such consent.
th) The acceptance of Rent by Lessor shall not be a walver of any Oefault or Breach by Lessee, Any payment by Lessee may be accepted by Lessor on
account of montes or damages due Lessor, notwithstanding any qualifying statements or conditions made by Lessee in connection therewith, which such statements -
and/or conditions shall be of no force or effect whatsoever uniess specifically agreed to inlwriting by Lessor at or before the time of deposit of such payment,
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(c] THE PARTIES AGREE THAT THE TEMS OF THIS LEASE SHALL GOVERN WITH REGARD TO ALL MAFIERS RELATED THERETO AND HEREQY WAIVE THE
PROVISIONS OF ANY PRESENT OR FUTURE STATUTE TO THE EXTENT THAT SUCH STATUTE IS INCONSISTENT WITH THIS LEASE.

25. Disclosures Regarding The Nature of a Roal Estabe Ayenty Relationship.
(2) When entering Into a discussion with areal estate agent regarding a rea} astate transaction, 3 Lessor or Lessee should from the outset understand

what type of agency relationship or representation It has wlth the agant or agents In the tronsantion. Lessor and Lessee acknowledge being advised by the Brokars In
this transaction, as follows:

1)  Lessoc’sAgent. A Lossor’s agent under 2 listing agreamant with the Lessor acts as the agent for the Lessor only. A Lessor’s agent er subagent
has the following affirmative obligations: Jo the Lessor: A Aduclary duty of ulmost rare, integrity, honesty, and loyally in dealings with the Lessor. To the Lessee ang
the Lessor: (a) Diligent axercise of reasonaole skills and care in performance af the agent's duties. (b) A duty of honest and fair dealing and good fulth, (c) Aduty to
Gisciosa ail facts known to the sgent materially affecting the value or desirabitity of the property that are not known te, of within the dillgent attention ond
observation of, the Parties, Anagent lanot obligated to reveal to althar Party any confidential Information obtalned from the other Party which dees not involve the

affirmative duttes set forth avove.

(i) Lessee's Agent. An agent can agree to act as agent fir the Lessee only, In these situations, the agent!s not the Lessor’s agent, even ff by
agratment the agent may receive compensation for services rendéred, elther in full of in part trom the Lessor, An agent acting only for a Lessee has the follawing
alfrmative obligations. 7a the Lessee; A fiduclary duty of utmost care, integrity, honesty, and loyally i dealings with the Lessee. Ty tre Lessee and the Lessor: (a)
Diligent exarcise af reasonably skills and care {n performance of tha agent's duties. {b} A duty of honast and falr dealing anc good falth. (c}A duty to disctose ail facts
known to the agent materially affecting the value or dasirabliity of the property that are not known ta, or witila the diligent attention and abservation of, the Parties.

An agent isnot obligated to reveat tq alther Party any confidential infonnation obteinad from the other Party which does not involve the affinnstive dutias set forth

above.
~ HH gently th lessor ond Lessee. Areal estate agent, alther acting diractly of through ane or more associate licenses, can legally be

the agent of both the Lessor and the Lessee In a transaction, but only with the knowledge and cansent of both the Lessor and the Lessee. tn a dual agancy situation,
the agent has the following affirmative obligations to both the Lessor and the Lassea: (a) A fiduciary duty of utmost care, Integrity, honesty and loyalty in the dealings
with oither Lessor or the Lessee, {b) Other dutins to the Lessor and the Lessae as stated above In subparagraphs (I} or (il). In representing both Lesser and Lessee, the
agent may not, without the express permission of the fospective Parly, disclose to the other Party confidential (nforpsaticn, including, but not Hmited ta, facts relating
toaither Lessae’s er Lasser’s financial position, motivations, bargaining postion, or other parsonal information that niay Impact rent, inching Lessor’s willingness to
accepta rant lass than the listing rent or Lassee’s willingness to pay rent greater than the rent offered. The ahove duties of the agant ina rea! estate transaction do
not calieve a Lassor or Lessee from the responsibility tc protect thair own Interests. Lessor and Lassee should carefully read all agreements te assure that they
adequately express thelr understanding of the tansaction. A real estate agent is a parson qualified to advise about real estata. if legal of tax advice ts desired, consult
acompetent professional, Both Lessor and Lessee should strongiy consider obtaining tax advice froma compatent professional because the fadera? and slate tax
consequences of a transaction can be complex and subject to change.

(b) Breakers have no responsibtlity with respect to any dafault or breach hereof by either Party. The Partias agree that no lawsult or ather legal
proceeding Involving any breach of duty, error of omissian relating to this Laase may be Lrought aguinst Broker more than onc year after the Start Date and that the
liability (including court costs and attorneys’ fees}, of any Broker with respect to any such lawsult and/or lega! proceeding shall not exceed the fee received by such
Broker pursuant to this Lease; provided, however, that the foregoing limitatlon on each Broker's fiaoility shall not be applicable to any gross negligence or wiiful

misconduct of such Broker.
{c) Lessor and Lessee agree to identify to Brokers as "Confidential" uny coinraunication ar iiformation ghan Brokers that Is considered by such Party to

be confidential.

26, No Right To Hotdover, Lessee has no right to retain possession of the Premises or any part thersef Seyond the expiration or terminalion of this Laase. in the
event that Lassee halds over, than the Base Rent shall be increased to 150% of the Base Rent applicable Immadiately preceding the expiration or termination,
Holdover Baso flant shall be caltutated on monthly basis, Nothing contained herein shall be construed us consent by Lessor to any holding over by Lessee.

27. Cumulative Ramedies, No rernedy or election bereuntias shall be deemed exclusive but shell, wharever possible, be curnulative with all other remedies at fw or
In oquity, ~

28, Covenants and Conditions: Construction af Agreement, All provisions of this Leasa to be observed or performed by Lessee are both covenants and conditions,
In construing this Lease, all headings and titles are for the convenience of the Parties only and shall not ba considered a part of this Lease, Whenever required by the
context, the singulac shall include the plural and vice versa. This Lease shall rot be construed as if prepared by one of ihe Parties, but rather according to its fair

maaning &$ a whole, asif beth Parties had prepared It.

29. Binding Effect; Choice of law. This lease shall be binding upon the Parties, thelr personal raprasentatives, syoressors and assigns asd be governed by the laws
of the State in which the Premises ore located. Any tigation betwen the Parties hereto concerning this Laase shall ba Initiated in the countyia which the Premises
aro located, Signatures to this Lease accomplished by means of electrons signature cr similar technotogy shail be lagal und binding.

30, Subordination; Attorament; Now-Disturbance,
30.1 Subordination. ThisLease and any Option granted hereby shail be subject and subordinate to any ground lease, mortgage, deed of trust, ar other

hypothecation of security device (collectively, “Security Device"), now or hereafler placed upon the Premises, to any and ali advances made on the securky thareof,
and to afl renewals, modifications, and extensions thereof, Lessee agreas that the halders of any such Sacurity Devices (in this Lease togather referred toas “Lender”}
shall have no liability or obUgation te perform any of the obligations ef Lessor undar this Lause, Any Lender may elect to hove this Lease and/or any Option granted
hereby superior to the lien of Its Security Device by giving written notice thernof to Lessee, whereupon this Laase and such Options shall be deemed prior to such
Security Device, notwithstanding the relative dates of the documentarion or recordation thereof.

30.2 Attornment. In the avent that Lessor transfers ide to the Premises, of tha Premises are acquired by another upon the fureclcsure or termination of a
Security Device to which this Lease is subordinated (I} Lessee shall, subjact to the non-disturbance provisions of Paragraph 30.3, attorn to such new owners, and upon
request, anter inte a new lease, containing all of the terms and provisions of this Lease, with such new owner for the ramalndar of the term hereof, or, at the algction
of the naw cwner, this Lease will automatically becume a new lease between Lessee and such new owner, and (ii) Lassor shall thereafter be relieved of any further
obligations heraunder and such new owner shail ussume all of Lessor's obligations, except thot such new owner shall not: (aj be liable for any act or omission of any
prior lessor or with respect Lo events occurring prior to acquisition of avnershlp; (b) be subject to any offsets or defenses which Lessae might have agatnst any prior
iessor, (c} be bound by prepayment of mere than one month's rent, ar {d} be Hable for the return of any security deposit pald to any prior lessor which was not paid or
ce te such new owner,

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30.3 Mon-Disturbance. With respact to Security Onvices entared into by Lessor after the execution of this Lease, Lessea's subordination of this Laase shall be
subject to receiving a commercially raasonabla non-disturbance agreement (a "Non-Disturbance Agreement") (rom the Lender which, Non-O'sturbance Agreement
provides that Lessee’s passessfon of the Premises, and this Lease, including any options to extend the term hereof, will not be disturbed so long as Lessea fs not In
Breach hereof and attorns to the record owner of the Premises. Further, within 60 days after the execution of this Lease, Lessor shall, it requested by Lostaa, use Its
commercially reasonable efforts to obtain a Non-Disturbance Agreement from the holder of any pre-existing Security Device which ls secured by the Premises. In the
gvent that Lessor ls unable to provide the Non-Disturbance Agraament withic: sald 60 days, then Lessee may, at Lessee's option, directly contact Lender and attempt
to nogotiste for the execution and delivary of a Non-Disturbance Agreament.

30.4 Salf-éxocuting. The agreements contained In thls Pategraph 30 shall be effective without the execution of any further documents; provided, howavwy, that,
upon written request [rom Lesser ora Lender In connection with a sale, financing or refinancing of the Premises, Lessee and Lessor shall execute such further writings
as may be reasonably required to separately document any subordination, attorament and/or Non-Disturbance Agreement provided for herein.

31, Atborneys’ Fras. if any Party or Broker brings an acton or proceading involving the Premises whether founded In tort, contract ar equity, or 20 declare rights
hereunder, the Prevailing Party (as hereafter defined) in any such procacd’ng, action, or appeat thereon, shall be entitled to reasonable attomeys' fees. Such fees may
be awarded In the sama suit or recovered in a separate sult, whether or not such action or proceeding Is pursued to deciston or Judgment. The term, *Pravalting
Party" shall include, withcut limitation, a Party or 8rokar who substantially aiteins or defects the relief sought, as the casa may be, whether by compromise,
settlement, Judgment, or the abandonment by the other Party or Broker of its claim or defense. The attorneys’ fees award shall not be computed in accordance with
any court fee schedule, but shail be euch as to fully relmburse all attorneys' fees reasonably Incurred. in addition, Lessar shail be entitled to attorneys’ fees, costs and
expenses Incurred In the reparation and servica of naticas of Default and consuktations In connection therewith, whether or not a legal action Is subsequently
commenced in connection with such Default or resulting Breach ($200is a reasonable minimum per occurrence fer such services and consultation|.

32, Lassar’s Access; Showing Premises; Repales. Lessor and Lessor’s agents shall have the right to entar the Premises at any time, in the case af an emergency, and
otherwise at reasonable times after reasonable prior notice for the purposa of showing the same to prospective purchasers, lenders, or tenants, and making such
alterations, rapalrs, improvements or additions to the Premises as Lessor may deam necessary or desirable and the erecting, using and maintaining of utilities,
services, pipes and conduits through the Premises and/or other premises as long as thare no material adverse effect on Lessee's use of the Premises, All such

activitiss shail be without abatement of rent or liability to Lessea,

33. Auctions. Lessee shall not conduct, nor permit to be conducted, any auction upon the Premises without Lessar's prior written consent, Lessor shalt not be
obligated to exercise any standard of reasorableness In determining whether to permit anauction,

34. Signs. Lessor may place on the Pramises ordinary "For Sale” signs at any Gme and ordinary “For Lease” signs during the last 6 months of the term hereof, Excapt
for ordinary *For Suolease” signs which may be piaced only on the Premises, Lessee shall not place any sign tipon the Project without Lessor's pricr written consent,
Allsigns must comply with al! Applicadle Requirements.

35, Termination; Merger. Uniess specifically stated otherwise In writing by Lessor, the voluntary or other surrender of this Lease by Lessae, the mutual termination
or cancellation hereof, or a termination hereof by Lessor for Breach by Lessue, shall automatically terminate any sublease or lesser estate in the Premises; provided,
however, that Lessor may elect te continue any one or all existing subtenancies, Lessor’s fallire within 10 days following any such evant to elect to the contrary by
written notice to the hoidar of any such lesser interest, shall constitute Lessor’s election tc huve such event constitute the termination of such interest.

36. Consonts, Ail requests for consent shall be in writing, Excapt as otherwise provided herain, wherever in thls tease the consent of a Party Is required to an act by
of for the other Party, such consant shall not be unreasonably withheld or delayed. Lessor's actual reasonable costs and expenses (Including but not limited to
architects’, attorneys’, engineess' and other consuitants' fees) incurred in the consideration of, of response to, a requast by Lessee for eny Lessor consent, tnelucting
but not limited to consents to an assignment, d subletting or the presance cy use of 3 Hazardous Substance, shail be pald by Lessee upon fecelpt of an Invoice and
supporting documentation therefor, Lessnr’s consent to any act, assignment of subletting shall not constitute an acknowledgment that ne Delault or Breach by Lassee
of this Lease exists, nor shall such consent be deamed a walver of any then existing Delauit or Breach, except as may be otherwise specifically stated In writing by
Lessor at the tine of such consent. The failure to specify herein any pecticular condition to Lessor's consent shall nat preclude the imposition by Lesser at the timaof
consent of such further of other conditions as are then reasonable with reference to the particular matter for which consent Is being given. In the event that elther
Party disagrees with any determination made by the other hereunder and reasonably requests the reasons for such determination, the determining party shall furnists
its reasons In writing and in reasonable detall within 10 business days following such request.

37. Guarantor.
37,2 Execution. The Guarantors, If any, shall cact: execute a guaranty [nthe form most recently published By AIR CRE,

37.2 Default. it shail constitute a Default of the Lessee If any Guarantor fatis or refuses, upon request to provide: (a) evidence af the execution of the guaranty,
Including the authority of the party signing on Guarantor’s behalf to obligate Guarantor, and In the case of a corporate Guarantor, a certified copy of 3 resolution of its
board of directors authorizing the making of such guaranty, (b) current franclal statements, (¢} an Esxoppel Certificate, os (cf) weltten confirmation that the guaranty is
stlll in effect,

38, Quiet Possession, Subject to payment by Lessee of the Reat and performance of all of the cavenants, conditions and provisions on Lessee's Part to be observed
and performed under this Lease, Lessee shall have quiet possession and qulet enjoyment of the Premises curing the term hercaf.
39, Options. If Lassae ts granced any option, as defined below, then the following provisions shall apply.

39.1 Definition. “Option® shail mean: (2) the right to extend or reduce the term of of renew this Lease or to extend or raduce the termof or renew any lease

that Lassae has on other property of Lessor; {b} the right of first refusal or first offar to lease either the Prentises or othar property of Lessor; {c) the tightto purchase,

the right of first offer to purchase or the right of first refusal to purchase the Pramises or other property of Lessor.
39.2 Optlons Parsonal To Original Lessee. Any Option granted to Lessee In this Lease is personal to the original Lessee, and cannot be assigned or exercised by
anyone otha than sald orlgina! Lassee and only while the original Lessac Is In Full possession of the Premises and, If requested by Lessor, with Lessee cartfying that

Lassea has no intention of thereafter assigning of sublatting,
38.3 Multiple Options. in the event that Lessee has any multiple Options to extend or renew this Lease, a later Optian cannot be exerclsed unless the prior

Options have been validly exerclsad.

39.4 Effect of Defaulton Options.
{a} Lessou shal! have no right to exercise a Option; {l) during the period commencing with the giving of any notice of Default and continuing until sald

Fi Is cured, (if} during the pasiod of Ume any Reat Is unpaid {without regard to wherhep notice thereof Is given Lasseq)}, {ill) during the time Lessae fs in Breach of

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this Lease, or{iv} nthe event that Lessee has been glvan 3 or more notices of separate Default, whether or not the Defaults are cared, during she 12 month perlod

Immediately preceding the exercise of the Option.
(b) Tha perlod of time within which an Option may be exercised shall not be extended or enlarged by reasan of Lessee's inability to exercise an Option

because of the provisions of Paragraph 39,4(a}.
(¢) An Option shail terminate and be of na further force or effect, notwithstanding Lessea’s due and timely exercise cf the Option, if, after such exercise

_ and prior to the commencement cf the extended tarm or completion ct the purchase, (I) Lessee falls to pay Rent for 2 period of 30 days aftar such Rent becomes due
(without any necessity of Lessor to give notice therael), of (ii) if Lessee commits a Bresch of this Lease.
4). Security Measures, Lessee hereby acknowledges that the Rent payable to Lessor hereunder doas not Include the cost of guard service or other security
measures, and that Lesser shall have no obilgation whatsoever to provide same. Lessee assumes att responsthility fer the protection of the Premises, Lessee, its
agents and Invitees and their property from the acts of third porties.
Ai, Hesarvations, Lessor reserves the right! {I} to grant, without the consent of Jainder of Lessee, sich easamnents, rights and dedications that Lessor deems

necessety, {Il} to cause the recordation of parcal maps and restrictions, and (ill) to create and/or Install new utility raceways, $0 long as such easements, rights,
dedications, maps, restrictions, and utlty raceways do not unreasonably interfere with the use of the Premises byLessee, Lessee agrees to sign any documents

reasonably requested by Lassor to effectuate such rights,

42, Performance Under Protest. IFat any time » dispute shall arise as to any Smount of sum at menay to be pold by one Party to the other under the provisions
hereof, the Party against whom the obligation to pay the money Is asserted shall have the right to make payment “uncer protest” and such payment shall nct.be
regarded as a valuntary payment and there shail survive the fight on the part of said Party to Institute su't for recovery of such sum, Hit shall be adjudged that thare
was no legal obligation oni the gart af said Party to pay such sum or any par theraaf, sald Party shail be entitled to recover such sum or so much thereof as it was not
legally requirad to pay. A Party who does not Initiate suit for the recovery of sums paid “under protest" within 6 months shall be deamed to have waived its right to
protest such payment.

43. Authority; Mutdple Parties; Execution.
(a) If elther Party herate Is a corporation, trust, limited liability campany, nartnershtp, or similar entity, each individual executing this Lease on behalf of

such entity represents and warrants tat he or she is duly authorized to exacute and daliver this Lease an Its behalf. Each Party shall, within 30 days after request,

deliver to the other Party satisfactory evidence of such authority.
(b} if tiifs Lease Is executed by more than one person oF entity as “Lessee”, cach such person or entity shall be jointly and severally liable hereundes. kis
agreed that any one of the named Lessees shall be empowered to execute any amendment to this Lease, of other document ancillary therete and dind all of tne

named Lassees, and Lessor may rely on the same as if all of the narned Lesseas had executed such document.
ic) This Lease may be executed by the Parties in countarparts, each af which shai ba daemed an originat and all of which together shall constitute one

and tha same instrument,
44. Conflict. Any conflict between the printad provisions of this Lease and the typewritten or handwritten provisions shal) be controlled by the typewritten cr
handwritten provisions.
45. Offer, Preparation of this Lease by elther party or their agent and submission of same to the other Party shali not be deemed an offer to lease to the other
Party, This Lease fs not fntandec to be binding untit executed and detivered by all Parties hereto.
AG. Amendments, This Lease may be madified only in writing, signed by the Partles in Interest at the time of the modification, As tong as they do not materially
change Lassee's obligations hereunder, Lessee agraas to make such reasonable non-monetary modifications to this Lease a5 may be reasonably cequired by a Lander
In connection with-the obtaining of normal financing or cefinancing of the Premises.
41, Walver of Jury Trial, THE PARTIES HEREBY WAIVE THEIR RESPECTIVE RIGHTS TO TRIAL BY JURY INANY ACTION OR PROCEEDING INVOLVING THE PROPERTY
OP ARISING OUT OF THIS AGREEMENT.

CI is i is not

48, Arbitration of Disputes. An Adcondum requiring the Arbitration of all discutes between the Fariles and/or Brokers atising out of this Lease
attached to this Lease.
49. Accessibility; Americans with Disabliitias Act.

{a) The Premises:

iM) pave not undergone an inspection by a Certified Access Specialist (CASp}. Note: A Certified Access Specialist (CASp) can Inspect the subject premises and
cdetermine whether the subject premises comply with al! of the applicable construction-related accessibility standards under state law. Although state law does not
require a CASp inspection of the subject premises, the commerctal property owner or lessor may not prohibit the lessee pr tanant from obtaining 3 CASp inspection of
the subject premises for tha occupancy or potendal occupancy of the lessee of tanant, if requested by the lessee or tenant. The parties shall mutually agree an the
avrangemants for the time and manner of the CASp Inspection, the payment of tha fae for the CASp Inspection, and the cost of making any repairs necessary to

correct Violations of construction-related accessibility standards within the premises.

have undergone an Inspaction by a Certifed Access Specialist (CASp) and IL was determined that the Premisas met all appiicable. construction-related
accessibility standards pursuant lo California Civil Code §55,51 et seq, Lessee acknowledges thal itreceived a copy of the Inspection regort at least 48 hours prior to

exocuting this Lease and agrees to keep such report confidential,

Lu! have undergone an Inspection by a Certified Access Specialist {CASp) and It was determinad that the Premises did not meet all applicable construction-ralated
accessibility standards pursuant to California Civ'l Code §$5,51 et seq. Lessee acknowledges that it recalved a copy of the inspection report at least 48 hours prior to
executing this Lease and agrees to keep such raport confidential except as necessary Co complete repairs and rorractions of violations of construction related

accessttllity standards.
In the event that the Premises have been issued an Inspection raport by a CASp the Lassor shall provide a copy of the Usability aceass inspection certificate to Lessee
within 7 days of the execution of this Lease.

[b) Since compliance with the Americans with Disabilities Act (ADA) anc other state and local accessibility statutes are dependent upon Lassee's specific

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use af the Premises, Lessor makes no warranty of representation as to whether or not the Premises compiy wlth ADA or any similar legistation. in the event that
Lassee's use of the Premises requires modifications or additicns tc the Premises In order to be In compliance with ADA or other accessibitity statutes, Lessee agrees to

make any such nesessary modifications and/or additians at Lessee's expense.

LESSOR AND LESSEE HAVE CAREFULLY READ ANO REVIEWED THIS LEASE AND EACH TERM AND PROVISION CONTAINED HEREIW, AND BY THE EXECUTION OF THIS
LEASE SHOW THEIR INFORMED ANS VOLUNTARY CONSENT THERETO. THE PARTIES HEREBY AGREE THAT, ATTHE TIME THIS LEASE 1S EXECUTED, THE TERMS OF
THIS LEASE ARE COMMERCIALLY REASONABLE AND EFFECTUATE THE INTENT AND PURPOSE OF LESSOR AND LESSEE WITH RESPECT TO THE PREMISES.

AITENTION: NO REPRESENTATION OR RECOMMENDATION tS MADE BY AIR CRE OR BY ANY BROKER AS 70 THE LEGAL SLIFFICIENCY, LEGAL EFFECT, OR TAX
CONSEQUENCES OF THIS LEASE OR THE TRANSACTION TO WHICH {7 RELATES. THE PARTIES ARE URGED TO:

1, SEEK ADVICE OF COUNSEL AS TO THE LEGAL AND TAX CONSEQUENCES OF THIS LEASE,

2. RETAIN APPROPRIATE CONSULTANTS TO REVIEW AND (INVESTIGATE THE CONDITION OF THE PREMISES. SAIO INVESTIGATION SHOULD INCLUDE GUY NOT BE

LIMITED TO: THE POSSIBLE PRESENCE OF HAZARDOUS SUBSTANCES, THE ZONING OF THE PREMISES, THE STRUCTURAL INTEGRITY, THE CONDITION OF THE ROOF
AND OPERATING SYSTEMS, COMPLIANCE WITH THE AMERICANS WITH OISADILITIES ACT AND THE SUITABILITY OF THE PREMISES FOR LESSEE'S INTENDED USE.

WARNING: If THE PREMISES ARE LOCATED 1N A STATE OTHER THAN CALIFORNIA, CERTAIN PROVISIONS OF THE LEASE MAY NEED TO BE REVISED TO COMPLY WITH
THE LAWS OF THE STATE Ii WHICH THE PREMISES ARE LOCATED,

The pardy: on rn cute; his if Z at fay piace and on the cates specified above thelr respective signatures.
a Executed at: Shun POV EAT, Cyt

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on: yl on Vey hit Ao as
By LESSOR: By LESSEE:
JHE COLONN NEL res ‘S NICHOLAS LAWRENCE DESIGN ASSOCIATES LLC dba MODERN

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ADDIEINUM TO STANDARD LEASE

THIS ADDENDUM TO STASNHDARD LEASE ("Addendum") is attached to and made a part
of that certain printed form Standared Mease (“Lease”) dated June 13. 20022. entered into b a
between THE COLONNADE ON EL, PASEO, L.P. a California limited peartnership ("Lessor’s, and
Nicholas Lawrence Design Associates: ILC dba Modern Hacienda ("Lessee"), covering the premises
commonly known as 73- 399 £1 Pawecy Drive, Suites 101 & 102, Palm Desert, Califomia 92260
("Premises"), The promises, covenants, 2grcements and declarations made and set forth herein are
intended to, and shall, have the same Fcyrece and effect as if set Forth at length in the body of the Lease
‘To the extent that any terms or prowis#ons of this Addendum are inconsi stent with any terms or
provisions of the Lease, the terms anc provisions of this Addendum shall pxevail and control for all
purposes. All capitalized terms used in thaet Addendum shall have the meanings assigned to them in the
Lease, unless otherwise specified in tee Addendum. Notwithstanding amything to the contrary
contained in the Lease, the Lease is acldlessaled, modified, and amended as follo-ws: .

50. The parties specifically acknowledge that the Premises is Specifically leased "AS.1S
WHERE-IS". Lessee is authorized to uge@ £3 Premises provided in this Lease, Provided, however, that
Lessor makes no waranties or representations as to the condition of the Premises, the systems
servicing the Premises, or the equipment therein including wilhout limitation the doors, light fixtures
flooring and other improvements located therein, or the suitability of the Premises or the equipment
therein for the use to which Lessee may eruploy, Lessee assumes full and complete responsibility for
the inspection and repair of the Premises sand the equipment and the maintenzince thereof durinu the
Lease, Lessee shall hold Lessor free ancl taarmless from all Hability in connection with the use of the
Premises and the equipment located thereat, and shall indemnify Lessor from lability, from any and
all claims arising out of the use and occupancy of said Premises and equipment.

SH, Notwithstanding anything to the contrary, Lessee may remove atnd replace the existinp
trade fixtures in the Premises such ag thet cabinets and Mooring provided that such removal and
replacement work are performed by Heensed und insured contractor(s) and such work are permitted by
the proper focal and state povernmentas agencies, Any other work ic be done by Lessee in the
Premises shall be pre-approved in writing by Lessor. Lessor's approval shall not be unreasonably:

withheld.

52, {is understood and agreed that Lessor is granting Lessee free Base Rent and Lessee’s
Share of Common Area Operating Expenses for the period beginning July 1, 2022 and ending Cictober
31.2022.

$3. Notwithstanding anything to the contmyy, Lessor and Lessee hereby Ageee
acknowledge and understand, pursuant to and in accordance with paragraph 4.2Cd) of the Lease. until
further notice from Lessor, Lessee shall pay Two Thousand Sixty-One Dollars and Fifty Cents
($2,061.50) per month as Ihe current estimated monthly amount of Lessue's Share of Common Atea

Operating Expenses,

$4. At any tine prior to nine (9) months before the expiration of the original term of the
Lease, in the event that Lessor decides tu renovate a substantial ponion of the Premises, Lessor may
upon six (6) months’ writen notice to lessee, terminate Lessee’s Option to Extend as described in
Paragraph 57 of this Lease, Lessor shall then pay Lessee ten thousand dollars ($10,000.00) as the
Option termination fee, payable upon Lessee vacating the Premises al the end of the original term of

er

the Lease.

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55. Notwithstanding anything to the contrary, Lessor and Lessee hereby agree,
acknowledge and understand, although Lessor's measurement indicated the Premises is Two
Thousand Nine Hundred Forty-Five (2,945) square feet inside ("Lessor's Measuremeni"), the
actual size of the Premises may differ, Regardless af any such difference between Lessor’s
Measurement and the actual size of the Prensises, the parties hereby agree and stipulate to Two
Thousand Nine Hundred Forty-Five (2.945) square feet as the agreed-upon size of the Premises
for calculating the amount of Base Rent and Lessce's Share of Common Area Expenses. The
Parties also agree to use the size of Forty-One Thousand and Fifty-Seven (41,057) square feet as
the stipulated and agreed-upon size of the Shopping Center for calculating Lessee's Share of
Cammon Arca Operating Expense. The Parties firther agree thal. regardless of whether the
Premises is larger or smaller than Two Thousand Nine Hundred Forty-Five (2,945) square feet in
size. or Ihe Shopping Center is larger or smaller than Forty-One Thousand and Fifly-Seven
(41.057) square feet in size, the Base Rent, Lessee's Share of Common Area Operating Expense,
and any other charges to be paid by Lessee, based on size of the Premises and/or Shopping
Center, shall not be adjusted, or subject to adjustment, based thereon or as a result thereof,

56. Miscellaneous.

(a) The tern “Lease Year" shall mean each consecutive twelve (12) month: period
during this Term commencing on (a) the Commencement Date ifthe Commencement Date falis on the
first (ist} day of a calendar month oc (b) the first (Ist) day of the calendar month subsequent to the
Commencement Date if the Coasmencement Date does not fall on the first (1st) day of a calendar

month,

(b) Notwithstanding anything to the contrary, Lessee and Lessor eavh represent
and warrant to the other thal it has had no dealings with any person, firm, real estate broker or finder
in connection with this Lease other than the Brokers and Agents identified in Section 1,10 of the
Lease (collectively, Broker"). and that no Broker is entitled to any commission or finder's fee in
connection herewith. Lessee and Lessor do each hereby agree to indemnify, protect, defend and hold
the other harmless from and against ability for compensation or charges which may be claimed by
any Broker, finder or other similar party by reason of any dealings or actions of the indemnifying
Party, including any costs, expenses and attorneys! fees reasouably incurred with respect thereto.

(ce) Lessor shall have the unilateral right from time to time to grant such
easements, rights, restrictions, and dedications thal Lessor may deem necessary or desirable. and to
cause the recordation of Parcel Maps and instruments to establish same. Provided, however, that no
such easements or restrictions shall in any material way limit the use of the Premises by Lessee foe its
Use, Lessor shall not grant any casement or right of way that allowy any person or entity to pass
across, use or occupy the surface of the Premises during the term of this Lease, Provided, hawever,
that Lessee shall permit Lessor, and Lessor’s agents, contractors, and representatives, to enter upon the
Premises on a temporary basis and in emergency situations, to repair, paint and otherwise maintain
the building immediately adjoining the Premises, Lessee shall be reasonably compensated {or any
such temporary interference and with use of the parking positions thus utilized.

id) This Addendum supplements and amends the Lease. In the event of any
sonflict or inconsistency between the provisions of this Addendum and the provisions of the Lease,
the provisions of this Addendum shall contro) and entirely supersede and replace the conflicting or
inconsisteal provisions of the Lease. From and afler the date hereof, any references to the Lease or to
any provision contained in the Lease shall be deemed a reference to the Lease or the provision of the

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Lease as amended by this Addendum, Except as modified by this Addendum, all other provisions of
the Lease shall remain in full force and effect, Lessor and Lessee ratify and reaffirm the terms and

provisions of the Lease as modified by this Addendum.

IN WITNESS WHEREOF, the parties hereto have executed this Addendum to the Standard
industrial/Commercia] Multi-Tenant Lease - Net as of the date first set forth above.

\

LESSEE:

LESSOR:
Nicholas Lawrence Design Associates LLC

THE COLONNADE OWN EL PASEO, L.P.,
a California limited partnership

~ ODP » Leb AM?

Laura Aflalo, Nicholas Hertneck

Authorized Signatory
pnt
By: (Ce ED

Lawrence Lazzaro

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AIRCRE

RENT ADJUSTMENT(S)
STANDARD LEASE ADDENDUM

Dated: JUNE 13, 2022
By and Between
Lessor: THE COLONNADE ON EL PASEO, i.P

tessee: = NICHOLAS LAWRENCE DESIGN ASSOCIATES LLC dba MODERN HACIENDA,

Property Addrass: 73-399 EL PASEO DRIVE, SUITES 101 & 102, PALM DESERT, CA 92260
(straot address, city, stata, 2I¢)
Paragraph: 57

A. RENT ADJUSTMENTS:

The monthly rent for cach month of the adjustment perod|s) spacitiad below shall be Increased using the method{s] Indicated below:
(Chack Method{s) to be Used end Fill (n Appropriately)

CJ) 2 cost oftiving Adjustmentis) COLA)

a On (Fiilin COLA Dates}: ____ the Base Rent shail be adjusted by the ee it any, from the Base Month specified below, in the. Consumes Price
index of tha Bureau of Labor Statistics of the U.S. Department of Labor tor (select one): \.! CPL W {Urban Wage Camers and Clerical Workers) or J CPU (All Urban
Consumers}, for {Fill in Urban Area): ___, All tems (1982-1924 « 100), herein referred to a5 "CPs.

%. The monthly Base Rent payable in accordance with paragraph A.la. of this Addendum shall be calculated as fallows: the Base Rant gat forth In

paragraph 1,5 of the attached Lease, shall be multiaiied bya fraction the numerator of whith shal) be the CPi of the calandar month Z months prior ta the montis(s}
specified in paragraph A.l.a. above during whith the adjustment 1s to take effect, and the denominator of which shall be the CP) of the calendar month whieh ts 2

i
months prior to (select one): the ‘| first manth of the term of this Lease as set forthin goragraph 1.3 [“Bosa Month’) or “ (Filtin Other “Base Month"; ow.
The sum so calculated shall constitute the new monthly Base Aent hereunder, but in no event, shall any such new monthly Base Rent be less than the Base Rent
payable for the month Immediately preceding the Base Rent adjustment.

c — Inthe event the compilation and/or publication of the CPi shati be transferred te any other governmental deparsment or bureau or agency or shall ba
discontiaved, thar the Index most nearly the same as the CPI shail ba used to make such calculation, in the evant that the Parties cannot agree on such alternative
index, then the matter shall be submitted for decision to the American Arbitration Association in sccordance with the then rules of said Association and the decision
of the arbitrators shall be binding upon the parties. The cost of said Aroltration shall be pald equally by the Parties.

J I, Market Rentat Vatue Adjustment(s} [MRV)
a On [Filtin MRV Adjustment Date(s): ___. the Base Aent shall be adjusted to the "Market Rental Value’ of the property as follows:

1) Four months prior to each Market Rental Value Adjustment Oate described above, the Parties shall attempt to agree upon what thenew MRY
willbe onthe adjustmant date. If agreement cannot be reached within thirty days, then:

{a} Lessor and Lessee shall immediately appoint a mutually acceptable appraiser ar broker to establish the new MRV within the next 30 days.
Any associated costs wili ba split equally between the Parues, or
(b) Both Lessor and Lessee shall each immediately make a reasonable determination of the MRV and submit such determination, in writing, to
arbitration n accardarice with the following provisions:
ti} Within 15 days thereafter, Lessor and Lassee shall cach select an ladeperdent third party O appralser or J broker ("Consultant"
«check one) of their choice to act as an arbitrator (Nate: the parties may not select afther of the Srokers that was involved tn negotiating the Lease). The lwo
arbitrators so appointed shull immediately select a third mutually acceptable Consultant to act as 9 third arbitrator.
(1) The 3 arbitrators shall within 30 days of tha appointment of the third arbitrator reach adecision as to what the actual MAV for the
Premises is, and whether Lessor’s or Lessee's submitted MRV Is the closest thereta, The decision af 2 majority of the arbitrators shail be binging on the Parties. The
submitted MRV which ls determined to be the closest to the actual MRV shall thereafter be used by the Parties.
(i} if elther of the Parties fails to appoint an arbitrator within the spacified 15 days, the arbitrator timely appointed by ane of tham shall

reach a decision on his or her own, and sald decision shall be binding on the Parties.
(lv) The entire cost of such arbitration shail be paid by the party whosa submitted MRVIs not selected, Le, the one that ls NOT the

closest to the actual MRV,

2] Whan determining MRY, the Lessor, Lessee and Consultants shall consider the terms of comparable market transactions which shaft Include, but
no limited to, rent, rentatadjustments, abated rent, fease term and financial condition of tenants.

3) Notwithstanding the foregoing, the new Base Rent shall nat be fess than the rent payabte for the ntonth Immediately preceding the rant

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adjustment.
6. Upon the establishment of each New Market Aentat Value:

2) the new MAY willbecome the new “Base Rent" for the purpose of calculating any furthar Adjustrnents, and
2} the first monch cf each Market Rental Value term shall bacome the new "Base Month’ for the purpose of calculating any further Adjustments.

i iL Fined Rented Adjustmtent(s) (FRA)

The Base Rent shall be Increased to the following amounts on the dates set forth below: .
On {Fill InFRA Adjustment Date{s}}: The Naw Base Rent shall be:
NOVEMBER 1, 2023 $8,341.71
NOVEMBER 1, 2024. $8,591.96
. NOVEMBER 1, 2025 38,849.72
NOVEMBER 1, 2026 29,215.21

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contracts

OPTION(S) TO EXTEND TERM
STANDARD LEASE ADDENDUM

Dated: JUNE 33,2022.
By and Between
Lessor; THE COLONNADE ON EL PASEO, LP
Lessee: NICHOLAS LAWRENCE DESIGN ASSOCIATES LLC dba MODERN HACIENDA.
Property Address: 73-399 EL PASE ORIVE, SUITES 101 & 102, PALM DESERT, CA 92260
{street address, city, state, zip)

Paragraph: 58 OPTION(S) TO EXTEND TERM. Subject to the terms, conditions and provisions of Paragraph 39, Lessor grants Lessea ONE option(s) to extend
the.term of the Lease ("Extension Option{s}"), with each Extension Option being fora terit of £0 months, commencing when the prior tenn oxplres (“Option

‘Term(s}"]. In crder to exercise an Extension Option, Lassee must give written notice of such slection te Lasser and Lessor must receive such natice at feast 6 but
netimora than 9 months prior to the date that the appliisable Option Term would commence, time belng of the essenca. if timely and proper notification of the

exarcise of an Extension Option Is not given by Lessee and/or received by lessor, such Extension Option shall automatically expire. Except as specifically modified, the
barns, conditions and provisions of the Lease shail apply during Option Terms but the amount of Rent during Option Terms shall be established by using the method{s}

selected below (check methad{s) te be used and fill a opproprintely):

wi 1, Cansumer Price index.
ta) During the Option Term(s) which start(s) on NOVEMBER 2, 2027 , the monthly Base Rent shall be Increased on NOVEMBER 1, 2028 ana every

2... months thereafter during such Option Terms} ("Optton Term CPI increase Date(s) “) commensurate with the Increase fn the Option Term CPI {as herein defined)

determined as follows: the monthly Base Rent scheduled forthe month Immediately preceding the first occurring Option Term CPI ticrease Date shall be multiptied
bya fraction the danominator of which ts the Option Term Sase CPI (as herein defined), and the numerator of which Is the Option Term Comparison CPi {as herein
defined}. The amount so calculated shall constitute tha new Base Rent until the next Option Term CPI Increase Date during the applicable Option Term, but kino
event shall any such new Base Rent be tess than the Base Rentfor the manth Immediately preceding the applicable Option Term CPI Increase Date.

{b} The term “Option Yerm CPi” shall mean the Consumer Price Index of the Bureau of Labor Statisties of the U.S, Departrnent of Labor for (select one): D

~ CPLW {Urban Wage Earners and Clerical Workers) or A CP] U{AN Urban Consumers), for (fillin Urban Area): or the srea in which the Premises [5 tocated,

ae

” All terns (1982-1984 = 100), The term "Option Term Comparison CPI" shall mean the CPI of the calendar month which is 2 full months prior to the epplicable Option

Term CPI Increase Date. The term "Option Tarm Base CPt" shall mean the CPi of the calancar month which Is 2 full months prior ta (select ane}: Commencement

Date of the Original Term, (Mf stant of the applicable Option Term, ov bd (fi! in month).

{co} if compilation and/or publication of the CPt Is transferred to another governmental department, bureau or agency or is discontinued, than tastead the
index mast nearly the sume as the CPI shall be used to calculate the Base Rent increases hereunder. Ifthe Parties cannot agree on such alternative index, then the
matter shafl be submitted for decision to the American Arbitration Associatior In accordance wits the then rulds of said assaciation and the declsion of the arbitrators
shall be binding upon the parties, with the cost of such arbitration being pald equally by the Partias.

(u) Notwithstanding ihe foreguing, the focrease In Base: Rent studl not be less than three percent (3%) and nol mare than six percent (6%) per
aanum of the preceding month's Base Rent.

(5 it. Fixed Percantage. During the Option Term{s} which start(s}on ____, tha menthly Base Rent shall be increased on maw, 2d every months thereafter
during such Option Term(s) ("Option Term Percentage Incsease Oate(s)") by percent{ __ %] of the monthly fase Rant scheduled to be paid for the month
immediately preceding the applicable Option Term Percentage Increase Date.

Vv al, Falr Markat Vakie,

(a) During the Option Term(s) which start(s) on NOVEMBER 2, 2027. tha amount of Rent shall be the amount forecasted to ke the falr market rental
value of the Premises dhiring such Option Term established pursuant to the procedures, terms, assumptions and conditions set forth herein !"Fulz Market Value");
provided, however, ragardluss of such Fair Market Value, Base Rent during an Option Term shall not be less than the Base Rent scheduled as of when the prior term

|] expires plus tour percent (496). Starting as of Lessee's exercise of the applicable Extension Option (out not earlter than six (6) months belore start of the applicable

Option Term), the Parties shall for thirty (30) days ("Negotiation Perlod*) attempt to agree ugen the Falr Market Value, If during the Negottation Period the Parties do
not agree on the Fair Market Va.ue, then the Falr Market Value shall be established pursuant to the precedures set [orth herein, which shall be binding,

(b} Gach Party shall, wthin Nfteen (15) days after the end of the Negotiation Parlod, In writing submit to the other Party such Party's determination af the Fair
Market Value ("Submitted Value(s)"), [fa Party falls to timaly provide a Submitted Value, then the other Party's Suomitted Value shall be the Fair Market Value, if
both Parties timaty provide Suomitead Values, then each Party shall, within fifteen (25) days after both Parties have exchanged Submitted Values, in writing notify the
other Party of such Party's selected arbitrator who shall meer the qualifications sat forth harala ("Advocate Arbitrator{s}"}. Lessor and Lessee may select an Advocate
Arbitrator who Is favorabie to such Party's position and may, prior to or after appointment of an Advocate Arbitrator, consuit with such Party's Advacate Arbitrator. if
a Party falts bo timely and properly provide notice of such Parly's chosen Advocate Arbitrator, then the othar Party's Submitted Value shall be the Fair Market Value,

f both Parties timely and properly designate Advocate Arbitrators, than such Advocate Arbitrators shall, within fifteen (15] days alter thelr selaction,

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choose a third (3rd) neutral arbitrator who shall meet the qualifications set forth hareln ("Neutral Arbltvator"}, The Neutral Arbltster shall be engaged jointly by
Lesser and Lessee. if Advocate Arbitrators fall to agree upon and timely appoint a Neutra! Arbitrator, then the President of AIR CRE shall appoint such Neutral
Arbitroter within fifteen (15) days after request by elther Party. ifthe President of AIR CRE does nat timely appoint the Neutral Arbitrator, then either Party may file
an appropriate fegal action for a judge with competent Jurisdictian over the Parties to appoint the Neutral Arbitrator,

{d) The Advocate Arbitrators and the Neutral Arbitrator ("Arblerator{s)"} shail be duty licensed real estate brokers or snlesparsons In good Standing in the state
in which the Premises ff jocated, shall have been active over the five (5} yanr perlod before thalr appointment in the leasing of properties similar to the Premises
within the general real estate market of the Premises. The Neutral Arbitrator shall oddisfonaliy nat be related to or affillated with alther Party or Advacate Arbitratos,
and shall nothava previously regresented in 3 real estate transaction a Party ar anyone relnted to or affiliated with a Party, All matters to be determined by the
Arbitrators shall be decided by a majority vote of the Arbitrators, with each Arbitrator having one (1) vote. The Arbitratoss may, 25 the Arbitrators determine, hold
hearings and require briefs, Including market data and additional Information.

te} Within thirty (36) days after selection of the Neutral Arbitrator, the three Arbitrators shail first ranch a deciston as to thelr own Independent opinion of the
Fait Market Value estabilshed by taking Into account the terms, assumptions and conditions set forth herein ("Arbitrators Market Value"), then decide which Party's
Submitted Value ts closer In monetary amount to the Arbitrators’ Market Value ("Solectrd Market Value"), then provide the Partles a copy of the Arbitrators’ Market
Value and finally notify the Parties of the Selected Market Value. The Selected Market Value shall ba the Fair Market Value. The Arbitrators shal have no right to
decide a Selected Markel Value which Is a compromise to (or modification of} the Submitted Values. The decision of the Arbitrators shall be binding upon the Partirs,
The Party whose Submittad Value is aot the Selected Market Value shail, within ten (10) days aftes the Arbitrators decide the Selectad Market Value, pay the fees and
costs of atl three {3} Arbitrators. :

(f} tthe Pair Market Value has not been established before the start of the applicable Option Term, then Lessee shall continue to pay te tassor rent In the
amount payable for the month immadiataly preceding the start of such Option Term and Lessor’s acceptance of such rent shall not watve, adversely affect or prejudice
the Parties’ right ta complate astablishment of the Foir Market Vatue or Lessor’s right to collect the fult amount of the Fair Market Value once the Falr Market Value ts
established, Lessee shall, within ten (40) days after estublishinent of the Fair Markat Value, pay to Lessor any deficlency in rent then due fae the Option Term.
Following establishment of Fair Market Value, the Parties shall, within ten (10) days after request by elther Party, sign an amendment to this Lease to confirm the Fair
Market Value and tha axpiration date of this Lease, but the Parties’ failure to request or to sien such an amendmuant shall not affect astablishment of the Fatr Market
Value or extension of the lease term, :

ie} The Arbkrotors, in deciding the Arbitrators’ Market Value, shall take into account rant rates, rent abatements, periodic rant increases, real property taxes,
Insurance premiums and other operating expanses, tenant Improvement and other applicable allowances, building services, length of lease term and uther factors
professional rea) estate brokers and/or appratsers customarlly consider In determining tal market rant of praparty in an arm's length transaction by ready, willing and
able parttes for space of comparable location, size, age, condition, quality, parking, visibility, view, eynage and accessibility If the Premises were marketed Ina normal
and customary manner for a ressorable length of dine on the open market to be leased toa tenant with financia! strength and credit worthiness comparable to
Lessee and guarantors (if ary) of this Lease {us of Lessee's exercise of the Extension Option} for aterns comparaglato the length of the appficable Option Term and
used for ths Agreed Use (or othar reasonably comparable uses), The Arbitrators, Ia deciding the Arbitrators’ Market Value, shall not considur as a comparable
transaction any of the Iollowing: a subleuse, lease assignrnent, lease renewal or extension; tase with a tenant that has equity, Is related to or affillated with the
tandlord; or alease of space that was subject toa right of first refusal, right of first olfas, expansin option or otherencumbrances. The Arbitrators, in deciding the
Atbitvazars’ Market Yalue, shail, reduce the Fulr Market Vatue on account of Altarutions and improvements made by Lesage to the extent the cost theraof was paid
solely by Lossee (in excess of any applicable improvemant allowanea, abated rentln fley of improvemant ailowanca or other consideration provided by Lesser for
Lessee’s Improvernent of the Premises), shall nat reduce the Fale Murket Value on a¢count of any real estate brokerage commission aavings by Lestor, and shall not
reduce the Fair Market Value on account of deferred maintenance of rapair of the Premisus for which Lessee was cuspansidle under the Lease but did not periorm,

CI (vy, Fixed Rental Adjustrnent(s) {"F RA").
The monthly Base Rent shail be Increased to the following arnaunts on the datas set forth below!
On (fill In FRA Adjustsnent Date(s)}: The naw Base Rent shall be:

sinners

Pett td dal

C Vv. Continuation of Original Temm Adjustments. .
The monthly Base Rant during the Option Term(s) which start{s) on ____ shall be Increased ins accondance With the same formula provided in the Lease to be used to

calculate Increases inthe Base Rant during the Original Term of the Lease,
BROKERS £5E-So.eachodpcimuntlo.0ase Renttpacifiadahovs,theSokars shall bapa 2 iuoketagshu.in-accotance with. pa qutanh1$ol the Leagan s.

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contracts
GUARANTY OF LEASE

WHEREAS, THE COLONNADE ON EL PASEO, LP. herelnatter “Lasser, and NICHOLAS LAWRENCE DESIGN ASSOCIATES LLC dba.
MODERN HACIENDA, , hereinafter "Lessee", are about to execute 4 document entitied ‘Leasa” dated JUNE 13, 2022. concerning the premises commonly
known as (streat address, city, state, zip) 73-399 EL PASEO DRIVE, SUITES 101 & 102, PALM DESERT, CA 92260 wherein Lassor willl lease the

premises to Lessee, and
WHEREAS, NICHOLAS HERTNECK ANO LAWRENCE LAZZARO hereinafter "Guarantors* have a Financial Interest in Lessee, and
WHEREAS, Lessor would not exceute the Lease if Guarantors did not execute and deliver ta Lessor this Guaranty of Leasa.

NOW THEREFORE, in consideration of the exacution of said Lease by Lessor and as a material inducement to Lessor to execute sald Lease, Guarantors hareby
jointly, severally, unconditionally and irrevocably guarantae the prompt payment by Lessee pf all rents and all other sums payable by Lessee under sakl Lease and the
faithful and prompt performance by Lessee of each and every one of the terms, conditions and covenants of said Lease to be kapt and performad by Lessee.

his specifically agreed by Lessor and Guarantors that: {I} tha terms of the foreguing Lease may be modifted by agreement between Lessor and Lassee, ar bya
course of conduct, and (ii) sald Lease may be assigned by Lessor or any assignee of Lessor without the consent of ar notice to Guarantors ond that this Guaranty shal!
guarantaa the performance of sold Lease aa $0 modified.

This Guaranty shail net be released, modified or affected by the fallura or de'ay on the part of Lessor to enforce any of the rights or remedies of the Lessor under
Said Lease.

No notice of default by Lessee undar the Lease need be given by Lessor to Guarantors, it being specifically egraed that the guarantee of tho undersigned Isa
continuing guarantee under which Lessor may proceed immeciately against Lessee and/or agains: Guarantors following any breach or default by Lessee or for the
enforcement of any rights which Lessor may have a5 agalnst Lessee under the terms of the Lease or at Jaw or In equity,

Lassa shall have the right to proceed against Guarantors following any breach or default by Lessee under the Laasa without first proceeding against Lessee and
whhout previous actice to or demand upon elther Lessee or Guarantors.

Guarantors hereby waive (a) notice of acceptance of this Guaranty. (b) damand of payment, presentaticn and protest, {c) all right to assert or plead any stature
of imitations relating to thls Guaranty or the Lease, (d} any right to requira the Lessor to proceed agalnst the Lessee or any other Guarantor or any other person or
entity Ilable to Lessor, (e) any right to require Lesser to apply to any default ony security deposit or other security R may hold under the Lease, (fF) any right to require
Lessor to procaed under any other remady Lessor may have before proceeding against Guarantors, (g} any right of subragatian that Guarantors may have against

Lessee.

Guarantors do hereby subordinate all existing o¢ future Indebtednass of Lessee to Guarantors to the obligations owed to Lassor under tha Lease and this
Guaranty.

Na Guarantor is marrled, such Guarantos expresdy agraes that recourse may ba had against his or her separate property for all of the obligations hereunder.

The obligations of Lessee under the Lease to exacute and deliver estoppel statements and financial statements, as theréln provided, shali ba deemed to also
require the Guarantors to provide astappel statements and financial statements to Lessor. The fallure of the Guarantors to provide the same to Lessor shall constitute
a default under the Lease.

Tha term “Lessor” refers to and means the Lessor named in the Lease and alse Lessor's successors and assigns. So long as Lessor’s interest in the Lease, the
leased premises or the rents, issues and profits therefrom, are sublect to any mortgage or dead of trust or assignment for sdcurity no acquisition Sy Guarantors of the
Lessor's Interest shall affect the continuing obligation of Guarantors undar this Guaranty which shail nevertheless continue {n full force and effect for the benefit of the
mortgagee, beneficiary, trustee or assignee under such mortgage, deed of trust or assignment ond thelr successors and assigns.

The term "Lessec" refers ta and means the Lessee named in the Lease and also Lasseaa’s successars and assigns.

Any recovery by Lessor from any other guarantor or insurer shall first ba credited to the portion of Lessee’s Indebtedness to Lassor which exceeds the madmum
liability of Guarantors under this Guaranty.

No provision of this Guaranty or right of the Lessor can be walved, nor can the Guarantors be released from their obligations except in waiting signed by the
Lessor.

Any Iltigation concerning this Guaranty shat! be Initiated In a state court af compatent jurisdiction in the countyin which the leased premises are Jocated and the
Guarantors consent to the jurisdiction of such court. This Gearanty shall be governed by the laws of the State la which the ieased premises are located and for the
purposes of any rules regarding conflicts of law the parties shall be treated as if they were all residents o¢ domiciles of such State.

inthe avant any action be brought by sald Lessor aginst Guarantors hereunder ta enforce the obligation of Guarantors hereunder, the unsuccessful partyin
such action shal) pay to the prevailing party therein 2 reasonable attorney's faa. The attorney's fee award shall notbe computed In accordance with any court fee
schedule, but shallbu such as to full relmburse al! attorneys’ fees reasonably Incurred,

Hany Guarantor Is a corporation, partonershig, or fimited lability campany, each Individual exacuting thls Guaranty on sald entity's behalf reprosents and
warrants that he or she ls duly authorized to execute this Guaranty on behalf of such entity. Signatures to this Guaranty ecoompiishad by means of electronic
signature or similar technology shall be legal and binding, 2

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itthis Form has bean fillad in, thas been prepared for submission to your attorne
¥ for his approval, No represantatton or recommendation is made b
the real estate broker of its agents or employees as to the legal sufficlency, legal affect, or tax consequences of this Fon or the transaction rotating heate

GUARANTORS Executed At: Pim pesnen, 2

NICHOLAS HERTNECK AND LAWRENCE LAZZARO. on: By 21 Lo 24

By: OVMAH By: a

Name Printed: NICHOLAS HERTNECK Name Printed: LAWRENCE LAZZARO

Tle:  {MERIRE oF 1 2, Tie: Member af LLC

Address: Wp MUERINGRS Lyi, Addves: G1 INVELMESS DA. CAneie MINACE C4
FAIBE MIR ge CH P22 9-0 FRA Fo

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Exhibit“  ”

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NOTICE TO PAY RENT OR QUIT

TO: NICHOLAS LAWRENCE DESIGN ASSOCIATES, LLC DBA
MODERN HACTENDA

AND ALL OTHERS IN POSSESSION

YOU ARE HEREBY NOTIFIED that pursuant to the lease or
rental agreement under which you now hold possession of the
hereinafter described premises there is now due, unpaid, and
delinguent rent in the total sum of TWENTY TEOUSAND EIGHT
HUNDRED SIX DOLLARS AND 42/100 ($20,806.42) in rents due and
owing for the peziod delineated as follows:

July 1, 2024 rent $ 8,341.71
July, 2024 CAM § 2,061.50
August 1, 2024. rent $§ 8,341.71
August 1, 2024 CAM $ 2,061.50

YOU ARE FURTHER NOTIFIED that within THREE (3) BUSINESS
days after service of this Notice on you, you must pay the
amount of said rent in full or quit said premises and deliver
up possession of same to the undersigned or THE COLONNADE ON
iL PASEO, LP who is authorized to receive possession of same
or the Lessor will institute legal proceedings for unlawful
detainer against you to recover possession of said premises, to
declare said lease or rental agreement forfeited, to recover
rent and damages, and attorney’s fees.

YOU ARE FURTHER NOTIFIED THAT by this Notice, the Lessor
elects to and does hereby declare a forfeiture of said lease
or rental agreement if said rent is not paid in full within
said THREE (3) BUSINESS days.

The premises herein referred to are situated in the City
of Palm Desert, County of Riverside, State of California,
designated by the number and street as 73-392 El Paseo Drive,
#101 and 102.

Dated this 13th day of August, 2024.

LAW OFFICES OF FRED M. SZKOLNIK
a law corporation

16311 Ventura Blvd., #1060

Encino, CA 91436

(818) 986-3888 By: Laura Aflalo, manager
THE COLONNADE ON EL PASEO, LP
Case 6:24-bk-15042-WJ Doc4 Filed 09/05/24 Entered 09/05/24 12:51:44 Desc
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ALL PAYMENTS MAY BE DIRECTED TO THE COLONNADE ON EL PASEO, LP
IN CARE OF LAURA AFLALO, 421 SOUTH BEVERLY DRIVE, #500, BEVERLY
HILLS, CA 90212, (310)203-0101. SHOULD YOU WISH TO DELIVER THE
SUMS IN PERSON, YOU MAY DO SO MONDAY-FRIDAY, 9:00 AM - 5:00 PM,
PAYMENT MUST BE RECEIVED WITHIN THE NOTICE PERIOD,

The amount demanded herein is a good faith reasonable estimate of the
total sums due pursuant to California Code of Civil Procedure Section 1161.1.

Pursuant to paragraph 4.1 of the lease, all sums due are deemed to be
additional rent.

This notice does act demand payments that may have come due prior ¢o
April 1, 2023; however, any amounts you may owe prior to April i, 2023,
are not waived and Landlord reserves the right to pursue those amounts in
a separate action.

Acceptance of any partial payments made te landlord does not
constitute a waiver of any rights landlord may have, including but not
limited to, the right to recover possession of the subject premises pursuant
to CCP §1161.1.

oC: nichclas@nicholaslawrencdesign.com
lawrence@nicholaslawrencecesion.ccm

Case 6:24-bk-15042-WJ Doc4 Filed 09/05/24 Entered 09/05/24 12:51:44 Desc
Main Document Page 43 of 53

POS-O50/EFS.05

ATTORNEY OR PARTY WITHOUT ATTORNEY STATE BAR NO:

Nave: FRED M. SZKOLNIK, ESQ POR COURSE ONY
FIRM NAME: FRED M. SZKOLNIK, ESQ. geen?

STREET ADDRESS: 16311 VENTURA BLVD. #1060 7

city: ENCINO STATE: CA ZIP Cope: 91436

TELEPHONE NO.: (818) 986-3888 FAXNO:

E-MAIL ADDRESS: lusi@fredszkolniklaw.com
ATTORNEY FOR (Name): Plaintiff; COLONNADE

N/A
STREET AODRESS: .
MAILING ADDRESS:
CITY AND ZIP CODE: ., CA CASE NUMBER
BRANCH NAME: :
Piaintiff/Petitioner; THE COLONNADE ON EL PASEO. LP

Defandant/Respondent: NICHOLAS LAWRENCE DESIGN

SUDICIAI. OFFICER:

DEPARTMENT:

PROOF OF ELECTRONIC SERVICE

1. | am at least 18 years old.

a. My residence or business address is:
1301 W Second Street, Suite 204
Los Angeles, CA 90026

b. My electronic service address is:

2. | electronically served the following documents:
NOTICE TO PAY RENT OR QUIT

[The documents served are listed in an attachment (Form POS-050(D) may be used for this purpose.)

3. | electronically served the documents fisted in 2 as follows:
a. Name of the person served: NICHOLASG@NIGHOLASLAWRENCEDESIGN.COM
On behalf of (name or names of parties represented, if person served is an attomey):

b. Electronic service address of the person served:

c. On: 8/13/2024

d. At: 4:12 PM
[1 The documents listed in item 2 were served electronically on the persons and in the manner described in an attachment(Form
POS-050(PVEFS-050(P) may be used for this purpose.)

Date: August 14, 2024

| declare under penalty of perjury that under the laws of State of California that the foregoing is true and correct.

A, YOST >

(TYPE OR PRINT NAME OF DECLARANT) (SIGNATURE OF UECLARANT)

Page 1 oft

Gal. Rules of Coun, rule 2.251
ww. coulls.ca.gov

Form Approved For Optional Use PROOF OF ELECTRONIC SERVICE

“ucla! Counc! of Colfoenis (Proof of Service/Electronic Filing and Service)
PO8-05D [Rev January 1, 2015]
Case 6:24-bk-15042-WJ Doc4 Filed 09/05/24 Entered 09/05/24 12:51:44 Desc
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Exhibit “ 8 ”

Case 6:24-bk-15042-WJ Doc4 Filed 09/05/24 Entered 09/05/24 12:51:44 Desc
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Electronically Fi by Superior Court of California, County of RWerside 0. 2372024 03:42 PM
Case Number UDPS2406865 0000102074363 - Jason B. Galkin, Executive OfficarClerk af the Cour: By Victoria Lopez, Clerk

UD-100

ATTORNEY OR PARTY WITHOUT ATTORNEY STATE BARNUMHER: 94612
Name: FRED M, SZAOLNIK

FRM NAME: LAW OFFICES OF FRED M, SZKOLNIK, ALC -

STREET ADERESS: 16314 VENTURA BLVD. #1060

cir: ENCINO State: CAs ZIP. cObe. 91436
TELEPHONE NO: 818-986-3888 FAX NO.:

EMAIL ADDRESS:

ATTORNEY FOR {nan THE COLONNADE ON EL PASEO, LP

SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
STREET ADDRESS: 3265 E. TAHQUITZ CANYON WAY

MAILING ADDRESS:

Cry AND ZIP CODE: PALM SPRINGS, CA 92662

BRANCH NAME: PALM SPRINGS SUPERIOR COURT

PLAINTIFF: THE COLONNADE ON EL PASEO, LP
DEFENDANT: NICHOLAS LAWRENCE DESIGN ASSOCIATES, LLC DBA MODERN
[J DOES 1 To 10 HACLENDA, AND

COMPLAINT—UNLAWFUL DETAINER* GASE NUMBER:
[7] COMPLAINT [_"] AMENDED COMPLAINT (Amendment Number): LIDPS2400956

FOR COURT USE ONLY

Juriadiction (check all that apply):

[_] ACTION IS A LIMITED CIVIL CASE (amount demanded does not exceed $35,000)

Amount demanded [] does not oxceod $10,000

[] exceeds $10,000

(] ACTION IS AN UNLIMITED CIVIL CASE (amount demanded exceeds $35,000)

[] ACTION IS RECLASSIFIED by this amended complaint or cross-complaint (check all that apply):
[7] from unlawful detalner to general untimited civil (possession not In Issue). [— ] from timited to unlimited,
[__] trom unlawful detainer to general Ilmited clvil (possossion not In Issue). [__] frorn untimited to limitad.

1. PLAINTIFF (name each):
THE COLONNADE ON EL PASEO, LP

alleges causes of action against DEFENDANT (name each): -
NICHOLAS LAWRENCE DESIGN ASSOCIATES, LLC DBA MODERN HACIENDA

2. a, Plalntiffls (1) [—] an Individual over the age of 18 years. (4) (X] a partnership.
(2} ((_] a public agency. (5) [_] a corporation,
{3) [[_] other {specify}:
b. [7] Plaintiff has complied with the fictitious business name laws and is doing business under the fictitious name of (specify):

3. 8. The venue is the court named above because defendant named above !s in possession of the premises located at {sireet
address, apt. no., city, zip code, and counly):
73-399 El. PASEO DRIVE #4101 AND 102, PALM DESERT, CA 92260

b. The premises in 3a are (check ons)

(1) within the city limits of (name of city): PALM DESERT
(2) [[_] within the unincorporated area of (name of county):

¢. The premises In 3a were constructed In (approximate year): 1972

4, Plaintiff's interest In the premises is [3] as owner [_] other (specify):
The true names and capacities of defendants sued as Does are unknown to plaintiff.

“NOTE: Do not use this form for avictions after sale (Code Civ. Proc., § 1164 a).

Pago 4 of 4
Form Approved fr Onondl Use COMPLAINT—UNLAWFUL DETAINER Cade ot Givl Premaure, $6 220 ge

UD-100 [Kov. January 1, 2024} wen Courts. ca. gov
Case 6:24-bk-15042-WJ Doc4 _ Filed 09/05/24 Entered 09/05/24 12:51:44 Desc

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UD-100
PLAINTIFF. THE COLONNADE ON EL PASEO, LP CASE NUMBER: '
DEFENDANT: NICHOLAS LAWRENCE DESIGN ASSOCIATES, LLC DBA MODERN LIDPS2400956
6, a. Onor about (date): 6/13/2022

defendant (name each):
NICHOLAS LAWRENCE DESIGN ASSOCIATES, LLC DBA MODERN HACIENDA

{1} agreed to rent the premises as a [__] month-to-month tenancy [%x_] other tenancy (specify): LEASE
(2) agreed to payrentof $ 8,098.75 payable [X"] monthly [—_] other (specify frequency):
(3) agrood to pay rentonthe [[X_] first ofthe month [7_] other day (specify):

This [X] written [7] oral agreement was made with

(4) [3€] plalntif, (3) (] plalntiff's pradecessor in Interest.

(2) [__) plaintiffs agent. (4) [7] Other (specify):

{__] The defendants not named in Item 6a are

(1) (_] subtenants.

(2) (_] assignees.
(3) [C7] Other (seecify):

The agreement was later changed as follows (specity:
WAS INCREASED TO $8,341.71 PER MONTH AND COMMON AREA CHARGES OF $2,061.50 PER MONTH.

[2] A copy of the writtan agreement, Including any addenda or aitachments that form the basis of this complalnt, Is attached
and labeled Exhibit 1. (Required for residential property, uniéss tem 6f Is checked. See Code Cly, Proc., § 1166.)

[__] (For residential property) A copy of the written agreement Is not attached because (specify reason):
(1) [22] the writien agreement Is not in the possession of the landlord or the landlord's employees or agonts.
(2) [_] this action is solely for nonpayment of rent (Code Civ. Proc., § 1161(2)).

7. The tenancy described in 6 (complete <a) or (b))

a.

[7X] 's not sudject to the Tenant Protectlon Act of 2019 (Civil Code, § 1946.2). The specific subpart supporting why tenancy
fs exampt ls (specifyj: COMMERCIAL PROPERTY.

b. [_] is subject to the Tenant Protection Act of 2019.
8. (Complete only if item 7b Is checked, Check alf applicable boxes.)

a.
d.

G.

9% a.

(J The tenancy was terminated for at-fault just cause (Civil Code, § 1846,2(bX1)).
((] The tenancy was terminated for ro-fault just cause (Civil Code, § 1946.2(b)(2)) and the plainilif (check one)

{1} [7] waivec the payment of rent for the final month of the tenancy, before the rent came due, under
secilor 1946.2(d)(2), In the amount of $ .

(2) [_] provided a direct payment of one month's rent under section 1946.2(d)(3), equaling $
to (name each defendant and amount given to each):

["] Because dofendant failed to vacate, plaintiff |s seeking te recover the total amount in 8b as damages In this action.

_ [7X] Defendant (name each): NICHOLAS LAWRENCE DESIGN ASSOCIATES, LLC DBA MODERN HACIENDA

was served the following notice on the same date and in the same manner:

(i) [GZ] 3-day notice to pay rentor quit (5) [—_] 3-day notice to perform covenants ar quit

(2) ((] 30-day notice to quit (not applicable ff tem 7b checked)

(6) [[] 3-day notice to quit under Civil Code, §.1946.2(c)

(3) [7] 60-day notice to quit Prior required notice to perform covenants served (date):

(4) [2] 3-day notice to quit (7) [J other (epocty):

UD-100 (Rov, January 1, 2024) COMPLAINT—UNLAWFUL DETAINER Page? of 4
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UD-100

PLAINTIFF: THE COLONNADE ON EL PASEO, LP CABE NUMEIE
DEFENDANT: NICHOLAS LAWRENCE DESIGN ASSOCIATES, LLC DBA MODERN WDOPS2400956

® b. (4) On (date): 8/16/2024 the period stated In the notice checked In 9a expired at the end of the day.
(2) Defendants failed to comply with the requirements of the notice by that date.
Ali facts stated in the notice are trua.
[32] The netice included an election of forfelture.

e. [ic] A copy of the notice Is attached and labeled Exhibit 2, (Required for residential property. See Code Clv. Proc., § 71166,
When Clvil Code, § 1946,2(c), applies and two nolices are required, provide coples of both.)

f. [_2] One or more defendants were served (+) with tho prior required notice undar Clvll Code, § 1946.2{c), (2) with a different
notice, (3) on a different date, or (4) In a different manner, as stated in Attachment 10c. (Check Item 10c and altach a
statement providing the information required by items 9a—-s and 10 for each defendant and notice, )

10. a. [x] The notice In Item 9a was served on the defendant named in item 9a as follows:
(1) E 7 By personally handing @ copy to defendant on (data): ;
(2) (] By leaving a copy with (name or desoription): :
a person of suitable age and discratlon, on (date): at defendant's
[C7] residence  [_—] business AND malling a copy to defendant at de‘endant's place of residence
on (date): because defendant canno! be found at defendant's residence or usual place of business,

(3) [°¥] By posting a copy on the premises on (date): g /13/2024
Cc] AND mailing 8 copy to defendant at the premises

on (data): 8/13/2024
{a) (“~] because defendant's rasidance and usual place of business cannot be ascertained OR

{o) [7] because no gerson of suitable ago or discretion can be found there.
(4) [_} (Not for 3-day notice; see Civil Coda, § 1946, before using) By sending a copy by certified or registered mall
addressed to defendant on (date):
(5) [_] (Not for residential tenancies; sea Civil Code, § 1963, before using) In the manner specified in a written
commercial lease between the partias

b. [—_] (Name):

was served on bohelf of ail defendants who signed a joint written rental agreement.
c. [__] Information about service of notice on the defendants alleged in item 9f is slated in Attachment 100,

d. [_"] Proof of service of the notice in item Sa is attached and labeled Exhibit 3.
11, [__] Plainttif demands possession from each defendant because of expiration of a fixed-term lease.
12. [x] At the time the 3-day notice to pay rent or quit was served, the amount of rant due was $20,806.21
43. [x] The fair rental value of the premises Is $278.08 per day.

14, [7] Defendant's continued possession is malicious, and plaintiff Is entitled to Statuiory damages under Code of Clv|! Procedure
section 1174{b), (State specific facts supporting a claim up to $600 In Atlachment 14.)

15. [x ] Awritten agreement between the parties providas for attorney fees.

16. [_] Defendant's tonancy Is subject to the local rent control or eviction control ordinance of (cily ar county, tle of ordinance, and
dale of passage):

Plaintiff has met all applicable requirements of tho ordinances.
7, [_] Other allegations are stated In Attachment 417.
18, Plaintiff accepts the jurisdictional limit, if any, of the court.

UD-100 av. January 1, 2024 COMPLAINT—UNLAWFUL DETAINER Pago Sof4
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PLAINTIFF: THE COLONNADE ON EL PASEO, LP CASE NUMBER:
DEFENDANT: NICHOLAS LAWRENCE DESIGN ASSOCIATES, LLC DBA MODERN LIDPS24009056

19. PLAINTIFF REQUESTS

a. — poasession of the premises, f. [77] camages in the amount of walved rent or relocation assistance

b. costs Incurred In this proceeding: as stated 'n Item 8: §

c. [[X] past-due rent of $ 20,806.21 9 Dc) damages at the raie stated in itom 13 from

d. ((X"} reasonable attorney fees. date: 9/1/2024

8. forfeiture of the agraement. for each day that defendants remalr, In possession through entry of judgment,

h. [7] statutory damages up to $600 for the conduct alleged in item 14.

1 [3€] other (specify):
SUCH OTHER AND FURTHER RELIEF AS THE COURT MAY DEEM JUST
AND PROPER.

20. [__] Number of pages attached (specify): ;

UNLAWFUL DETAINER ASSISTANT (Bus. & Prof, Code, 8§ 6400-6415}

21. [x] (Complete in ali cases.) An untawiul detainer assistant [37] did not [7] did

for compensation give advice or assistance with this form. (/f declarant has received any heip or advice for pay from an uniewful
detainor assistant, complete a—.}

4. Assistant's name:
b. Street address, clty, and zip code:

Teleyhone no.:
County of registration:
Registration no.:
Expires on (date):

™~ 2 29

Date: 8/22/2024

FRED M. SZKOLNIK
{TYPE OR PRINT NAME)

VERIFICATION
(Use a different verification form if the vertication Is by an attorney or for a corporation or parinershig.)

| am the plaintiff In this proceeding and have read this complaint. ( declare under penaity of perjury under the laws of the State of
Califomia that the foragotng Is true and corract. .

Date:

SEE ATTACHMENTS >
(TYPE OR PRINT NAME} (BIGNATURE OF PLAINTIFF)

U0-100 Rav, Janvary $, 2024 COMPLAINT—UNLAWFUL DETAINER Page 44
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CP10.5

NOTICE: EVERYONE WHO LIVES IN THIS RENTAL UNIT MAY BE EVICTED BY COURT ORDER, READ THIS FORM

IF YOU LIVE HERE AND IF YOUR NAME IS NOT ON THE ATTACHED SUMMONS AND COMPLAINT.

1. If you live here and you do not complete and submit this form, you may be evicted without further hearing by the court along with

the persons named In the Summons and Complaint.

2. You must file this form within 10 days of the date of service listed in the box on the right hand side of this form,

e Exception: If you are a tenant being evicted after your landlord fost the property to foreclosure, the 10-day deadline does not
apply to you and you may file this form at any tme before judgment is entered,

3, If you file this form, your claim wil! be determined in the eviction action against the persons named In the complaint,
4, If you do not file this form, you may be evicted without further hearirg.
5. Ifyou ara @ tenant belng evicted dua to foreclosure, you have additional rights and should seek legal advice Immediately.

CLAIMANT OR CLAIMANTS ATTORNEY (Nama and AdGross): TELEPHONE NO. FOR COURT USE ONLY

ATTORNEY FOR (Name):

NAME OF COURT: RIVERSIDE
STREET ADDRESS: 3255 E. TAHQUITZ CANYON WAY
MAILING ADDRESS:

CITY AND ZIP CODE: PALM SPRINGS, CA 92262

SRANCH NAME: RIVERSIDE SUPERIOR COURT

Plaintiff} THE COLONNADE ON EL PASEO, LP
Defendant: NICHOLAS LAWRENCE DESIGN ASSOCIATES, LLG DBA MODERN

4
PREJUDGMENT CLAIM OF RIGHT TO POSSESSION CASE NUMBER:
—

Complete this form only if ALL of these statements ara true: UDP S2400956
1. You are NOT named In the accompanying Summons and Complaint. (To be completed by the process server)
2. You oceupled the subject premises on or before the dato the unlawful DATE OF SERVICE:

detainor (aviction) complaint was filed. (The date Is In the accompanying (Date that form is served or delivered,

Summons and Complaint.) posted, and mailed by the officer or
3. You still occupy the subject premises. process server)

| DECLARE THE FOLLOWING UNDER PENALTY OF PERJURY:

1.
2.

>

~

My name Is (specify):
| reside at (street address, unit no., city and ZIP code):

The address of “the premises" subject to this claim ip (address):

73-399 EL PASEO DRIVE #101 AND #102, PALM DESERT, CA 92260

On (insert dale): _ the landiord or the tandtord’s authorized agent filed a complaint to recover
possession of the premises. (This date Is In the accompanying Summons and Complaint.)

| occupied the premises on the date the complaint was filed (tho date in Hem 4). | have continued to occupy the premises aver
since, :
| was at least 18 years of age on the date the complaint was filed (the date in item 4).

| clalm a right to possession of the premises because | occupied the premises on the date the complaint was filed (the date in itam
4).

8. | was not named In the Summons and Complaint.

9. | understand that if | make this claim of possession, | will be added as a defendant to the unlawful detainer (eviction) action.

10, (Filing fee) | understand that | must go to tha court and pay a filing feo of § or file with the court an
“Application for Waiver of Court Fees and Costs." | understand that If | don't pay the fillng fea or filo the form for walver of court
fees, } will not be entitled to make a claim of right to possession.

{Continued on reverse)
Cf10.6 Rev. June 15, 2015) PREJUDGMENT CLAIM OF RIGHT Code of Coil Procadura, §§ 418.46,

TO POSSESSION 716,010, 716,020, 1174.26
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CP10.5

Plaintiff: THE COLONNADE ON EL PASEO, LP] CASE NuMpeR:
Defendant: NICHOLAS LAWRENCE DESIGN ASSOCIATES, LLC DBAMODERN} JDP So 400986

141. Ifmy landierd lost this property to foreclosure, | understand that | car file this form at any time before judgment Is entered, and
thai ! have additional rights and should seek legal advice.

12. | understand that | will have five days (excluding court holidays) to fita a response te the Summons and Compiaint after [ file this
Prejudgment Clalm of Right to Possession form.

NOTICE: If you fail to flle this claim, you may be evicted without further hearing.

13. Rental agreement. | have (check aif that apply to you):
a, ([_] an oral or written rental agreement with the landlord.
b. [_] an oral or written rental agreement with a person other than the landlord.
c. [__] an oral or written rental agreement with the former owner who lost the property to foreclosure,
d. [__] other (explain):

| deciare under penalty of perjury under the laws of the State of Callfornia that the foragoing is true and corract.

WARNING: Perjury {s a felony punishabio by imprisonment in the state prison.

»

(TYPE OR PRINT NAME) (SIGNATURE OF CLAINANT}

Date:

NOTICE: |i you filo this claim to possession, the unlawful detainer action against you will be
determined at frial. At trial, you may be found llable for rent, costs, and, in some cases, treble
damages.

— NOTICE TO OCCUPANTS —

YOU MUST ACT AT ONCE if all the following are true:
1. You are NOT named In the accompanylng Summons and Complaint.
2. You occupied the premises on or before the dute the unlawful detainer (aviction) complaint was filed.
3. You still occupy the premises.

You can compiete and SUBMIT THIS CLAIM FORM WITHIN 10 DAYS from the date of service (on the form) at the court
where the unlawful detainer (evictlon) complaint was filed. If you are a tenant and your landlord lost the proparty you occupy
through foreclosure, this 10-day deadline does not apply to you. You may file this form at any time before judgment Is
entered. You should seek legal advice immediately.

If you de not complete and submit this form (and pay a filing fee or file a fee waiver form If you cannot pay the fee), YOU
WILL BE EVICTED.

After this form Is properly filed, you witl be added as a defendant in the unlawful detalner (eviction) action and your right to
occupy the premises wil! be decided by the court. /f you do not file this claim, you may be evicted without a hearing.

CP1D6 (Rev, duno 18, 2016) PREJUDGMENT CLAIM OF RIGHT TO POSSESSION Page bwo
Case 6:24-bk-15042-WJ Doc4 Filed 09/05/24 Entered 09/05/24 12:51:44 Desc
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NOTICE TO PAY RENT OR QUIT

TO; NICHOLAS LAWRENCE DESIGN ASSOCIATES, LLC’ DBA
MODERN HACIENDA

AND ALL OTHERS IN POSSESSION

YOU ARE HEREBY NOTIFIED that pursuanz to the lease or
rental agreement under which you now hold possession of the
hereinafter described premises there is now due, unpaid, and
delinguent rent in the total sum of TWENTY THOUSAND EIGHT
HUNDRED SIX DOLLARS AND 42/100 ($20,806.42) in rents due and
owing for the period delineated as follows:

July 1, 2024 rent § 8,341.71
July, 2024 CAM $ 2,061.50
August 1, 2024 rent $ 8,341.71
August 1, 2024 CAM $ 2,061.50

YOU ARE FURTHER NOTIFIED that within THREE (3) BUSINESS
days after service of this Notice on you, you must pay the
amount of said rent in full or quit said premises and deliver
up possession of same to the undersigned or THE COLONNADE ON
EL PASEO, LP who is authorized to receive possession of same
or the Lessor will institute legal proceedings for unlawful
detainer against you to recover possession of said premises, to
declare said lease or rental agreement forfeited, to recover
rent and damages, and attorney’s fees.

YOU ARE. FURTHER NOTIFIED THAT by this Notice, the Lessor
elects to and does hereby declare a forfeiture of said lease
or rental agreement if said rent is not paid in full within
said THREE (3) BUSINFSS days.

The premises herein referred to are situated in the City
of Palm Desert, County of Riverside, State of California,
designated by the number and street as 73-399 Rl Paseo Drive,
#101 and 102.

Dated this 13th day of August, 2024.

LAW OFFICES OF FRED M. SZKOLNIK
a law corporation

16311 Ventura Blvd,, #1060

Enaino, CA 91436
(818) 986-3888 By: Laura Aflalo, manager
THE COLONNADE ON EL PASEO, LP

\
24 12:51:44 Desc
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ALL PAYMENTS MAY BE DIRECTED TO THE COLONNADE ON EL PASEO, LP
IN CARE OF LAURA AFLALO, 421 SOUTH BEVERLY DRIVE, #500, BEVERLY
HILLS, CA 90212, (310)203-0191, SHOULD YOU WISH TO DELIVER THR
SUMS IN PERSON, YOU MAY DO SO MONDAY-FRIDAY, 9:00 AM - 5:00 PM,
PAYMENT MUST BE RECEIVED WITHIN THF NOTICE PERIOD.

Tha amount demanded herein is a gocd faith reasonable estimate of the
total sums due pursuant to California Code of Civil Procedure Section 1161.1,

Pursuant to paragraph 4,~ of the lease, all sums due are deemed to be
additional rent.

This notice does not demand payments that may have coma due prior to
April 1, 2023; however, any amounts you May owe prior to April i, 2023,
are not waived and Landlord reserves the right to pursue those amounts in
a separate action.

Acceptance of ary partial payments made to landlord does not
constitute a waiver of any rights landlord may have, including but not
limited to, the right te recover possession of the subject premises pursuant
to CCP §1161.1.

ect nicholas@nicholaslawrencdesign.com
lawrence@nicholaslawrencecesign.com

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: POS-O50/EFS-050
ATTORNEY OR PARTY WITHOUT ATTORNEY: STATE BAR NO [ FOR COURT USE ONLY
NAME: FRED M. SZKOLNIK, ESQ
FIRM NAME: FRED M. SZKOLNIK, ESQ, ene?
STREET ADDRESS; 16311 VENTURA BLVD. #1060 -
CITY: ENCINO STATE: CA ZIP CODE: 9° 436
TELEPHONE NO.: (818) 986-3888 FAX NO.:

E-MAIL ADDRESS: lusi@fredszkoiniklaw.com
ATTORNEY FOR (Name): Plaintiff: COLONNADE

N/A

STREET ADDRESS: .
MAILING ADDRESS:
CITY AND ZIP CODE:., CA CASE NUMBER;

BRANCH NAME: :
Plaintiff/Pettioner: THE COLONNADE ON EL PASEO, LP

Defendant/Respondent: NICHOLAS LAWRENCE DESIGN

JUDICIAL OFFICER:

DEPARTMENT:
PROOF OF ELECTRONIC SERVICE

1. | am at feast 18 years ald,

a. My residence or business address is:
1301 W Second Street, Suite 204
Los Angeles, CA 90026

b. My electronic service address is:

2. | electronically served the following documents:
NOTICE TO PAY RENT OR QUIT

CO The documents served are listed in an attachment (Form POS-050(D) may be used for this purpose.)

3. | electronicaily served the documents listed in 2 as follows:
a. Name of the person served: NICHOLAS@NICHOLASLAWRENCEDESIGN.COM

On behalf of (name or names of parties represented, if person served is an attorney);
b. Electronic service address of the person served:

c. On: 8/13/2024

d. At: 4:12 PM
(The documents listed in item 2 were served electronically on the persons and in the manner described in an attachmeni(Form
POS-050(P)/EFS-050(P) may be used for this purpose.)

Date: August 14, 2024

| declare under penalty of perjury that under the laws of State of California that the foregoing is true and correct,

A. YOST >
{TYPE OR PRINT NAVE OF DECLARANT) (SIGNATURE OF DECLARANT)

Page tof 1

Cal. Rudlos of Court, rule 2.251

www.coumls. ca.gov

Form Approved For Optional Use PROOF OF ELECTRONIC SERVICE

Judicial Courel of Calitomia (Proof of Service/Electronic Filing and Service)
PQS-050 [Rev January 1, 2015]
